Case 3:23-cv-02597-MAS-TJB   Document 35   Filed 12/27/24   Page 1 of 110 PageID:
                                    507




                                EXHIBIT
                                  “A”
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                        Page 2 of 110 PageID:
                                                508
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   (%7'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)223)*$##%
                                                "/7#,',>,$.%=?%#$$32                          <&%+,-)223),,$$




                                  !"##"$%&'%())&**&+(#,&-./0%

   !"#$"%#&'()*"+,"-."/)00()1203

   456       037228200
             9:.)!;<,"
             =>?4 )? )5>!=>554=>!
             ""26022

   #"&/)$/:%"%%:/6

   ?;") %%<&"):%)#<%&.<'<,')*"/(<&"%);&%)/"(<")"#),;<%)%,*#"$,+%)/",*"%,()%"'%-/"+:/,)&$#)%*++:/,<$.)
   #:&*-"$,&,<:$),:)"%,&.'<%;),;"</)"'<.<.<'<,')%:/)/"&%:$&.'")&&&:--:#&,<:$%)<$)&&&:/#&$&"))<,;)/"'"(&$,)
   %"#"/&')'&)%/)

   ?;")%:'':)<$.)&&&:--:#&,<:$%)&/")/"&%:$&.'")<$):/#"/),:)+/:(<#")",*&')&&&"%%)&$#)+&/,<&<+&,<:$)<$)':*/)
   &'&%%6)

         !   50,"$#"#),<-")102223)%:/)<$)&'&%%4:$'<$")"0&-%)&$#),*<55"%
         !   >:)*&&$,/:$%)%:/)"0&-%4,*<55"%
         !   $"/-<%%<:$),:)*%")&)'&+,:+)4),&.'",)%:/)$:,",&6<$.
         !   7%"):%)&)&:-+*,"/)%:/)"0&-%4),*<55"%()*$'"%%)<,)&:-+/:-<%"%)&$)"%%"$,<&')%*$&,<:$):%),;")&:*/%"
   =);&(")<$%:/-"#),;<%)%,*#"$,)&.:*,),;")<-+:/,&$&"):%)+/:(<#<$.)':*),;<%)'",,"/)&%)%::$)&%)+:%%<.'"()&%))"'')
   &%)#<%&*%%<$.))<,;)':*)<$)&),<-"'')-&$$"/);:)),;")&.:(")&&&:--:#&,<:$%))<'').")<-+'"-"$,"#/)

   =%)':*);&("):,;"/)<#"&%)/".&/#<$.);:)),:)&/"&,")&&&"%%)%:/)':*/)&:*/%")."':$#));&,)<%)'<%,"#()=)):*'#).")
   ;&++'),:)%+"&6))<,;)':*/)8:*/)<$+*,)<%)&)(&'*&.'")+&/,):%),;")+/:&"%%/)

   9:/)."$"/&')<$%:/-&,<:$()+'"&%")/"%"/),:),;") #*)9&&*',')**++:/,)+&.")&,6
   ;,,+%644:#%//*,."/%/"#*4%&&*','4%&&*','-%*++:/,

   =$)&##<,<:$()=))"'&:-")&$')&:$&"/$%):/),*"%,<:$%)':*)-&');&(")&.:*,),;<%)-&,,"//)

   *<$&"/"''(




   :://"$)!;<,&6"/
   ;::/#<$&,:/
   :://"$/!;<,&6"/</*,."/%/"#*
   8"8-""7-""7=
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 3 of 110 PageID:
                                                509
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                    (%7&6"'5*67&*%"
                                               !"#$%&'()*%+,--.%&"/'*%0123                   (%7'*#9(&6"'5*67&*%"
                                               4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                               32%?($#*% /-!*6%0;*)"*                        (&%$2$)223)*$##%
                                               "/7#,',>,$.%=?%#$$32                          <&%+,-)223),,$$




                                  !"##"$%&'%())&**&+(#,&-./0%

   !"#$"%#&'()*"+,"-."/)00()1203

   456       037228200
             9:.)!;<,"
             =>? !"#4!#9?5)$#?$
             %&26170

   '"&/)(/:)"%%:/6

     ;")*))<+"):))'<%&.<,<,')*"/-<+"%);&%)/"-<"."#),;<%)%,/#"$,0%)/"1/"%,()%",)2/"+:/,)&$#)%/++:/,<$3)
   #:+/-"$,&,<:$),:)"%,&.,<%;),;"</)",<3<.<,<,')):/)/"&%:$&.,")&++:--:#&,<:$%)<$)&++:/#&$+").<,;)/","-&$,)
   )"#"/&,),&.%4)

     ;")):,,:.<$3)&++:--:#&,<:$%)&/")/"&%:$&.,")<$):/#"/),:)+/:-<#")"1/&,)&++"%%)&$#)+&/,<+<+&,<:$)<$)'://)
   +,&%%6)

         !   55,"$#"#),<-")602278)):/)<$)+,&%%9:$,<$")"5&-%)&$#)1/<::"%
         !   ;:)*+&$,/:$%)):/)"5&-%91/<::"%
         !   ("/-<%%<:$),:)/%")&),&+,:+)9),&.,",)):/)$:,",&<<$3
   !);&-")<$):/-"#),;<%)%,/#"$,)&.:/,),;")<-+:/,&$+"):))+/:-<#<$3)':/),;<%),",,"/)&%)%::$)&%)+:%%<.,"()&%).",,)
   &%)#<%+/%%<$3).<,;)':/)<$)&),<-",')-&$$"/);:.),;")&.:-")&++:--:#&,<:$%).<,,).")<-+,"-"$,"#4)

   !))':/);&-"):,;"/)<#"&%)/"3&/#<$3);:.),:)+/"&,")&++"%%)):/)'://)+://%")."':$#).;&,)<%),<%,"#()!).:/,#).")
   ;&++'),:)%+"&<).<,;)':/4)=://)<$+/,)<%)&)-&,/&.,")+&/,):)),;")+/:+"%%4)

   >:/)3"$"/&,)<$):/-&,<:$()+,"&%")/")"/),:),;")*'*)>&+/,,')*/++:/,)+&3")&,6
   ;,,+%699:#%4//,3"/%4"#/9)&+/,,'9)&+/,,'2%/++:/,

   !$)&##<,<:$()!).",+:-")&$')+:$+"/$%):/)1/"%,<:$%)':/)-&');&-")&.:/,),;<%)-&,,"/4)

   *<$+"/",'(




   ?://"$)!;<,&<"/
   $::/#<$&,:/
   ?://"$4!;<,&<"/?//,3"/%4"#/
   8&82&&72&&7%
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                        Page 4 of 110 PageID:
                                                510
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   (%7'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)223)*$##%
                                                "/7#,',>,$.%=?%#$$32                          <&%+,-)223),,$$




                                  !"##"$%&'%())&**&+(#,&-./0%

   !"#$"%#&'()*"+,"-."/)00()1203

   456       037228200
             9:.)!;<,"
             =>=? !"#=?)$% *"#*)"
             &72601'

   ("&/)$/:)"%%:/6

   !;")*))<+"):))(<%&.<,<,')*"/-<+"%);&%)/"-<"."#),;<%)%,/#"$,0%)/"1/"%,()%",)2/"+:/,)&$#)%/++:/,<$3)
   #:+/-"$,&,<:$),:)"%,&.,<%;),;"</)",<3<.<,<,')):/)/"&%:$&.,")&++:--:#&,<:$%)<$)&++:/#&$+").<,;)/","-&$,)
   )"#"/&,),&.%4)

   !;")):,,:.<$3)&++:--:#&,<:$%)&/")/"&%:$&.,")<$):/#"/),:)+/:-<#")"1/&,)&++"%%)&$#)+&/,<+<+&,<:$)<$)'://)
   +,&%%6)

         !   55,"$#"#),<-")602278)):/)<$)+,&%%9:$,<$")"5&-%)&$#)1/<::"%
         !   >:)*+&$,/:$%)):/)"5&-%91/<::"%
         !   $"/-<%%<:$),:)/%")&),&+,:+)9),&.,",)):/)$:,",&;<$3
         !   <%"):))&)+:-+/,"/)):/)"5&-%9)1/<::"%()/$,"%%)<,)+:-+/:-<%"%)&$)"%%"$,<&,))/$+,<:$):)),;")+://%"
         !   =++/:-"#),:);&-"),;")&.<,<,'),:)./<,")#</"+,,'):$),;")"5&-)/$,"%%)<,)+:-+/:-<%"%),;")"%%"$,<&,)
             ","-"$,%):)),;")"5&-4
   ");&-")<$):/-"#),;<%)%,/#"$,)&.:/,),;")<-+:/,&$+"):))+/:-<#<$3)':/),;<%),",,"/)&%)%::$)&%)+:%%<.,"()&%).",,)
   &%)#<%+/%%<$3).<,;)':/)<$)&),<-",')-&$$"/);:.),;")&.:-")&++:--:#&,<:$%).<,,).")<-+,"-"$,"#4)

   "))':/);&-"):,;"/)<#"&%)/"3&/#<$3);:.),:)+/"&,")&++"%%)):/)'://)+://%")."':$#).;&,)<%),<%,"#()").:/,#).")
   ;&++'),:)%+"&;).<,;)':/4) ://)<$+/,)<%)&)-&,/&.,")+&/,):)),;")+/:+"%%4)

   =:/)3"$"/&,)<$):/-&,<:$()+,"&%")/")"/),:),;")*(*)=&+/,,')*/++:/,)+&3")&,6
   ;,,+%699:#%4//,3"/%4"#/9)&+/,,'9)&+/,,'2%/++:/,

   "$)&##<,<:$()").",+:-")&$')+:$+"/$%):/)1/"%,<:$%)':/)-&');&-")&.:/,),;<%)-&,,"/4)

   *<$+"/",'(




   ?://"$)!;<,&;"/
   #::/#<$&,:/
   ?://"$4!;<,&;"/>//,3"/%4"#/
   8?82??72??7@
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 5 of 110 PageID:
                                                511
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                    (%7&6"'5*67&*%"
                                               !"#$%&'()*%+,--.%&"/'*%0123                   (%7'*#9(&6"'5*67&*%"
                                               4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                               32%?($#*% /-!*6%0;*)"*                        (&%$2$)223)*$##%
                                               "/7#,',>,$.%=?%#$$32                          <&%+,-)223),,$$




                                  !"##"$%&'%())&**&+(#,&-./0%

   !"#$%&'()*&+"&,')-.()-/-/

   012       .34//5/..
             678)9:;<#
             1=>)?1 !"#!$!% #
             &&/2--.

   '#&,)(,7)#$$7,2

   !:#)*));+#)7))';$&8;,;<')##,-;+#$):&$),#-;#.#%)<:;$)$<"%#+</$),#0"#$<()$#,)",#17,<)&+%)$"117,<;+2)
   %7+"3#+<&<;7+)<7)#$<&8,;$:)<:#;,)#,;2;8;,;<'))7,),#&$7+&8,#)&++7337%&<;7+$);+)&++7,%&++#).;<:),#,#-&+<)
   )#%#,&,),&.$4)

   !:#))7,,7.;+2)&++7337%&<;7+$)&,#),#&$7+&8,#);+)7,%#,)<7)1,7-;%#)#0"&,)&++#$$)&+%)1&,<;+;1&<;7+);+)'7",)
   +,&$$2)

         !   $++#$$)<7)$+&+5$6)77%6%,;+5$)%",;+2),&8$()+,&$$)&+%)#7&3$
         !   17<#+%#%)<;3#)8.//9:))7,);+)+,&$$67+,;+#)<;3#%)#7&3$)&+%)0";;;#$
         !   =7)#+&+<,7+$))7,)#7&3$60";;;#$
   %):&-#);+)7,3#%)<:;$)$<"%#+<)&87"<)<:#);317,<&++#)7))1,7-;%;+2)'7")<:;$),#<<#,)&$)$77+)&$)17$$;8,#()&$).#,,)
   &$)%;$+"$$;+2).;<:)'7");+)&)<;3#,')3&++#,):7.)<:#)&87-#)&++7337%&<;7+$).;,,)8#);31,#3#+<#%4)

   %))'7"):&-#)7<:#,);%#&$),#2&,%;+2):7.)<7)+,#&<#)&++#$$))7,)'7",)+7",$#)8#'7+%).:&<);$),;$<#%()%).7",%)8#)
   :&11')<7)$1#&5).;<:)'7"4)<7",);+1"<);$)&)-&,"&8,#)1&,<)7))<:#)1,7+#$$4)

   =7,)2#+#,&,);+)7,3&<;7+()1,#&$#),#)#,)<7)<:#)*'#)=&+",<')#"117,<)1&2#)&<2
   :<<1$2667%$4,"<2#,$4#%"6)&+",<'6)&+",<'"$"117,<

   %+)&%%;<;7+()%).#,+73#)&+')+7++#,+$)7,)0"#$<;7+$)'7")3&'):&-#)&87"<)<:;$)3&<<#,4)

   #;++#,#,'(




   >7,,#+)9:;<&5#,
    77,%;+&<7,
   >7,,#+49:;<&5#,?,"<2#,$4#%"
   5&5"&&4"&&4@
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 6 of 110 PageID:
                                                512
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                    (%7&6"'5*67&*%"
                                               !"#$%&'()*%+,--.%&"/'*%0123                   (%7'*#9(&6"'5*67&*%"
                                               4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                               32%?($#*% /-!*6%0;*)"*                        (&%$2$)223)*$##%
                                               "/7#,',>,$.%=?%#$$32                          <&%+,-)223),,$$




                                  !"##"$%&'%())&**&+(#,&-./0%

   !"#$%&'()*+',#'$(*-.)*-/-/

   012       345//6/33
             789*:";<=
             >?> !!"#> *$%!&"#&*"
             '5/23-(

   )='$*$$8*=%%8$2

   !"=*+**;,=*8**);%'9;-;<(*&=$.;,=%*"'%*$=.;=/=&*<";%*%<#&=,<0%*$=1#=%<)*%=-*2$=38$<*',&*%#338$<;,4*
   &8,#5=,<'<;8,*<8*=%<'9-;%"*<"=;$*=-;4;9;-;<(**8$*$='%8,'9-=*',,8558&'<;8,%*;,*',,8$&',,=*/;<"*$=-=.',<*
   *=&=$'-*-'/%6*

   !"=**8--8/;,4*',,8558&'<;8,%*'$=*$='%8,'9-=*;,*8$&=$*<8*3$8.;&=*=1#'-*',,=%%*',&*3'$<;,;3'<;8,*;,*(8#$*
   ,-'%%2*

         !   >,,=%%*<8*%,',7%8*88&8&$;,7%*&#$;,4*-'9%)*,-'%%*',&*=9'5%
         !   19<=,&=&*<;5=*:3//;<**8$*;,*,-'%%88,-;,=*<;5=&*=9'5%*',&*1#;===%
         !   ?8*&,',<$8,%**8$*=9'5%81#;===%
   "*"'.=*;,*8$5=&*<";%*%<#&=,<*'98#<*<"=*;538$<',,=*8**3$8.;&;,4*(8#*<";%*-=<<=$*'%*%88,*'%*38%%;9-=)*'%*/=--*
   '%*&;%,#%%;,4*/;<"*(8#*;,*'*<;5=-(*5',,=$*"8/*<"=*'98.=*',,8558&'<;8,%*/;--*9=*;53-=5=,<=&6*

   "**(8#*"'.=*8<"=$*;&='%*$=4'$&;,4*"8/*<8*,$='<=*',,=%%**8$*(8#$*,8#$%=*9=(8,&*/"'<*;%*-;%<=&)*"*/8#-&*9=*
   "'33(*<8*%3='7*/;<"*(8#6*!8#$*;,3#<*;%*'*.'-#'9-=*3'$<*8**<"=*3$8,=%%6*

   >8$*4=,=$'-*;,*8$5'<;8,)*3-='%=*$=*=$*<8*<"=*+)&*>',#-<(*&#338$<*3'4=*'<2
   "<<3%2888&%6$#<4=$%6=&#8*',#-<(8*',#-<(2%#338$<

   ",*'&&;<;8,)*"*/=-,85=*',(*,8,,=$,%*8$*1#=%<;8,%*(8#*5'(*"'.=*'98#<*<";%*5'<<=$6*

   &;,,=$=-()




    8$$=,*:";<'7=$
   #88$&;,'<8$
    8$$=,6:";<'7=$?$#<4=$%6=&#
   6(62((52((5@
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 7 of 110 PageID:
                                                513
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                    (%7&6"'5*67&*%"
                                               !"#$%&'()*%+,--.%&"/'*%0123                   (%7'*#9(&6"'5*67&*%"
                                               4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                               32%?($#*% /-!*6%0;*)"*                        (&%$2$)223)*$##%
                                               "/7#,',>,$.%=?%#$$32                          <&%+,-)223),,$$




                                  !"##"$%&'%())&**&+(#,&-./0%

   !"#$%&'()*+',#'$(*-.)*/./.

   012       345..6.33
             789*:";<=
             >? ?0!*1 "*#1$>%!!&!
             ''.2/43

   (='$*)$8*=%%8$2

   !"=*?**;+=*8**(;%'9;,;<(*!=$-;+=%*"'%*$=-;=.=&*<";%*%<#&=,</%*$=0#=%<)*%=,*%$=18$<*',&*%#118$<;,2*
   &8+#3=,<'<;8,*<8*=%<'9,;%"*<"=;$*=,;2;9;,;<(**8$*$='%8,'9,=*'++8338&'<;8,%*;,*'++8$&',+=*.;<"*$=,=-',<*
   *=&=$',*,'.%4*

   !"=**8,,8.;,2*'++8338&'<;8,%*'$=*$='%8,'9,=*;,*8$&=$*<8*1$8-;&=*=0#',*'++=%%*',&*1'$<;+;1'<;8,*;,*(8#$*
   +,'%%2*

         !   &++=%%*<8*%,'+5%6*88&6&$;,5%*&#$;,2*,'9%)*+,'%%*',&*=7'3%
         !   17<=,&=&*<;3=*83..9:**8$*;,*+,'%%68,,;,=*<;3=&*=7'3%*',&*0#;;;=%
         !    8*!+',<$8,%**8$*=7'3%60#;;;=%
   <*"'-=*;,*8$3=&*<";%*%<#&=,<*'98#<*<"=*;318$<',+=*8**1$8-;&;,2*(8#*<";%*,=<<=$*'%*%88,*'%*18%%;9,=)*'%*.=,,*
   '%*&;%+#%%;,2*.;<"*(8#*;,*'*<;3=,(*3',,=$*"8.*<"=*'98-=*'++8338&'<;8,%*.;,,*9=*;31,=3=,<=&4*

   <**(8#*"'-=*8<"=$*;&='%*$=2'$&;,2*"8.*<8*+$='<=*'++=%%**8$*(8#$*+8#$%=*9=(8,&*."'<*;%*,;%<=&)*<*.8#,&*9=*
   "'11(*<8*%1='5*.;<"*(8#4*=8#$*;,1#<*;%*'*-',#'9,=*1'$<*8**<"=*1$8+=%%4*

   >8$*2=,=$',*;,*8$3'<;8,)*1,='%=*$=*=$*<8*<"=*?(!*>'+#,<(*!#118$<*1'2=*'<2
   "<<1%2668&%4$#<2=$%4=&#6*'+#,<(6*'+#,<(%%#118$<

   <,*'&&;<;8,)*<*.=,+83=*',(*+8,+=$,%*8$*0#=%<;8,%*(8#*3'(*"'-=*'98#<*<";%*3'<<=$4*

   !;,+=$=,()




   ?8$$=,*:";<'5=$
   $88$&;,'<8$
   ?8$$=,4:";<'5=$@$#<2=$%4=&#
   6'6%''5%''5A
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 8 of 110 PageID:
                                                514
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                    (%7&6"'5*67&*%"
                                               !"#$%&'()*%+,--.%&"/'*%0123                   (%7'*#9(&6"'5*67&*%"
                                               4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                               32%?($#*% /-!*6%0;*)"*                        (&%$2$)223)*$##%
                                               "/7#,',>,$.%=?%#$$32                          <&%+,-)223),,$$




                                  !"##"$%&'%())&**&+(#,&-./0%

   !"#$%&'()*+,-.)/0()/1/1

   234       056117100
             89:);<-=#
             *>*? !!"*?)#$ %!"%)!
             &6140/'

   (#&,)#,9)#$$9,4

   !<#)*))-+#)9))(-$&:-.-=')%#,,-+#$)<&$),#,-#-#%)=<-$)$="%#.=/$),#0"#$=()$#.)1,#+9,=)&.%)$"++9,=-.2)
   %9+"3#.=&=-9.)=9)#$=&:.-$<)=<#-,)#.-2-:-.-='))9,),#&$9.&:.#)&++9339%&=-9.$)-.)&++9,%&.+#)--=<),#.#,&.=)
   )#%#,&.).&-$4)

   !<#))9..9--.2)&++9339%&=-9.$)&,#),#&$9.&:.#)-.)9,%#,)=9)+,9,-%#)#0"&.)&++#$$)&.%)+&,=-+-+&=-9.)-.)'9",)
   +.&$$4)

         !   *++#$$)=9)$.&+5$6)99%6%,-.5$)%",-.2).&:$()+.&$$)&.%)#7&3$
         !   37=#.%#%)=-3#)80119:))9,)-.)+.&$$69..-.#)=-3#%)#7&3$)&.%)0"-;;#$
         !   >9)%+&.=,9.$))9,)#7&3$60"-;;#$
   !)<&,#)-.)9,3#%)=<-$)$="%#.=)&:9"=)=<#)-3+9,=&.+#)9))+,9,-%-.2)'9")=<-$).#==#,)&$)$99.)&$)+9$$-:.#()&$)-#..)
   &$)%-$+"$$-.2)--=<)'9")-.)&)=-3#.')3&..#,)<9-)=<#)&:9,#)&++9339%&=-9.$)--..):#)-3+.#3#.=#%4)

   !))'9")<&,#)9=<#,)-%#&$),#2&,%-.2)<9-)=9)+,#&=#)&++#$$))9,)'9",)+9",$#):#'9.%)-<&=)-$).-$=#%()!)-9".%):#)
   <&++')=9)$+#&5)--=<)'9"4) 9",)-.+"=)-$)&),&."&:.#)+&,=)9))=<#)+,9+#$$4)

   <9,)2#.#,&.)-.)9,3&=-9.()+.#&$#),#)#,)=9)=<#)*(%)<&+".=')%"++9,=)+&2#)&=4
   <==+$4669%$4,"=2#,$4#%"6)&+".='6)&+".='1$"++9,=

   !.)&%%-=-9.()!)-#.+93#)&.')+9.+#,.$)9,)0"#$=-9.$)'9")3&')<&,#)&:9"=)=<-$)3&==#,4)

   %-.+#,#.'(




   ?9,,#.);<-=&5#,
   "99,%-.&=9,
   ?9,,#.4;<-=&5#,=,"=2#,$4#%"
   7'71''61''6>
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 9 of 110 PageID:
                                                515
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                    (%7&6"'5*67&*%"
                                               !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                               4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                               32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                               "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                    !"##"$%&'%())&**&+(#,&-./0
   !"#$%&'()*#+,#-.#/)0()1212
   345220233
   67.)89:,#
   ;<=><;;?<=); !<!"> *
   5#2$%#%
   &#&/)'/7(#$$7/$
   !9#)!((:)#)7()&:$&.:*:,')*#/+:)#$)9&$)/#+:#,#%),9:$)$,"%#-,.$)/#/"#$,()$#*(0/#+7/,)&-%)$"++7/,:-1)
   %7)"-#-,&,:7-),7)#$,&.*:$9),9#:/)#*:1:.:*:,')(7/)/#&$7-&.*#)&))7--7%&,:7-$):-)&))7/%&-)#),:,9)/#*#+&-,)
   (#%#/&*)*&,$2)
   !9#)(7**7,:-1)&))7--7%&,:7-$)&/#)/#&$7-&.*#):-)7/%#/),7)+/7+:%#)#/"&*)&))#$$)&-%)+&/,:):+&,:7-):-)'7"/)
   )*&$$$)

       !   3))#$$),7)$-&)4$5(77%5%/:-4$)%"/:-1)*&.$())*&$$)&-%)#6&-$
       !   ;6,#-%#%),:-#)732289)(7/):-))*&$$57-*:-#),:-#%)#6&-$)&-%)/":::#$
       !   <7)*)&-,/7-$)(7/)#6&-$5/":::#$
       !   ;$#)7()&))7-+",#/)(7/)#6&-$5)/":::#$()"-*#$$):,))7-+/7-:$#$)&-)#$$#-,:&*)("-),:7-)7(),9#)
           )7"/$#
   >)9&+#):-(7/-#%),9:$)$,"%#-,)&.7",),9#):-+7/,&-)#)7()+/7+:%:-1)'7"),9:$)*#,,#/)&$)$77-)&$)+7$$:.*#()&$),#**)
   &$)%:$)"$$:-1),:,9)'7"):-)&),:-#*')-&--#/)97,),9#)&.7+#)&))7--7%&,:7-$),:**).#):-+*#-#-,#%2
   >-),9#))"//#-,)/#-7,#)#-+:/7--#-,()&))7--7%&,:7-$)-&').#):-+*#-#-,#%)&).:,)%:((#/#-,*'2))<7/)"+),7)%&,#
   :-(7/-&,:7-)7-)97,),7):-+*#-#-,)7-*:-#)&))7--7%&,:7-$():-)*"%:-1)#6&-)&))7--7%&,:7-$()+*#&$#)/#(#/)
   ,7),9#)!&*)<&)"*,')*"++7/,)+&1#2
   89:*#)(&)"*,')&/#)/#$+7-$:.*#)(7/)#-,#/:-1)#6&-)&))7--7%&,:7-$)$")9)&$)#6,#-%#%),:-#):-,7),9#))7"/$#)
   *#&/-:-1)-&-&1#-#-,)$'$,#-)7 &-+&$()*&4&:()6*&)4.7&/%9(),9#)!((:)#)7()&:$&.:*:,')*#/+:)#$)$,&-%$)/#&%')
   ,7)$"++7/,)'7"2)'*#&$#)%7)-7,)9#$:,&,#),7)/#&)9)7",),7)"$),:,9)&-')/"#$,:7-$)/#1&/%:-1)97,),7):-+*#-#-,)
   &))7--7%&,:7-$):-)&-)7-*:-#)#-+:/7--#-,2
   >()'7")9&+#)7,9#/):%#&$)/#1&/%:-1)97,),7))/#&,#)&))#$$)(7/)'7"/))7"/$#()+&/,:)"*&/*'):-),9#)/#-7,#)*#&/-:-1)
   #-+:/7--#-,()>),7"*%).#)9&++'),7)$+#&4),:,9)'7"2)=7"/):-+",):$)1/#&,*')&++/#):&,#%2)
   >-)&%%:,:7-()>),#*)7-#)&-'))7-)#/-$)7/)/"#$,:7-$)'7")-&')9&+#)&.7",),9:$)-&,,#/2)
   *:-)#/#*'(




   >7//#-)89:,&4#/
    77/%:-&,7/
   >7//#-289:,&4#/?/",1#/$2#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 10 of 110 PageID:
                                                516
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*#+,#-.#/)0()1212
    345220233
    67.)89:,#
    ;<==)>?* >!"#$%&'*
    ()2*1))
    ;#&/)%/7+#$$7/*
    !9#),++:-#)7+);:$&.:.:,')*#//:-#$)9&$)/#/:#0#%),9:$)$,"%#1,2$)/#3"#$,()$#.+4/#+7/,)&1%)$"++7/,:15)
    %7-"-#1,&,:71),7)#$,&..:$9),9#:/)#.:5:.:.:,')+7/)/#&$71&..#)&--7--7%&,:71$):1)&--7/%&1-#)0:,9)/#.#/&1,)
    +#%#/&.).&0$6)
    !9#)+7..70:15)&--7--7%&,:71$)&/#)/#&$71&..#):1)7/%#/),7)+/7/:%#)#3"&.)&--#$$)&1%)+&/,:-:+&,:71):1)'7"/)
    -.&$$*)

        !   7--#$$),7)$1&-8$ +77% %/:18$)%"/:15).&.$()-.&$$)&1%)#9&-$
        !   6/#&8$)%"/:15)#9&-$)0:,97",),:-#)+#1&.,'
        !   >9,#1%#%),:-#):322;<)+7/):1)-.&$$ 71.:1#),:-#%)#9&-$)&1%)3":==#$
        !   !7)*-&1,/71$)+7/)#9&-$ 3":==#$
        !   >$#)7+)&)-7-+",#/)+7/)#9&-$ )3":==#$()"1.#$$):,)-7-+/7-:$#$)&1)#$$#1,:&.)+"1-,:71)7+),9#)
            -7"/$#
    <)9&/#):1+7/-#%),9:$)$,"%#1,)&.7",),9#):-+7/,&1-#)7+)+/7/:%:15)'7"),9:$).#,,#/)&$)$771)&$)+7$$:..#()&$)0#..)
    &$)%:$-"$$:15)0:,9)'7"):1)&),:-#.')-&11#/)970),9#)&.7/#)&--7--7%&,:71$)0:..).#):-+.#-#1,#%6
    <1),9#)-"//#1,)/#-7,#)#1/:/71-#1,()&--7--7%&,:71$)-&').#):-+.#-#1,#%)&).:,)%:++#/#1,.'6))=7/)"+),7)%&,#
    :1+7/-&,:71)71)970),7):-+.#-#1,)71.:1#)&--7--7%&,:71$():1-."%:15)#9&-)&--7--7%&,:71$()+.#&$#)/#+#/)
    ,7),9#),;*)=&-".,')*"++7/,)+&5#6
    89:.#)+&-".,')&/#)/#$+71$:..#)+7/)#1,#/:15)#9&-)&--7--7%&,:71$)$"-9)&$)#9,#1%#%),:-#):1,7),9#)-7"/$#)
    .#&/1:15)-&1&5#-#1,)$'$,#-):?&1/&$()*&8&:()6.&-8.7&/%<(),9#),++:-#)7+);:$&.:.:,')*#//:-#$)$,&1%$)/#&%')
    ,7)$"++7/,)'7"6)%.#&$#)%7)17,)9#$:,&,#),7)/#&-9)7",),7)"$)0:,9)&1')3"#$,:71$)/#5&/%:15)970),7):-+.#-#1,)
    &--7--7%&,:71$):1)&1)71.:1#)#1/:/71-#1,6
    <+)'7")9&/#)7,9#/):%#&$)/#5&/%:15)970),7)-/#&,#)&--#$$)+7/)'7"/)-7"/$#()+&/,:-".&/.'):1),9#)/#-7,#).#&/1:15)
    #1/:/71-#1,()<)07".%).#)9&++'),7)$+#&8)0:,9)'7"6)'7"/):1+",):$)5/#&,.')&++/#-:&,#%6)
    <1)&%%:,:71()<)0#.-7-#)&1')-71-#/1$)7/)3"#$,:71$)'7")-&')9&/#)&.7",),9:$)-&,,#/6)
    *:1-#/#.'(




    @7//#1)89:,&8#/
    ?77/%:1&,7/
    @7//#1689:,&8#/A/",5#/$6#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 11 of 110 PageID:
                                                517
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*#+,#-.#/)0()1212
    345220233
    67.)89:,#
    ;<=>);?!< !?"*
    #52$143
    %#&/)&/7'#$$7/$
    !9#)('':)#)7')%:$&.:*:,')*#/+:)#$)9&$)/#+:#,#%),9:$)$,"%#-,.$)/#/"#$,()$#*'0/#+7/,)&-%)$"++7/,:-1)
    %7)"-#-,&,:7-),7)#$,&.*:$9),9#:/)#*:1:.:*:,')'7/)/#&$7-&.*#)&))7--7%&,:7-$):-)&))7/%&-)#),:,9)/#*#+&-,)
    '#%#/&*)*&,$2)
    !9#)'7**7,:-1)&))7--7%&,:7-$)&/#)/#&$7-&.*#):-)7/%#/),7)+/7+:%#)#/"&*)&))#$$)&-%)+&/,:):+&,:7-):-)'7"/)
    )*&$$$)

        !   ?))#$$),7)$-&)3$4'77%4%/:-3$)%"/:-1)*&.$())*&$$)&-%)#5&-$
        !   <5,#-%#%),:-#)632278)'7/):-))*&$$47-*:-#),:-#%)#5&-$)&-%)/":99#$
        !   :7)*)&-,/7-$)'7/)#5&-$4/":99#$
        !   ;$#)7')&))7-+",#/)'7/)#5&-$4)/":99#$()"-*#$$):,))7-+/7-:$#$)&-)#$$#-,:&*)'"-),:7-)7'),9#)
            )7"/$#
    !)9&+#):-'7/-#%),9:$)$,"%#-,)&.7",),9#):-+7/,&-)#)7')+/7+:%:-1)'7"),9:$)*#,,#/)&$)$77-)&$)+7$$:.*#()&$),#**)
    &$)%:$)"$$:-1),:,9)'7"):-)&),:-#*')-&--#/)97,),9#)&.7+#)&))7--7%&,:7-$),:**).#):-+*#-#-,#%2
    !-),9#))"//#-,)/#-7,#)#-+:/7--#-,()&))7--7%&,:7-$)-&').#):-+*#-#-,#%)&).:,)%:''#/#-,*'2))<7/)"+),7)%&,#
    :-'7/-&,:7-)7-)97,),7):-+*#-#-,)7-*:-#)&))7--7%&,:7-$():-)*"%:-1)#5&-)&))7--7%&,:7-$()+*#&$#)/#'#/)
    ,7),9#)(%*)<&)"*,')*"++7/,)+&1#2
    89:*#)'&)"*,')&/#)/#$+7-$:.*#)'7/)#-,#/:-1)#5&-)&))7--7%&,:7-$)$")9)&$)#5,#-%#%),:-#):-,7),9#))7"/$#)
    *#&/-:-1)-&-&1#-#-,)$'$,#-)6=&-+&$()*&3&:()6*&)3.7&/%8(),9#)('':)#)7')%:$&.:*:,')*#/+:)#$)$,&-%$)/#&%')
    ,7)$"++7/,)'7"2)&*#&$#)%7)-7,)9#$:,&,#),7)/#&)9)7",),7)"$),:,9)&-')/"#$,:7-$)/#1&/%:-1)97,),7):-+*#-#-,)
    &))7--7%&,:7-$):-)&-)7-*:-#)#-+:/7--#-,2
    !')'7")9&+#)7,9#/):%#&$)/#1&/%:-1)97,),7))/#&,#)&))#$$)'7/)'7"/))7"/$#()+&/,:)"*&/*'):-),9#)/#-7,#)*#&/-:-1)
    #-+:/7--#-,()!),7"*%).#)9&++'),7)$+#&3),:,9)'7"2)=7"/):-+",):$)1/#&,*')&++/#):&,#%2)
    !-)&%%:,:7-()!),#*)7-#)&-'))7-)#/-$)7/)/"#$,:7-$)'7")-&')9&+#)&.7",),9:$)-&,,#/2)
    *:-)#/#*'(




    "7//#-)89:,&3#/
    =77/%:-&,7/
    "7//#-289:,&3#/>/",1#/$2#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 12 of 110 PageID:
                                                518
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*#+,#-.#/)0()1212
    345220233
    67.)89:,#
    ;<==)>?* >!"#$%&'*
    ()2*1))
    ;#&/)%/7+#$$7/*
    !9#),++:-#)7+);:$&.:.:,')*#//:-#$)9&$)/#/:#0#%),9:$)$,"%#1,2$)/#3"#$,()$#.+4/#+7/,)&1%)$"++7/,:15)
    %7-"-#1,&,:71),7)#$,&..:$9),9#:/)#.:5:.:.:,')+7/)/#&$71&..#)&--7--7%&,:71$):1)&--7/%&1-#)0:,9)/#.#/&1,)
    +#%#/&.).&0$6)
    !9#)+7..70:15)&--7--7%&,:71$)&/#)/#&$71&..#):1)7/%#/),7)+/7/:%#)#3"&.)&--#$$)&1%)+&/,:-:+&,:71):1)'7"/)
    -.&$$*)

        !   7--#$$),7)$1&-8$ +77% %/:18$)%"/:15).&.$()-.&$$)&1%)#9&-$
        !   >9,#1%#%),:-#):322;<)+7/):1)-.&$$ 71.:1#),:-#%)#9&-$)&1%)3":==#$
        !   !7)*-&1,/71$)+7/)#9&-$ 3":==#$
        !   >$#)7+)&)-7-+",#/)+7/)#9&-$ )3":==#$()"1.#$$):,)-7-+/7-:$#$)&1)#$$#1,:&.)+"1-,:71)7+),9#)
            -7"/$#
    <)9&/#):1+7/-#%),9:$)$,"%#1,)&.7",),9#):-+7/,&1-#)7+)+/7/:%:15)'7"),9:$).#,,#/)&$)$771)&$)+7$$:..#()&$)0#..)
    &$)%:$-"$$:15)0:,9)'7"):1)&),:-#.')-&11#/)970),9#)&.7/#)&--7--7%&,:71$)0:..).#):-+.#-#1,#%6
    <1),9#)-"//#1,)/#-7,#)#1/:/71-#1,()&--7--7%&,:71$)-&').#):-+.#-#1,#%)&).:,)%:++#/#1,.'6))=7/)"+),7)%&,#
    :1+7/-&,:71)71)970),7):-+.#-#1,)71.:1#)&--7--7%&,:71$():1-."%:15)#9&-)&--7--7%&,:71$()+.#&$#)/#+#/)
    ,7),9#),;*)=&-".,')*"++7/,)+&5#6
    89:.#)+&-".,')&/#)/#$+71$:..#)+7/)#1,#/:15)#9&-)&--7--7%&,:71$)$"-9)&$)#9,#1%#%),:-#):1,7),9#)-7"/$#)
    .#&/1:15)-&1&5#-#1,)$'$,#-):?&1/&$()*&8&:()6.&-8.7&/%<(),9#),++:-#)7+);:$&.:.:,')*#//:-#$)$,&1%$)/#&%')
    ,7)$"++7/,)'7"6)%.#&$#)%7)17,)9#$:,&,#),7)/#&-9)7",),7)"$)0:,9)&1')3"#$,:71$)/#5&/%:15)970),7):-+.#-#1,)
    &--7--7%&,:71$):1)&1)71.:1#)#1/:/71-#1,6
    <+)'7")9&/#)7,9#/):%#&$)/#5&/%:15)970),7)-/#&,#)&--#$$)+7/)'7"/)-7"/$#()+&/,:-".&/.'):1),9#)/#-7,#).#&/1:15)
    #1/:/71-#1,()<)07".%).#)9&++'),7)$+#&8)0:,9)'7"6)'7"/):1+",):$)5/#&,.')&++/#-:&,#%6)
    <1)&%%:,:71()<)0#.-7-#)&1')-71-#/1$)7/)3"#$,:71$)'7")-&')9&/#)&.7",),9:$)-&,,#/6)
    *:1-#/#.'(




    @7//#1)89:,&8#/
    ?77/%:1&,7/
    @7//#1689:,&8#/A/",5#/$6#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 13 of 110 PageID:
                                                519
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*#+,#-.#/)0()1212
    345220233
    67.)89:,#
    ;<=><;;?<=); !<!"> *
    5#2$%#%
    &#&/)'/7(#$$7/$
    !9#)!((:)#)7()&:$&.:*:,')*#/+:)#$)9&$)/#+:#,#%),9:$)$,"%#-,.$)/#/"#$,()$#*(0/#+7/,)&-%)$"++7/,:-1)
    %7)"-#-,&,:7-),7)#$,&.*:$9),9#:/)#*:1:.:*:,')(7/)/#&$7-&.*#)&))7--7%&,:7-$):-)&))7/%&-)#),:,9)/#*#+&-,)
    (#%#/&*)*&,$2)
    !9#)(7**7,:-1)&))7--7%&,:7-$)&/#)/#&$7-&.*#):-)7/%#/),7)+/7+:%#)#/"&*)&))#$$)&-%)+&/,:):+&,:7-):-)'7"/)
    )*&$$$)

        !   3))#$$),7)$-&)4$5(77%5%/:-4$)%"/:-1)*&.$())*&$$)&-%)#6&-$
        !   6/#&4$)%"/:-1)#6&-$),:,97",),:-#)+#-&*,'
        !   ;6,#-%#%),:-#)732289)(7/):-))*&$$57-*:-#),:-#%)#6&-$)&-%)/":::#$
        !   <7)*)&-,/7-$)(7/)#6&-$5/":::#$
        !   ;$#)7()&))7-+",#/)(7/)#6&-$5)/":::#$()"-*#$$):,))7-+/7-:$#$)&-)#$$#-,:&*)("-),:7-)7(),9#)
            )7"/$#
    >)9&+#):-(7/-#%),9:$)$,"%#-,)&.7",),9#):-+7/,&-)#)7()+/7+:%:-1)'7"),9:$)*#,,#/)&$)$77-)&$)+7$$:.*#()&$),#**)
    &$)%:$)"$$:-1),:,9)'7"):-)&),:-#*')-&--#/)97,),9#)&.7+#)&))7--7%&,:7-$),:**).#):-+*#-#-,#%2
    >-),9#))"//#-,)/#-7,#)#-+:/7--#-,()&))7--7%&,:7-$)-&').#):-+*#-#-,#%)&).:,)%:((#/#-,*'2))<7/)"+),7)%&,#
    :-(7/-&,:7-)7-)97,),7):-+*#-#-,)7-*:-#)&))7--7%&,:7-$():-)*"%:-1)#6&-)&))7--7%&,:7-$()+*#&$#)/#(#/)
    ,7),9#)!&*)<&)"*,')*"++7/,)+&1#2
    89:*#)(&)"*,')&/#)/#$+7-$:.*#)(7/)#-,#/:-1)#6&-)&))7--7%&,:7-$)$")9)&$)#6,#-%#%),:-#):-,7),9#))7"/$#)
    *#&/-:-1)-&-&1#-#-,)$'$,#-)7 &-+&$()*&4&:()6*&)4.7&/%9(),9#)!((:)#)7()&:$&.:*:,')*#/+:)#$)$,&-%$)/#&%')
    ,7)$"++7/,)'7"2)'*#&$#)%7)-7,)9#$:,&,#),7)/#&)9)7",),7)"$),:,9)&-')/"#$,:7-$)/#1&/%:-1)97,),7):-+*#-#-,)
    &))7--7%&,:7-$):-)&-)7-*:-#)#-+:/7--#-,2
    >()'7")9&+#)7,9#/):%#&$)/#1&/%:-1)97,),7))/#&,#)&))#$$)(7/)'7"/))7"/$#()+&/,:)"*&/*'):-),9#)/#-7,#)*#&/-:-1)
    #-+:/7--#-,()>),7"*%).#)9&++'),7)$+#&4),:,9)'7"2)=7"/):-+",):$)1/#&,*')&++/#):&,#%2)
    >-)&%%:,:7-()>),#*)7-#)&-'))7-)#/-$)7/)/"#$,:7-$)'7")-&')9&+#)&.7",),9:$)-&,,#/2)
    *:-)#/#*'(




    >7//#-)89:,&4#/
     77/%:-&,7/
    >7//#-289:,&4#/?/",1#/$2#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 14 of 110 PageID:
                                                520
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*#+,#-.#/)0()1212
    345220233
    67.)89:,#
    ;<=>);?!< !?"*
    #52$143
    %#&/)&/7'#$$7/$
    !9#)('':)#)7')%:$&.:*:,')*#/+:)#$)9&$)/#+:#,#%),9:$)$,"%#-,.$)/#/"#$,()$#*'0/#+7/,)&-%)$"++7/,:-1)
    %7)"-#-,&,:7-),7)#$,&.*:$9),9#:/)#*:1:.:*:,')'7/)/#&$7-&.*#)&))7--7%&,:7-$):-)&))7/%&-)#),:,9)/#*#+&-,)
    '#%#/&*)*&,$2)
    !9#)'7**7,:-1)&))7--7%&,:7-$)&/#)/#&$7-&.*#):-)7/%#/),7)+/7+:%#)#/"&*)&))#$$)&-%)+&/,:):+&,:7-):-)'7"/)
    )*&$$$)

        !   ?))#$$),7)$-&)3$4'77%4%/:-3$)%"/:-1)*&.$())*&$$)&-%)#5&-$
        !   6/#&3$)%"/:-1)#5&-$),:,97",),:-#)+#-&*,'
        !   <5,#-%#%),:-#)632278)'7/):-))*&$$47-*:-#),:-#%)#5&-$)&-%)/":99#$
        !   :7)*)&-,/7-$)'7/)#5&-$4/":99#$
        !   ;$#)7')&))7-+",#/)'7/)#5&-$4)/":99#$()"-*#$$):,))7-+/7-:$#$)&-)#$$#-,:&*)'"-),:7-)7'),9#)
            )7"/$#
    !)9&+#):-'7/-#%),9:$)$,"%#-,)&.7",),9#):-+7/,&-)#)7')+/7+:%:-1)'7"),9:$)*#,,#/)&$)$77-)&$)+7$$:.*#()&$),#**)
    &$)%:$)"$$:-1),:,9)'7"):-)&),:-#*')-&--#/)97,),9#)&.7+#)&))7--7%&,:7-$),:**).#):-+*#-#-,#%2
    !-),9#))"//#-,)/#-7,#)#-+:/7--#-,()&))7--7%&,:7-$)-&').#):-+*#-#-,#%)&).:,)%:''#/#-,*'2))<7/)"+),7)%&,#
    :-'7/-&,:7-)7-)97,),7):-+*#-#-,)7-*:-#)&))7--7%&,:7-$():-)*"%:-1)#5&-)&))7--7%&,:7-$()+*#&$#)/#'#/)
    ,7),9#)(%*)<&)"*,')*"++7/,)+&1#2
    89:*#)'&)"*,')&/#)/#$+7-$:.*#)'7/)#-,#/:-1)#5&-)&))7--7%&,:7-$)$")9)&$)#5,#-%#%),:-#):-,7),9#))7"/$#)
    *#&/-:-1)-&-&1#-#-,)$'$,#-)6=&-+&$()*&3&:()6*&)3.7&/%8(),9#)('':)#)7')%:$&.:*:,')*#/+:)#$)$,&-%$)/#&%')
    ,7)$"++7/,)'7"2)&*#&$#)%7)-7,)9#$:,&,#),7)/#&)9)7",),7)"$),:,9)&-')/"#$,:7-$)/#1&/%:-1)97,),7):-+*#-#-,)
    &))7--7%&,:7-$):-)&-)7-*:-#)#-+:/7--#-,2
    !')'7")9&+#)7,9#/):%#&$)/#1&/%:-1)97,),7))/#&,#)&))#$$)'7/)'7"/))7"/$#()+&/,:)"*&/*'):-),9#)/#-7,#)*#&/-:-1)
    #-+:/7--#-,()!),7"*%).#)9&++'),7)$+#&3),:,9)'7"2)=7"/):-+",):$)1/#&,*')&++/#):&,#%2)
    !-)&%%:,:7-()!),#*)7-#)&-'))7-)#/-$)7/)/"#$,:7-$)'7")-&')9&+#)&.7",),9:$)-&,,#/2)
    *:-)#/#*'(




    "7//#-)89:,&3#/
    =77/%:-&,7/
    "7//#-289:,&3#/>/",1#/$2#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 15 of 110 PageID:
                                                521
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*#+,#-.#/)0()1212
    345220233
    67.)89:,#
    ;<;=>!)? >*!"*)!!
    #52$11#
    %#&/)?/7&#$$7/$
    !9#)'&&:(#)7&)%:$&.:):,')*#/*:(#$)9&$)/#*:#+#%),9:$)$,"%#,,-$)/#."#$,()$#)&//#+7/,)&,%)$"++7/,:,0)
    %7("-#,,&,:7,),7)#$,&.):$9),9#:/)#):0:.:):,')&7/)/#&$7,&.)#)&((7--7%&,:7,$):,)&((7/%&,(#)+:,9)/#)#*&,,)
    &#%#/&)))&+$1)
    !9#)&7))7+:,0)&((7--7%&,:7,$)&/#)/#&$7,&.)#):,)7/%#/),7)+/7*:%#)#."&))&((#$$)&,%)+&/,:(:+&,:7,):,)'7"/)
    ()&$$$)

        !   ;((#$$),7)$,&(2$3&77%3%/:,2$)%"/:,0))&.$()()&$$)&,%)#4&-$
        !   6/#&2$)%"/:,0)#4&-$)+:,97",),:-#)+#,&),'
        !   54,#,%#%),:-#)632278)&7/):,)()&$$37,):,#),:-#%)#4&-$)&,%).":99#$
        !   <7)*(&,,/7,$)&7/)#4&-$3.":99#$
        !   :$#)7&)&)(7-+",#/)&7/)#4&-$3).":99#$()",)#$$):,)(7-+/7-:$#$)&,)#$$#,,:&))&",(,:7,)7&),9#)
            (7"/$#
    !)9&*#):,&7/-#%),9:$)$,"%#,,)&.7",),9#):-+7/,&,(#)7&)+/7*:%:,0)'7"),9:$))#,,#/)&$)$77,)&$)+7$$:.)#()&$)+#)))
    &$)%:$("$$:,0)+:,9)'7"):,)&),:-#)')-&,,#/)97+),9#)&.7*#)&((7--7%&,:7,$)+:))).#):-+)#-#,,#%1
    !,),9#)("//#,,)/#-7,#)#,*:/7,-#,,()&((7--7%&,:7,$)-&').#):-+)#-#,,#%)&).:,)%:&&#/#,,)'1));7/)"+),7)%&,#
    :,&7/-&,:7,)7,)97+),7):-+)#-#,,)7,):,#)&((7--7%&,:7,$():,()"%:,0)#4&-)&((7--7%&,:7,$()+)#&$#)/#&#/)
    ,7),9#)'%*);&("),')*"++7/,)+&0#1
    89:)#)&&("),')&/#)/#$+7,$:.)#)&7/)#,,#/:,0)#4&-)&((7--7%&,:7,$)$"(9)&$)#4,#,%#%),:-#):,,7),9#)(7"/$#)
    )#&/,:,0)-&,&0#-#,,)$'$,#-)6"&,*&$()*&2&:()6)&(2.7&/%8(),9#)'&&:(#)7&)%:$&.:):,')*#/*:(#$)$,&,%$)/#&%')
    ,7)$"++7/,)'7"1)?)#&$#)%7),7,)9#$:,&,#),7)/#&(9)7",),7)"$)+:,9)&,')."#$,:7,$)/#0&/%:,0)97+),7):-+)#-#,,)
    &((7--7%&,:7,$):,)&,)7,):,#)#,*:/7,-#,,1
    !&)'7")9&*#)7,9#/):%#&$)/#0&/%:,0)97+),7)(/#&,#)&((#$$)&7/)'7"/)(7"/$#()+&/,:(")&/)'):,),9#)/#-7,#))#&/,:,0)
    #,*:/7,-#,,()!)+7")%).#)9&++'),7)$+#&2)+:,9)'7"1)>7"/):,+",):$)0/#&,)')&++/#(:&,#%1)
    !,)&%%:,:7,()!)+#)(7-#)&,')(7,(#/,$)7/)."#$,:7,$)'7")-&')9&*#)&.7",),9:$)-&,,#/1)
    *:,(#/#)'(




    =7//#,)89:,&2#/
    "77/%:,&,7/
    =7//#,189:,&2#/</",0#/$1#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 16 of 110 PageID:
                                                522
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*#+,#-.#/)0()1212
    345220233
    67.)89:,#
    ;<;=>!)? >*!"*)!!
    #52$11#
    %#&/)?/7&#$$7/$
    !9#)'&&:(#)7&)%:$&.:):,')*#/*:(#$)9&$)/#*:#+#%),9:$)$,"%#,,-$)/#."#$,()$#)&//#+7/,)&,%)$"++7/,:,0)
    %7("-#,,&,:7,),7)#$,&.):$9),9#:/)#):0:.:):,')&7/)/#&$7,&.)#)&((7--7%&,:7,$):,)&((7/%&,(#)+:,9)/#)#*&,,)
    &#%#/&)))&+$1)
    !9#)&7))7+:,0)&((7--7%&,:7,$)&/#)/#&$7,&.)#):,)7/%#/),7)+/7*:%#)#."&))&((#$$)&,%)+&/,:(:+&,:7,):,)'7"/)
    ()&$$$)

        !   ;((#$$),7)$,&(2$3&77%3%/:,2$)%"/:,0))&.$()()&$$)&,%)#4&-$
        !   54,#,%#%),:-#)632278)&7/):,)()&$$37,):,#),:-#%)#4&-$)&,%).":99#$
        !   <7)*(&,,/7,$)&7/)#4&-$3.":99#$
        !   :$#)7&)&)(7-+",#/)&7/)#4&-$3).":99#$()",)#$$):,)(7-+/7-:$#$)&,)#$$#,,:&))&",(,:7,)7&),9#)
            (7"/$#
    !)9&*#):,&7/-#%),9:$)$,"%#,,)&.7",),9#):-+7/,&,(#)7&)+/7*:%:,0)'7"),9:$))#,,#/)&$)$77,)&$)+7$$:.)#()&$)+#)))
    &$)%:$("$$:,0)+:,9)'7"):,)&),:-#)')-&,,#/)97+),9#)&.7*#)&((7--7%&,:7,$)+:))).#):-+)#-#,,#%1
    !,),9#)("//#,,)/#-7,#)#,*:/7,-#,,()&((7--7%&,:7,$)-&').#):-+)#-#,,#%)&).:,)%:&&#/#,,)'1));7/)"+),7)%&,#
    :,&7/-&,:7,)7,)97+),7):-+)#-#,,)7,):,#)&((7--7%&,:7,$():,()"%:,0)#4&-)&((7--7%&,:7,$()+)#&$#)/#&#/)
    ,7),9#)'%*);&("),')*"++7/,)+&0#1
    89:)#)&&("),')&/#)/#$+7,$:.)#)&7/)#,,#/:,0)#4&-)&((7--7%&,:7,$)$"(9)&$)#4,#,%#%),:-#):,,7),9#)(7"/$#)
    )#&/,:,0)-&,&0#-#,,)$'$,#-)6"&,*&$()*&2&:()6)&(2.7&/%8(),9#)'&&:(#)7&)%:$&.:):,')*#/*:(#$)$,&,%$)/#&%')
    ,7)$"++7/,)'7"1)?)#&$#)%7),7,)9#$:,&,#),7)/#&(9)7",),7)"$)+:,9)&,')."#$,:7,$)/#0&/%:,0)97+),7):-+)#-#,,)
    &((7--7%&,:7,$):,)&,)7,):,#)#,*:/7,-#,,1
    !&)'7")9&*#)7,9#/):%#&$)/#0&/%:,0)97+),7)(/#&,#)&((#$$)&7/)'7"/)(7"/$#()+&/,:(")&/)'):,),9#)/#-7,#))#&/,:,0)
    #,*:/7,-#,,()!)+7")%).#)9&++'),7)$+#&2)+:,9)'7"1)>7"/):,+",):$)0/#&,)')&++/#(:&,#%1)
    !,)&%%:,:7,()!)+#)(7-#)&,')(7,(#/,$)7/)."#$,:7,$)'7")-&')9&*#)&.7",),9:$)-&,,#/1)
    *:,(#/#)'(




    =7//#,)89:,&2#/
    "77/%:,&,7/
    =7//#,189:,&2#/</",0#/$1#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 17 of 110 PageID:
                                                523
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*&+"&,')-.()-/-0
    012//3/00
    456)789:#
    ;<=)>;? !"#<$>%?&
    ''/(---
    "#&,)),5*#$$5,(
    !8#)+**9,#)5*)"9$&69-9:')&#,.9,#$)8&$),#.9#/#%):89$)$:"%#+:0$),#1"#$:()$#-*!,#25,:)&+%)$"225,:9+3)
    %5,"4#+:&:95+):5)#$:&6-9$8):8#9,)#-93969-9:')*5,),#&$5+&6-#)&,,5445%&:95+$)9+)&,,5,%&+,#)/9:8),#-#.&+:)
    *#%#,&-)-&/$5)
    !8#)*5--5/9+3)&,,5445%&:95+$)&,#),#&$5+&6-#)9+)5,%#,):5)2,5.9%#)#1"&-)&,,#$$)&+%)2&,:9,92&:95+)9+)'5",)
    ,-&$$()

        !   $,,#$$):5)$+&,6$7*55%7%,9+6$)%",9+3)-&6$(),-&$$)&+%)#8&4$
        !   4,#&6$)%",9+3)#8&4$)/9:85":):94#)2#+&-:'
        !   ;8:#+%#%):94#)90//:;)*5,)9+),-&$$75+-9+#):94#%)#8&4$)&+%)1"9<<#$
        !   <5)&,&+:,5+$)*5,)#8&4$71"9<<#$
        !   =$#)5*)&),542":#,)*5,)#8&4$7)1"9<<#$()"+-#$$)9:),542,549$#$)&+)#$$#+:9&-)*"+,:95+)5*):8#)
            ,5",$#
    %)8&.#)9+*5,4#%):89$)$:"%#+:)&65":):8#)9425,:&+,#)5*)2,5.9%9+3)'5"):89$)-#::#,)&$)$55+)&$)25$$96-#()&$)/#--)
    &$)%9$,"$$9+3)/9:8)'5")9+)&):94#-')4&++#,)85/):8#)&65.#)&,,5445%&:95+$)/9--)6#)942-#4#+:#%5
    %+):8#),",,#+:),#45:#)#+.9,5+4#+:()&,,5445%&:95+$)4&')6#)942-#4#+:#%)&)69:)%9**#,#+:-'5))>5,)"2):5)%&:#
    9+*5,4&:95+)5+)85/):5)942-#4#+:)5+-9+#)&,,5445%&:95+$()9+,-"%9+3)#8&4)&,,5445%&:95+$()2-#&$#),#*#,)
    :5):8#)+"&)>&,"-:')&"225,:)2&3#5
    789-#)*&,"-:')&,#),#$25+$96-#)*5,)#+:#,9+3)#8&4)&,,5445%&:95+$)$",8)&$)#8:#+%#%):94#)9+:5):8#),5",$#)
    -#&,+9+3)4&+&3#4#+:)$'$:#4)9?&+.&$()&&6&9()4-&,665&,%;():8#)+**9,#)5*)"9$&69-9:')&#,.9,#$)$:&+%$),#&%')
    :5)$"225,:)'5"5))-#&$#)%5)+5:)8#$9:&:#):5),#&,8)5":):5)"$)/9:8)&+')1"#$:95+$),#3&,%9+3)85/):5)942-#4#+:)
    &,,5445%&:95+$)9+)&+)5+-9+#)#+.9,5+4#+:5
    %*)'5")8&.#)5:8#,)9%#&$),#3&,%9+3)85/):5),,#&:#)&,,#$$)*5,)'5",),5",$#()2&,:9,"-&,-')9+):8#),#45:#)-#&,+9+3)
    #+.9,5+4#+:()%)/5"-%)6#)8&22'):5)$2#&6)/9:8)'5"5)#5",)9+2":)9$)3,#&:-')&22,#,9&:#%5)
    %+)&%%9:95+()%)/#-,54#)&+'),5+,#,+$)5,)1"#$:95+$)'5")4&')8&.#)&65":):89$)4&::#,5)
    &9+,#,#-'(




    ?5,,#+)789:&6#,
    ?55,%9+&:5,
    ?5,,#+5789:&6#,@,":3#,$5#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 18 of 110 PageID:
                                                524
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*&+"&,')-.()-/-0
    012//3/00
    456)789:#
    ;<=)>;?>) !")#$%"$%
    .&/'&-0
    <#&,)(,5)#$$5,'
    !8#)!))9*#)5))<9$&69+9:'),#,-9*#$)8&$),#-9#.#%):89$)$:"%#+:/$),#0"#$:()$#+)1,#25,:)&+%)$"225,:9+3)
    %5*"4#+:&:95+):5)#$:&6+9$8):8#9,)#+93969+9:'))5,),#&$5+&6+#)&**5445%&:95+$)9+)&**5,%&+*#).9:8),#+#-&+:)
    )#%#,&+)+&.$5)
    !8#))5++5.9+3)&**5445%&:95+$)&,#),#&$5+&6+#)9+)5,%#,):5)2,5-9%#)#0"&+)&**#$$)&+%)2&,:9*92&:95+)9+)'5",)
    *+&$$')

        !   ;**#$$):5)$+&*6$7)55%7%,9+6$)%",9+3)+&6$()*+&$$)&+%)#8&4$
        !   4,#&6$)%",9+3)#8&4$).9:85":):94#)2#+&+:'
        !   #8:#+%#%):94#)90//:;))5,)9+)*+&$$75++9+#):94#%)#8&4$)&+%)0"9<<#$
        !   $5),*&+:,5+$))5,)#8&4$70"9<<#$
        !   =$#)5))&)*542":#,))5,)#8&4$7)0"9<<#$()"++#$$)9:)*542,549$#$)&+)#$$#+:9&+))"+*:95+)5)):8#)
            *5",$#
    >)8&-#)9+)5,4#%):89$)$:"%#+:)&65":):8#)9425,:&+*#)5))2,5-9%9+3)'5"):89$)+#::#,)&$)$55+)&$)25$$96+#()&$).#++)
    &$)%9$*"$$9+3).9:8)'5")9+)&):94#+')4&++#,)85.):8#)&65-#)&**5445%&:95+$).9++)6#)942+#4#+:#%5
    >+):8#)*",,#+:),#45:#)#+-9,5+4#+:()&**5445%&:95+$)4&')6#)942+#4#+:#%)&)69:)%9))#,#+:+'5)) 5,)"2):5)%&:#
    9+)5,4&:95+)5+)85.):5)942+#4#+:)5++9+#)&**5445%&:95+$()9+*+"%9+3)#8&4)&**5445%&:95+$()2+#&$#),#)#,)
    :5):8#)!<,) &*"+:'),"225,:)2&3#5
    789+#))&*"+:')&,#),#$25+$96+#))5,)#+:#,9+3)#8&4)&**5445%&:95+$)$"*8)&$)#8:#+%#%):94#)9+:5):8#)*5",$#)
    +#&,+9+3)4&+&3#4#+:)$'$:#4)9>&+-&$(),&6&9()4+&*665&,%;():8#)!))9*#)5))<9$&69+9:'),#,-9*#$)$:&+%$),#&%')
    :5)$"225,:)'5"5)(+#&$#)%5)+5:)8#$9:&:#):5),#&*8)5":):5)"$).9:8)&+')0"#$:95+$),#3&,%9+3)85.):5)942+#4#+:)
    &**5445%&:95+$)9+)&+)5++9+#)#+-9,5+4#+:5
    >))'5")8&-#)5:8#,)9%#&$),#3&,%9+3)85.):5)*,#&:#)&**#$$))5,)'5",)*5",$#()2&,:9*"+&,+')9+):8#),#45:#)+#&,+9+3)
    #+-9,5+4#+:()>).5"+%)6#)8&22'):5)$2#&6).9:8)'5"5)?5",)9+2":)9$)3,#&:+')&22,#*9&:#%5)
    >+)&%%9:95+()>).#+*54#)&+')*5+*#,+$)5,)0"#$:95+$)'5")4&')8&-#)&65":):89$)4&::#,5)
    ,9+*#,#+'(




    ?5,,#+)789:&6#,
    >55,%9+&:5,
    ?5,,#+5789:&6#,@,":3#,$5#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 19 of 110 PageID:
                                                525
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*&+"&,')-.()-/-0
    012//3/00
    456)789:#
    !;<=>? !"#>$%&
    .2/'(20
     #&,)),5*#$$5,'
    !8#)?**9+#)5*) 9$&69,9:')&#,-9+#$)8&$),#-9#.#%):89$)$:"%#+:/$),#0"#$:()$#,*1,#25,:)&+%)$"225,:9+3)
    %5+"4#+:&:95+):5)#$:&6,9$8):8#9,)#,93969,9:')*5,),#&$5+&6,#)&++5445%&:95+$)9+)&++5,%&++#).9:8),#,#-&+:)
    *#%#,&,),&.$5)
    !8#)*5,,5.9+3)&++5445%&:95+$)&,#),#&$5+&6,#)9+)5,%#,):5)2,5-9%#)#0"&,)&++#$$)&+%)2&,:9+92&:95+)9+)'5",)
    +,&$$')

        !   #++#$$):5)$+&+6$7*55%7%,9+6$)%",9+3),&6$()+,&$$)&+%)#8&4$
        !   4,#&6$)%",9+3)#8&4$).9:85":):94#)2#+&,:'
        !   <8:#+%#%):94#)90//:;)*5,)9+)+,&$$75+,9+#):94#%)#8&4$)&+%)0"9<<#$
        !   "5)&+&+:,5+$)*5,)#8&4$70"9<<#$
        !   )#,49$$95+):5)"$#)&),&2:52)7):&6,#:)*5,)+5:#:&69+3
        !   =$#)5*)&)+542":#,)*5,)#8&4$7)0"9<<#$()"+,#$$)9:)+542,549$#$)&+)#$$#+:9&,)*"++:95+)5*):8#)
            +5",$#
    $)8&-#)9+*5,4#%):89$)$:"%#+:)&65":):8#)9425,:&++#)5*)2,5-9%9+3)'5"):89$),#::#,)&$)$55+)&$)25$$96,#()&$).#,,)
    &$)%9$+"$$9+3).9:8)'5")9+)&):94#,')4&++#,)85.):8#)&65-#)&++5445%&:95+$).9,,)6#)942,#4#+:#%5
    $+):8#)+",,#+:),#45:#)#+-9,5+4#+:()&++5445%&:95+$)4&')6#)942,#4#+:#%)&)69:)%9**#,#+:,'5))>5,)"2):5)%&:#
    9+*5,4&:95+)5+)85.):5)942,#4#+:)5+,9+#)&++5445%&:95+$()9++,"%9+3)#8&4)&++5445%&:95+$()2,#&$#),#*#,)
    :5):8#)? &)>&+",:')&"225,:)2&3#5
    789,#)*&+",:')&,#),#$25+$96,#)*5,)#+:#,9+3)#8&4)&++5445%&:95+$)$"+8)&$)#8:#+%#%):94#)9+:5):8#)+5",$#)
    ,#&,+9+3)4&+&3#4#+:)$'$:#4)9%&+-&$()&&6&9()4,&+665&,%;():8#)?**9+#)5*) 9$&69,9:')&#,-9+#$)$:&+%$),#&%')
    :5)$"225,:)'5"5)),#&$#)%5)+5:)8#$9:&:#):5),#&+8)5":):5)"$).9:8)&+')0"#$:95+$),#3&,%9+3)85.):5)942,#4#+:)
    &++5445%&:95+$)9+)&+)5+,9+#)#+-9,5+4#+:5
    $*)'5")8&-#)5:8#,)9%#&$),#3&,%9+3)85.):5)+,#&:#)&++#$$)*5,)'5",)+5",$#()2&,:9+",&,,')9+):8#),#45:#),#&,+9+3)
    #+-9,5+4#+:()$).5",%)6#)8&22'):5)$2#&6).9:8)'5"5)!5",)9+2":)9$)3,#&:,')&22,#+9&:#%5)
    $+)&%%9:95+()$).#,+54#)&+')+5++#,+$)5,)0"#$:95+$)'5")4&')8&-#)&65":):89$)4&::#,5)
    &9++#,#,'(




    ?5,,#+)789:&6#,
    %55,%9+&:5,
    ?5,,#+5789:&6#,@,":3#,$5#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 20 of 110 PageID:
                                                526
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*&+"&,')-.()-/-0
    012//3/00
    456)789:#
    ;#,5$<&=#)>&:#,9&?$)
    .2/ !!1
    "#&,)#,5$#$$5,
    !8#)%$$9=#)5$)"9$&69?9:')&#,'9=#$)8&$),#'9#(#%):89$)$:"%#+:)$),#*"#$:()$#?$+,#<5,:)&+%)$"<<5,:9+,)
    %5="-#+:&:95+):5)#$:&6?9$8):8#9,)#?9,969?9:')$5,),#&$5+&6?#)&==5--5%&:95+$)9+)&==5,%&+=#)(9:8),#?#'&+:)
    $#%#,&?)?&($.)
    !8#)$5??5(9+,)&==5--5%&:95+$)&,#),#&$5+&6?#)9+)5,%#,):5)<,5'9%#)#*"&?)&==#$$)&+%)<&,:9=9<&:95+)9+)'5",)
    =?&$$ )

        !   ;==#$$):5)$+&=/$0$55%0%,9+/$)%",9+,)?&6$()=?&$$)&+%)#1&-$
        !   4,#&/$)%",9+,)#1&-$)(9:85":):9-#)<#+&?:'
        !   21:#+%#%):9-#)30//45)$5,)9+)=?&$$05+?9+#):9-#%)#1&-$)&+%)*"966#$
        !   75)&=&+:,5+$)$5,)#1&-$0*"966#$
        !   ##,-9$$95+):5)"$#)&)?&<:5<)0):&6?#:)$5,)+5:#:&/9+,
        !   8$#)5$)&)=5-<":#,)$5,)#1&-$0)*"966#$()"+?#$$)9:)=5-<,5-9$#$)&+)#$$#+:9&?)$"+=:95+)5$):8#)
            =5",$#
    9)8&'#)9+$5,-#%):89$)$:"%#+:)&65":):8#)9-<5,:&+=#)5$)<,5'9%9+,)'5"):89$)?#::#,)&$)$55+)&$)<5$$96?#()&$)(#??)
    &$)%9$="$$9+,)(9:8)'5")9+)&):9-#?')-&++#,)85():8#)&65'#)&==5--5%&:95+$)(9??)6#)9-<?#-#+:#%.
    9+):8#)=",,#+:),#-5:#)#+'9,5+-#+:()&==5--5%&:95+$)-&')6#)9-<?#-#+:#%)&)69:)%9$$#,#+:?'.)):5,)"<):5)%&:#
    9+$5,-&:95+)5+)85():5)9-<?#-#+:)5+?9+#)&==5--5%&:95+$()9+=?"%9+,)#1&-)&==5--5%&:95+$()<?#&$#),#$#,)
    :5):8#)%"&):&="?:')&"<<5,:)<&,#.
    789?#)$&="?:')&,#),#$<5+$96?#)$5,)#+:#,9+,)#1&-)&==5--5%&:95+$)$"=8)&$)#1:#+%#%):9-#)9+:5):8#)=5",$#)
    ?#&,+9+,)-&+&,#-#+:)$'$:#-)3;&+'&$()&&/&9()4?&=/65&,%5():8#)%$$9=#)5$)"9$&69?9:')&#,'9=#$)$:&+%$),#&%')
    :5)$"<<5,:)'5".)#?#&$#)%5)+5:)8#$9:&:#):5),#&=8)5":):5)"$)(9:8)&+')*"#$:95+$),#,&,%9+,)85():5)9-<?#-#+:)
    &==5--5%&:95+$)9+)&+)5+?9+#)#+'9,5+-#+:.
    9$)'5")8&'#)5:8#,)9%#&$),#,&,%9+,)85():5)=,#&:#)&==#$$)$5,)'5",)=5",$#()<&,:9="?&,?')9+):8#),#-5:#)?#&,+9+,)
    #+'9,5+-#+:()9)(5"?%)6#)8&<<'):5)$<#&/)(9:8)'5".)<5",)9+<":)9$),,#&:?')&<<,#=9&:#%.)
    9+)&%%9:95+()9)(#?=5-#)&+')=5+=#,+$)5,)*"#$:95+$)'5")-&')8&'#)&65":):89$)-&::#,.)
    &9+=#,#?'(




    =5,,#+)789:&/#,
    ;55,%9+&:5,
    =5,,#+.789:&/#,>,":,#,$.#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 21 of 110 PageID:
                                                527
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*&+"&,')-.()-/-0
    012//3/00
    456)789:#
    ;<=)>?) !;")!?##
    .2/$%33
    =#&,)&,5'#$$5,$
    !8#)(''9)#)5')=9$&69*9:')+#,,9)#$)8&$),#,9#-#%):89$)$:"%#+:.$),#/"#$:()$#*'0,#15,:)&+%)$"115,:9+2)
    %5)"3#+:&:95+):5)#$:&6*9$8):8#9,)#*92969*9:')'5,),#&$5+&6*#)&))5335%&:95+$)9+)&))5,%&+)#)-9:8),#*#,&+:)
    '#%#,&*)*&-$4)
    !8#)'5**5-9+2)&))5335%&:95+$)&,#),#&$5+&6*#)9+)5,%#,):5)1,5,9%#)#/"&*)&))#$$)&+%)1&,:9)91&:95+)9+)'5",)
    )*&$$$)

        !   <))#$$):5)$+&)5$6'55%6%,9+5$)%",9+2)*&6$())*&$$)&+%)#7&3$
        !   4,#&5$)%",9+2)#7&3$)-9:85":):93#)1#+&*:'
        !   !7:#+%#%):93#)80//9:)'5,)9+))*&$$65+*9+#):93#%)#7&3$)&+%)/"9;;#$
        !   ?5)+)&+:,5+$)'5,)#7&3$6/"9;;#$
        !   &#,39$$95+):5)"$#)&)*&1:51)6):&6*#:)'5,)+5:#:&59+2
        !   <$#)5')&))531":#,)'5,)#7&3$6)/"9;;#$()"+*#$$)9:))531,539$#$)&+)#$$#+:9&*)'"+):95+)5'):8#)
            )5",$#
    >)8&,#)9+'5,3#%):89$)$:"%#+:)&65":):8#)9315,:&+)#)5')1,5,9%9+2)'5"):89$)*#::#,)&$)$55+)&$)15$$96*#()&$)-#**)
    &$)%9$)"$$9+2)-9:8)'5")9+)&):93#*')3&++#,)85-):8#)&65,#)&))5335%&:95+$)-9**)6#)931*#3#+:#%4
    >+):8#))",,#+:),#35:#)#+,9,5+3#+:()&))5335%&:95+$)3&')6#)931*#3#+:#%)&)69:)%9''#,#+:*'4))=5,)"1):5)%&:#
    9+'5,3&:95+)5+)85-):5)931*#3#+:)5+*9+#)&))5335%&:95+$()9+)*"%9+2)#7&3)&))5335%&:95+$()1*#&$#),#'#,)
    :5):8#)(=+)=&)"*:')+"115,:)1&2#4
    789*#)'&)"*:')&,#),#$15+$96*#)'5,)#+:#,9+2)#7&3)&))5335%&:95+$)$")8)&$)#7:#+%#%):93#)9+:5):8#))5",$#)
    *#&,+9+2)3&+&2#3#+:)$'$:#3)8;&+,&$()+&5&9()4*&)565&,%:():8#)(''9)#)5')=9$&69*9:')+#,,9)#$)$:&+%$),#&%')
    :5)$"115,:)'5"4)&*#&$#)%5)+5:)8#$9:&:#):5),#&)8)5":):5)"$)-9:8)&+')/"#$:95+$),#2&,%9+2)85-):5)931*#3#+:)
    &))5335%&:95+$)9+)&+)5+*9+#)#+,9,5+3#+:4
    >')'5")8&,#)5:8#,)9%#&$),#2&,%9+2)85-):5)),#&:#)&))#$$)'5,)'5",))5",$#()1&,:9)"*&,*')9+):8#),#35:#)*#&,+9+2)
    #+,9,5+3#+:()>)-5"*%)6#)8&11'):5)$1#&5)-9:8)'5"4)>5",)9+1":)9$)2,#&:*')&11,#)9&:#%4)
    >+)&%%9:95+()>)-#*)53#)&+'))5+)#,+$)5,)/"#$:95+$)'5")3&')8&,#)&65":):89$)3&::#,4)
    +9+)#,#*'(




    ?5,,#+)789:&5#,
    ;55,%9+&:5,
    ?5,,#+4789:&5#,@,":2#,$4#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 22 of 110 PageID:
                                                528
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+,-%,&(./'(010.
    .2/1131..
    4"+(5678*
    9:;<=(;=(>:;<>?<>:
     30! 10
    "*%,(?,"#*$$",!
    ;6*(=##7%*("#("7$%+7&78&('*,(7%*$(6%$(,*(7*)*$(867$($8-$*#8*$(,*+-*$8'($*&#,,*-",8(%#$($---",87#.(
    $"%-/*#8%87"#(8"(*$8%+&7$6(86*7,(*&7.7+7&78&(#",(,*%$"#%+&*(%%%"//"$%87"#$(7#(%%%",$%#%*()786(,*&*(%#8(
    #*$*,%&(&%)$0(
    ;6*(#"&&")7#.(%%%"//"$%87"#$(%,*(,*%$"#%+&*(7#(",$*,(8"(-,"(7$*(*+-%&(%%%*$$(%#$(-%,87%7-%87"#(7#(&"-,(
    %&%$$!(

        !   1%%*$$(8"($#%%2$3#""$3$,7#2$($-,7#.(&%+$'(%&%$$(%#$(*4%/$
        !   4,*%2$($-,7#.(*4%/$()786"-8(87/*(-*#%&8&
        !   >48*#$*$(87/*(5.1167(#",(7#(%&%$$3"#&7#*(87/*$(*4%/$(%#$(+-788*$
        !   :"('%%#8,"#$(#",(*4%/$3+-788*$
        !   ?*,/7$$7"#(8"(-$*(%(&%-8"-(3(8%+&*8(#",(#"8*8%27#.
        !   9$*("#(%(%"/--8*,(#",(*4%/$3(+-788*$'(-#&*$$(78(%"/-,"/7$*$(%#(*$$*#87%&(#-#%87"#("#(86*(
            %"-,$*
    9(6%(*(7##",/*$(867$($8-$*#8(%+"-8(86*(7/-",8%#%*("#(-,"(7$7#.(&"-(867$(&*88*,(%$($""#(%$(-"$$7+&*'(%$()*&&(
    %$($7$%-$$7#.()786(&"-(7#(%(87/*&&(/%##*,(6")(86*(%+"(*(%%%"//"$%87"#$()7&&(+*(7/-&*/*#8*$0
    9#(86*(%-,,*#8(,*/"8*(*#(7,"#/*#8'(%%%"//"$%87"#$(/%&(+*(7/-&*/*#8*$(%(+78($7##*,*#8&&0(()",(--(8"($%8*
    7##",/%87"#("#(6")(8"(7/-&*/*#8("#&7#*(%%%"//"$%87"#$'(7#%&-$7#.(*4%/(%%%"//"$%87"#$'(-&*%$*(,*#*,(
    8"(86*(="'()%%-&8&('---",8(-%.*0
    567&*(#%%-&8&(%,*(,*$-"#$7+&*(#",(*#8*,7#.(*4%/(%%%"//"$%87"#$($-%6(%$(*48*#$*$(87/*(7#8"(86*(%"-,$*(
    &*%,#7#.(/%#%.*/*#8($&$8*/(5:%#(%$'('%2%7'(4&%%2+"%,$7'(86*(=##7%*("#("7$%+7&78&('*,(7%*$($8%#$$(,*%$&(
    8"($---",8(&"-0(?&*%$*($"(#"8(6*$78%8*(8"(,*%%6("-8(8"(-$()786(%#&(+-*$87"#$(,*.%,$7#.(6")(8"(7/-&*/*#8(
    %%%"//"$%87"#$(7#(%#("#&7#*(*#(7,"#/*#80
    9#(&"-(6%(*("86*,(7$*%$(,*.%,$7#.(6")(8"(%,*%8*(%%%*$$(#",(&"-,(%"-,$*'(-%,87%-&%,&&(7#(86*(,*/"8*(&*%,#7#.(
    *#(7,"#/*#8'(9()"-&$(+*(6%--&(8"($-*%2()786(&"-0(;"-,(7#--8(7$(.,*%8&&(%--,*%7%8*$0(
    9#(%$$787"#'(9()*&%"/*(%#&(%"#%*,#$(",(+-*$87"#$(&"-(/%&(6%(*(%+"-8(867$(/%88*,0(
    '7#%*,*&&'




    <",,*#(5678%2*,
    :"",$7#%8",
    <",,*#05678%2*,=,-8.*,$0*$-
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 23 of 110 PageID:
                                                529
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+,-%,&(./'(010.
    .2/1131..
    4"+(5678*
    9:;(<9=<()>?( !"?!"
    #$1%$0.
    :*%,(&,"'*((",%
    )6*(>''7**("'(:7(%+7+78&(,*,-7**((6%((,*-7*.*$(867(((8-$*#8/((,*0-*(8'((*+'1,*2",8(%#$((-22",87#3(
    $"*-4*#8%87"#(8"(*(8%++7(6(86*7,(*+737+7+78&('",(,*%("#%++*(%**"44"$%87"#((7#(%**",$%#**(.786(,*+*-%#8(
    '*$*,%+(+%.(5(
    )6*('"++".7#3(%**"44"$%87"#((%,*(,*%("#%++*(7#(",$*,(8"(2,"-7$*(*0-%+(%***(((%#$(2%,87*72%87"#(7#(&"-,(
    *+%((%(

        !   9***(((8"((#%*6(7'""$7$,7#6(($-,7#3(+%+('(*+%(((%#$(*8%4(
        !   4,*%6(($-,7#3(*8%4((.786"-8(874*(2*#%+8&
        !    88*#$*$(874*(9.11:;('",(7#(*+%((7"#+7#*(874*$(*8%4((%#$(0-7<<*(
        !   !"(,*%#8,"#(('",(*8%4(70-7<<*(
        !   &*,47((7"#(8"(-(*(%(+%28"2(7(8%++*8('",(#"8*8%67#3
        !   =(*("'(%(*"42-8*,('",(*8%4(7(0-7<<*('(-#+*(((78(*"42,"47(*((%#(*((*#87%+('-#*87"#("'(86*(
            *"-,(*
    >(6%-*(7#'",4*$(867(((8-$*#8(%+"-8(86*(742",8%#**("'(2,"-7$7#3(&"-(867((+*88*,(%(((""#(%((2"((7++*'(%((.*++(
    %(($7(*-((7#3(.786(&"-(7#(%(874*+&(4%##*,(6".(86*(%+"-*(%**"44"$%87"#((.7++(+*(742+*4*#8*$5
    >#(86*(*-,,*#8(,*4"8*(*#-7,"#4*#8'(%**"44"$%87"#((4%&(+*(742+*4*#8*$(%(+78($7''*,*#8+&5(()",(-2(8"($%8*
    7#'",4%87"#("#(6".(8"(742+*4*#8("#+7#*(%**"44"$%87"#('(7#*+-$7#3(*8%4(%**"44"$%87"#('(2+*%(*(,*'*,(
    8"(86*(>:,()%*-+8&(,-22",8(2%3*5
    567+*('%*-+8&(%,*(,*(2"#(7++*('",(*#8*,7#3(*8%4(%**"44"$%87"#(((-*6(%((*88*#$*$(874*(7#8"(86*(*"-,(*(
    +*%,#7#3(4%#%3*4*#8((&(8*4(9<%#-%('(,%6%7'(4+%*6+"%,$;'(86*(>''7**("'(:7(%+7+78&(,*,-7**(((8%#$((,*%$&(
    8"((-22",8(&"-5(&+*%(*($"(#"8(6*(78%8*(8"(,*%*6("-8(8"(-((.786(%#&(0-*(87"#((,*3%,$7#3(6".(8"(742+*4*#8(
    %**"44"$%87"#((7#(%#("#+7#*(*#-7,"#4*#85
    >'(&"-(6%-*("86*,(7$*%((,*3%,$7#3(6".(8"(*,*%8*(%***((('",(&"-,(*"-,(*'(2%,87*-+%,+&(7#(86*(,*4"8*(+*%,#7#3(
    *#-7,"#4*#8'(>(."-+$(+*(6%22&(8"((2*%6(.786(&"-5(?"-,(7#2-8(7((3,*%8+&(%22,**7%8*$5(
    >#(%$$787"#'(>(.*+*"4*(%#&(*"#**,#((",(0-*(87"#((&"-(4%&(6%-*(%+"-8(867((4%88*,5(
    ,7#**,*+&'




    =",,*#(5678%6*,
    <"",$7#%8",
    =",,*#55678%6*,@,-83*,(5*$-
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 24 of 110 PageID:
                                                530
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+,-%,&(./'(010.
    .2/1131..
    4"+(5678*
    9:;(!9<=>? :!!"<#
    $$1%000
    ?*%,(&,"'*((",%
    )6*(*''7+*("'(?7(%+7,78&(#*,-7+*((6%((,*-7*.*$(867(((8-$*#8/((,*0-*(8'((*,'>,*1",8(%#$((-11",87#2(
    $"+-3*#8%87"#(8"(*(8%+,7(6(86*7,(*,727+7,78&('",(,*%("#%+,*(%++"33"$%87"#((7#(%++",$%#+*(.786(,*,*-%#8(
    '*$*,%,(,%.(4(
    )6*('",,".7#2(%++"33"$%87"#((%,*(,*%("#%+,*(7#(",$*,(8"(1,"-7$*(*0-%,(%++*(((%#$(1%,87+71%87"#(7#(&"-,(
    +,%((%(

        !   !++*(((8"((#%+5(6'""$6$,7#5(($-,7#2(,%+('(+,%(((%#$(*7%3(
        !   4,*%5(($-,7#2(*7%3((.786"-8(873*(1*#%,8&
        !   978*#$*$(873*(8.119:('",(7#(+,%((6"#,7#*(873*$(*7%3((%#$(0-7;;*(
        !   :"(#+%#8,"#(('",(*7%3(60-7;;*(
        !   &*,37((7"#(8"(-(*(%(,%18"1(6(8%+,*8('",(#"8*8%57#2
        !   <(*("'(%(+"31-8*,('",(*7%3(6(0-7;;*('(-#,*(((78(+"31,"37(*((%#(*((*#87%,('-#+87"#("'(86*(
            +"-,(*
    "(6%-*(7#'",3*$(867(((8-$*#8(%+"-8(86*(731",8%#+*("'(1,"-7$7#2(&"-(867((,*88*,(%(((""#(%((1"((7+,*'(%((.*,,(
    %(($7(+-((7#2(.786(&"-(7#(%(873*,&(3%##*,(6".(86*(%+"-*(%++"33"$%87"#((.7,,(+*(731,*3*#8*$4
    "#(86*(+-,,*#8(,*3"8*(*#-7,"#3*#8'(%++"33"$%87"#((3%&(+*(731,*3*#8*$(%(+78($7''*,*#8,&4(()",(-1(8"($%8*
    7#'",3%87"#("#(6".(8"(731,*3*#8("#,7#*(%++"33"$%87"#('(7#+,-$7#2(*7%3(%++"33"$%87"#('(1,*%(*(,*'*,(
    8"(86*(*?#()%+-,8&(#-11",8(1%2*4
    567,*('%+-,8&(%,*(,*(1"#(7+,*('",(*#8*,7#2(*7%3(%++"33"$%87"#(((-+6(%((*78*#$*$(873*(7#8"(86*(+"-,(*(
    ,*%,#7#2(3%#%2*3*#8((&(8*3(8<%#-%('(#%5%7'(4,%+5+"%,$:'(86*(*''7+*("'(?7(%+7,78&(#*,-7+*(((8%#$((,*%$&(
    8"((-11",8(&"-4(&,*%(*($"(#"8(6*(78%8*(8"(,*%+6("-8(8"(-((.786(%#&(0-*(87"#((,*2%,$7#2(6".(8"(731,*3*#8(
    %++"33"$%87"#((7#(%#("#,7#*(*#-7,"#3*#84
    "'(&"-(6%-*("86*,(7$*%((,*2%,$7#2(6".(8"(+,*%8*(%++*((('",(&"-,(+"-,(*'(1%,87+-,%,,&(7#(86*(,*3"8*(,*%,#7#2(
    *#-7,"#3*#8'("(."-,$(+*(6%11&(8"((1*%5(.786(&"-4( "-,(7#1-8(7((2,*%8,&(%11,*+7%8*$4(
    "#(%$$787"#'("(.*,+"3*(%#&(+"#+*,#((",(0-*(87"#((&"-(3%&(6%-*(%+"-8(867((3%88*,4(
    #7#+*,*,&'




    =",,*#(5678%5*,
    <"",$7#%8",
    =",,*#45678%5*,>,-82*,(4*$-
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 25 of 110 PageID:
                                                531
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$"%#&'()*"+,"-."/)01()2322
    045336300
    78.)!9:,"
    ;<*=>?) <!")!# $?%*
    &53'(12'30


    ;"&/)$/8)"%%8/'
    %9")#)):*")8));:%&.:+:,')*"/,:*"%)9&%)/",:"-"#),9:%)%,.#"$,/%)/"0."%,()%"+)1/"+8/,)&$#)%.++8/,:$2)
    #8*.-"$,&,:8$),8)"%,&.+:%9),9":/)"+:2:.:+:,'))8/)/"&%8$&.+")&**8--8#&,:8$%):$)&**8/#&$*")-:,9)/"+",&$,)
    )"#"/&+)+&-%3)
    %9"))8++8-:$2)&**8--8#&,:8$%)&/")/"&%8$&.+"):$)8/#"/),8)+/8,:#")"0.&+)&**"%%)&$#)+&/,:*:+&,:8$):$)'8./)
    *+&%%')

        !   4**"%%),8)%$&*5%6)88#6#/:$5%)#./:$2)+&.%()*+&%%)&$#)"7&-%
        !   $"/-:%%:8$),8).%")&)+&+,8+)6),&.+",))8/)$8,",&5:$2
    =)9&,"):$)8/-"#),9:%)%,.#"$,)&.8.,),9"):-+8/,&$*")8))#:%*.%%:$2)-:,9)'8.():$)&),:-"+')-&$$"/()98-),9")
    &.8,")&**8--8#&,:8$%)-:++)."):-++"-"$,"#3
    =$),9")*.//"$,)9'./:#)"$,:/8$-"$,()&**8--8#&,:8$%)-&')."):-++"-"$,"#)&).:,)#:))"/"$,+'3))88/).+),8)#&,")
    :$)8/-&,:8$)8$)98-),8):-++"-"$,)8$+:$")&**8--8#&,:8$%():$*+.#:$2)"7&-)&**8--8#&,:8$%()++"&%")/")"/)
    ,8),9")#;*)8&*.+,')*.++8/,)+&2"3
    !9:+"))&*.+,')&/")/"%+8$%:.+"))8/)"$,"/:$2)"7&-)&**8--8#&,:8$%)%.*9)&%)"7,"$#"#),:-"):$,8),9")*8./%")
    +"&/$:$2)-&$&2"-"$,)%'%,"-)9!&$,&%()*&5&:()7+&*5.8&/#:(),9")#)):*")8));:%&.:+:,')*"/,:*"%)%,&$#%)/"&#')
    ,8)%.++8/,)'8.3)$+"&%")#8)$8,)9"%:,&,"),8)/"&*9)8.,),8).%)-:,9)&$')0."%,:8$%)/"2&/#:$2)98-),8):-++"-"$,)
    &**8--8#&,:8$%):$)&$)8$+:$")"$,:/8$-"$,3
    =))'8.)9&,")8,9"/):#"&%)/"2&/#:$2)98-),8)*/"&,")&**"%%))8/)'8./)*8./%"()+&/,:*.+&/+'):$),9")/"-8,")+"&/$:$2)
    "$,:/8$-"$,()=)-8.+#).")9&++'),8)%+"&5)-:,9)'8.3);8./):$+.,):%)2/"&,+')&++/"*:&,"#3)
    =$)&##:,:8$()=)-"+*8-")&$')*8$*"/$%)8/)0."%,:8$%)'8.)-&')9&,"3)
    *:$*"/"+'(




    7/:&$) &9"/
    !88/#:$&,8/
    -&9"/3./:&$</.,2"/%3"#.
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 26 of 110 PageID:
                                                532
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$"%#&'()*"+,"-."/)01()2322
    045336300
    78.)!9:,"
    ;<=>?) !"#$=>?<;"*
    %53&'%0&31


    ("&/))/8*"%%8/&
    =9")?**:+")8*)(:%&.:,:,')*"/-:+"%)9&%)/"-:"."#),9:%)%,/#"$,0%)/"1/"%,()%",*2/"+8/,)&$#)%/++8/,:$3)
    #8+/-"$,&,:8$),8)"%,&.,:%9),9":/)",:3:.:,:,')*8/)/"&%8$&.,")&++8--8#&,:8$%):$)&++8/#&$+").:,9)/","-&$,)
    *"#"/&,),&.%4)
    =9")*8,,8.:$3)&++8--8#&,:8$%)&/")/"&%8$&.,"):$)8/#"/),8)+/8-:#")"1/&,)&++"%%)&$#)+&/,:+:+&,:8$):$)'8//)
    +,&%%&)

        !   $++"%%),8)%$&+5%6*88#6#/:$5%)#//:$3),&.%()+,&%%)&$#)"7&-%
        !   7/"&5%)#//:$3),:-"#)"7&-%61/:88"%4)$$)"7,"$%:8$)8*)03)-:$/,"%)+"/)98//)8*),"%,:$3),:-")
            %98/,#).")&##"#),8),8,&,)"7&-61/:8),:-"),8)&++8/$,)*8/)./"&5%4
        !   !7,"$#"#),:-")9033:;)*8/):$)+,&%%68$,:$"),:-"#)"7&-%)&$#)1/:88"%
        !   <8)*+&$,/8$%)*8/)"7&-%61/:88"%
        !   )"/-:%%:8$),8)/%")&),&+,8+)6),&.,",)*8/)$8,",&5:$3
        !   <%")8*)&)+8-+/,"/)*8/)"7&-%6)1/:88"%()/$,"%%):,)+8-+/8-:%"%)&$)"%%"$,:&,)*/$+,:8$)8*),9")
            +8//%"
    ;)9&-"):$*8/-"#),9:%)%,/#"$,)&.8/,),9"):-+8/,&$+")8*)#:%+/%%:$3).:,9)'8/():$)&),:-",')-&$$"/()98.),9")
    &.8-")&++8--8#&,:8$%).:,,)."):-+,"-"$,"#4
    ;$),9")+///"$,)9'./:#)"$-:/8$-"$,()&++8--8#&,:8$%)-&')."):-+,"-"$,"#)&).:,)#:**"/"$,,'4))=8/)/+),8)#&,")
    :$*8/-&,:8$)8$)98.),8):-+,"-"$,)8$,:$")&++8--8#&,:8$%():$+,/#:$3)"7&-)&++8--8#&,:8$%()+,"&%")/"*"/)
    ,8),9")?(*)=&+/,,')*/++8/,)+&3"4
    !9:,")*&+/,,')&/")/"%+8$%:.,")*8/)"$,"/:$3)"7&-)&++8--8#&,:8$%)%/+9)&%)"7,"$#"#),:-"):$,8),9")+8//%")
    ,"&/$:$3)-&$&3"-"$,)%'%,"-)9"&$-&%()*&5&:()7,&+5.8&/#;(),9")?**:+")8*)(:%&.:,:,')*"/-:+"%)%,&$#%)/"&#')
    ,8)%/++8/,)'8/4)),"&%")#8)$8,)9"%:,&,"),8)/"&+9)8/,),8)/%).:,9)&$')1/"%,:8$%)/"3&/#:$3)98.),8):-+,"-"$,)
    &++8--8#&,:8$%):$)&$)8$,:$")"$-:/8$-"$,4
    ;*)'8/)9&-")8,9"/):#"&%)/"3&/#:$3)98.),8)+/"&,")&++"%%)*8/)'8//)+8//%"()+&/,:+/,&/,'):$),9")/"-8,"),"&/$:$3)
    "$-:/8$-"$,();).8/,#).")9&++'),8)%+"&5).:,9)'8/4)>8//):$+/,):%)3/"&,,')&++/"+:&,"#4)
    ;$)&##:,:8$();).",+8-")&$')+8$+"/$%)8/)1/"%,:8$%)'8/)-&')9&-"4)
    *:$+"/",'(




    7/:&$) &9"/
    "88/#:$&,8/
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 27 of 110 PageID:
                                      533




    -&9"/4./:&$?//,3"/%4"#/
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 28 of 110 PageID:
                                                534
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$"%#&'()*"+,"-."/)01()0200
    134225211
    67.)!89,"
    :;<=);>?):;*)! !"6
    #42$%42$21


    &"&/)'/7("%%7/$
    )8")*((9+")7()&9%&.9,9,')*"/-9+"%)8&%)/"-9"."#),89%)%,/#"$,0%)/"1/"%,()%",(2/"+7/,)&$#)%/++7/,9$3)
    #7+/-"$,&,97$),7)"%,&.,9%8),8"9/)",939.9,9,')(7/)/"&%7$&.,")&++7--7#&,97$%)9$)&++7/#&$+").9,8)/","-&$,)
    ("#"/&,),&.%4)
    )8")(7,,7.9$3)&++7--7#&,97$%)&/")/"&%7$&.,")9$)7/#"/),7)+/7-9#")"1/&,)&++"%%)&$#)+&/,9+9+&,97$)9$)'7//)
    +,&%%$)

        !   "++"%%),7)%$&+5% (77# #/9$5%)#//9$3),&.%()+,&%%)&$#)"6&-%
        !   6/"&5%)#//9$3),9-"#)"6&-% 1/977"%4)"$)"6,"$%97$)7()12)-9$/,"%)+"/)87//)7(),"%,9$3),9-")
            %87/,#).")&##"#),7),7,&,)"6&- 1/97),9-"),7)&++7/$,)(7/)./"&5%4
        !   ;6,"$#"#),9-")81229:)(7/)9$)+,&%% 7$,9$"),9-"#)"6&-%)&$#)1/977"%
        !   >7)*+&$,/7$%)(7/)"6&-% 1/977"%
        !   '"/-9%%97$),7)/%")&),&+,7+) ),&.,",)(7/)$7,",&59$3
        !   ;"#/+"#)#9%,/&+,97$),"%,9$3),7+&,97$
        !   <%")7()&)+7-+/,"/)(7/)"6&-% )1/977"%()/$,"%%)9,)+7-+/7-9%"%)&$)"%%"$,9&,)(/$+,97$)7(),8")
            +7//%"
        !   "++/7-"#),7)8&-"),8")&.9,9,'),7)./9,")#9/"+,,')7$),8")"6&-)/$,"%%)9,)+7-+/7-9%"%),8")
            "%%"$,9&,)","-"$,%)7(),8")"6&-4
        !
        !   <7$%9#"/&,97$)(7/)"6,"$%97$%)7$)&%%93$-"$,%()/+),7)0=)87//%().9,89$),8")&+&#"-9+)
            %,&$#&/#%)7(),8")+7//%"4
    >)8&-")9$(7/-"#),89%)%,/#"$,)&.7/,),8")9-+7/,&$+")7()#9%+/%%9$3).9,8)'7/()9$)&),9-",')-&$$"/()87.),8")
    &.7-")&++7--7#&,97$%).9,,).")9-+,"-"$,"#4
    >$),8")+///"$,)8'./9#)"$-9/7$-"$,()&++7--7#&,97$%)-&').")9-+,"-"$,"#)&).9,)#9(("/"$,,'4))?7/)/+),7)#&,")
    9$(7/-&,97$)7$)87.),7)9-+,"-"$,)7$,9$")&++7--7#&,97$%()9$+,/#9$3)"6&-)&++7--7#&,97$%()+,"&%")/"("/)
    ,7),8")*&*)?&+/,,')*/++7/,)+&3"4
    !89,")(&+/,,')&/")/"%+7$%9.,")(7/)"$,"/9$3)"6&-)&++7--7#&,97$%)%/+8)&%)"6,"$#"#),9-")9$,7),8")+7//%")
    ,"&/$9$3)-&$&3"-"$,)%'%,"-)8<&$-&%()*&5&9()6,&+5.7&/#:(),8")*((9+")7()&9%&.9,9,')*"/-9+"%)%,&$#%)/"&#')
    ,7)%/++7/,)'7/4)',"&%")#7)$7,)8"%9,&,"),7)/"&+8)7/,),7)/%).9,8)&$')1/"%,97$%)/"3&/#9$3)87.),7)9-+,"-"$,)
    &++7--7#&,97$%)9$)&$)7$,9$")"$-9/7$-"$,4
    >()'7/)8&-")7,8"/)9#"&%)/"3&/#9$3)87.),7)+/"&,")&++"%%)(7/)'7//)+7//%"()+&/,9+/,&/,')9$),8")/"-7,"),"&/$9$3)
    "$-9/7$-"$,()>).7/,#).")8&++'),7)%+"&5).9,8)'7/4)@7//)9$+/,)9%)3/"&,,')&++/"+9&,"#4)
    >$)&##9,97$()>).",+7-")&$')+7$+"/$%)7/)1/"%,97$%)'7/)-&')8&-"4)
    *9$+"/",'(
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 29 of 110 PageID:
                                      535




    6/9&$):&8"/
    <77/#9$&,7/
    -&8"/4./9&$A//,3"/%4"#/
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 30 of 110 PageID:
                                                536
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$"%#&'()*+,-."/)0()1211
    340225233
    6-.)!78,"
    9:;<=>)?: !) *?">#;
    $02%&'1%23


    9"&/)"/-("%%-/%
    #7")*((8+")-()98%&.8)8,');"/*8+"%)7&%)/"*8"+"#),78%)%,,#"$,-%)/".,"%,()%")(//"0-/,)&$#)%,00-/,8$1)
    #-+,2"$,&,8-$),-)"%,&.)8%7),7"8/)")818.8)8,')(-/)/"&%-$&.)")&++-22-#&,8-$%)8$)&++-/#&$+")+8,7)/")"*&$,)
    ("#"/&)))&+%3)
    #7")(-))-+8$1)&++-22-#&,8-$%)&/")/"&%-$&.)")8$)-/#"/),-)0/-*8#")".,&))&++"%%)&$#)0&/,8+80&,8-$)8$)'-,/)
    +)&%%%)

        !   4++"%%),-)%$&+5%6(--#6#/8$5%)#,/8$1))&.%()+)&%%)&$#)"7&2%
        !   ""/28%%8-$),-),%")&))&0,-0)6),&.)",)(-/)$-,",&58$1
        !   /400/-*"#),-)7&*"),7")&.8)8,'),-)+/8,")#8/"+,)')-$),7")"7&2),$)"%%)8,)+-20/-28%"%),7")
            "%%"$,8&))")"2"$,%)-(),7")"7&23
        !
        !     -$%8#"/&,8-$)(-/)"7,"$%8-$%)-$)&%%81$2"$,%(),0),-)1')7-,/%()+8,78$),7")&+&#"28+)
            %,&$#&/#%)-(),7")+-,/%"3
    <)7&*")8$(-/2"#),78%)%,,#"$,)&.-,,),7")820-/,&$+")-()#8%+,%%8$1)+8,7)'-,()8$)&),82")')2&$$"/()7-+),7")
    &.-*")&++-22-#&,8-$%)+8))).")820)"2"$,"#3
    <$),7")+,//"$,)7'./8#)"$*8/-$2"$,()&++-22-#&,8-$%)2&').")820)"2"$,"#)&).8,)#8(("/"$,)'3))8-/),0),-)#&,")
    8$(-/2&,8-$)-$)7-+),-)820)"2"$,)-$)8$")&++-22-#&,8-$%()8$+),#8$1)"7&2)&++-22-#&,8-$%()0)"&%")/"("/)
    ,-),7")*9;)8&+,),');,00-/,)0&1"3
    !78)")(&+,),')&/")/"%0-$%8.)")(-/)"$,"/8$1)"7&2)&++-22-#&,8-$%)%,+7)&%)"7,"$#"#),82")8$,-),7")+-,/%")
    )"&/$8$1)2&$&1"2"$,)%'%,"2)9 &$*&%();&5&8()6)&+5.-&/#:(),7")*((8+")-()98%&.8)8,');"/*8+"%)%,&$#%)/"&#')
    ,-)%,00-/,)'-,3)")"&%")#-)$-,)7"%8,&,"),-)/"&+7)-,,),-),%)+8,7)&$').,"%,8-$%)/"1&/#8$1)7-+),-)820)"2"$,)
    &++-22-#&,8-$%)8$)&$)-$)8$")"$*8/-$2"$,3
    <()'-,)7&*")-,7"/)8#"&%)/"1&/#8$1)7-+),-)+/"&,")&++"%%)(-/)'-,/)+-,/%"()0&/,8+,)&/)')8$),7")/"2-,"))"&/$8$1)
    "$*8/-$2"$,()<)+-,)#).")7&00'),-)%0"&5)+8,7)'-,3);-,/)8$0,,)8%)1/"&,)')&00/"+8&,"#3)
    <$)&##8,8-$()<)+")+-2")&$')+-$+"/$%)-/).,"%,8-$%)'-,)2&')7&*"3)
    ;8$+"/")'(




    6/8&$)?&7"/
     --/#8$&,-/
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 31 of 110 PageID:
                                      537




    2&7"/3./8&$</,,1"/%3"#,
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 32 of 110 PageID:
                                                538
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$"%#&'()*+,-."/)0()1211
    340225233
    6-.)!78,"
    9:;<*)=>? !;<*:9?"
    #02$%#3$2&


    '"&/)(/-)"%%-/$
    ;7")*))8+")-))'8%&.8*8,')""/+8+"%)7&%)/"+8","#),78%)%,-#"$,.%)/"/-"%,()%"*)0/"1-/,)&$#)%-11-/,8$2)
    #-+-3"$,&,8-$),-)"%,&.*8%7),7"8/)"*828.8*8,'))-/)/"&%-$&.*")&++-33-#&,8-$%)8$)&++-/#&$+"),8,7)/"*"+&$,)
    )"#"/&*)*&,%4)
    ;7"))-**-,8$2)&++-33-#&,8-$%)&/")/"&%-$&.*")8$)-/#"/),-)1/-+8#")"/-&*)&++"%%)&$#)1&/,8+81&,8-$)8$)'--/)
    +*&%%$)

        !   !++"%%),-)%$&+5%6)--#6#/8$5%)#-/8$2)*&.%()+*&%%)&$#)"7&3%
        !   6/"&5%)#-/8$2),83"#)"7&3%6/-888"%4)!$)"7,"$%8-$)-))32)38$-,"%)1"/)7--/)-)),"%,8$2),83")
            %7--*#).")&##"#),-),-,&*)"7&36/-88),83"),-)&++--$,))-/)./"&5%4
        !   >7,"$#"#),83")9322:;))-/)8$)+*&%%6-$*8$"),83"#)"7&3%)&$#)/-888"%
        !   :-)"+&$,/-$%))-/)"7&3%6/-888"%
        !   ("/38%%8-$),-)-%")&)*&1,-1)6),&.*",))-/)$-,",&58$2
        !   <"#-+"#)#8%,/&+,8-$),"%,8$2)*-+&,8-$
        !   <%")-))&)+-31-,"/))-/)"7&3%6)/-888"%()-$*"%%)8,)+-31/-38%"%)&$)"%%"$,8&*))-$+,8-$)-)),7")
            +--/%"
        !   !11/-+"#),-)7&+"),7")&.8*8,'),-),/8,")#8/"+,*')-$),7")"7&3)-$*"%%)8,)+-31/-38%"%),7"
        !   "%%"$,8&*)"*"3"$,%)-)),7")"7&34
        !   ?-$%8#"/&,8-$))-/)"7,"$%8-$%)-$)&%%82$3"$,%()-1),-)1&)7--/%(),8,78$),7")&+&#"38+
        !   %,&$#&/#%)-)),7")+--/%"4
    9)7&+")8$)-/3"#),78%)%,-#"$,)&.--,),7")831-/,&$+")-))#8%+-%%8$2),8,7)'--()8$)&),83"*')3&$$"/()7-,),7")
    &.-+")&++-33-#&,8-$%),8**).")831*"3"$,"#4
    9$),7")+-//"$,)7'./8#)"$+8/-$3"$,()&++-33-#&,8-$%)3&').")831*"3"$,"#)&).8,)#8))"/"$,*'4))=-/)-1),-)#&,")
    8$)-/3&,8-$)-$)7-,),-)831*"3"$,)-$*8$")&++-33-#&,8-$%()8$+*-#8$2)"7&3)&++-33-#&,8-$%()1*"&%")/")"/)
    ,-),7")*'")=&+-*,')"-11-/,)1&2"4
    !78*"))&+-*,')&/")/"%1-$%8.*"))-/)"$,"/8$2)"7&3)&++-33-#&,8-$%)%-+7)&%)"7,"$#"#),83")8$,-),7")+--/%")
    *"&/$8$2)3&$&2"3"$,)%'%,"3)9?&$+&%()"&5&8()6*&+5.-&/#;(),7")*))8+")-))'8%&.8*8,')""/+8+"%)%,&$#%)/"&#')
    ,-)%-11-/,)'--4)(*"&%")#-)$-,)7"%8,&,"),-)/"&+7)--,),-)-%),8,7)&$')/-"%,8-$%)/"2&/#8$2)7-,),-)831*"3"$,)
    &++-33-#&,8-$%)8$)&$)-$*8$")"$+8/-$3"$,4
    9))'--)7&+")-,7"/)8#"&%)/"2&/#8$2)7-,),-)+/"&,")&++"%%))-/)'--/)+--/%"()1&/,8+-*&/*')8$),7")/"3-,")*"&/$8$2)
    "$+8/-$3"$,()9),--*#).")7&11'),-)%1"&5),8,7)'--4)>--/)8$1-,)8%)2/"&,*')&11/"+8&,"#4)
    9$)&##8,8-$()9),"*+-3")&$')+-$+"/$%)-/)/-"%,8-$%)'--)3&')7&+"4)
    "8$+"/"*'(
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 33 of 110 PageID:
                                      539




    6/8&$)=&7"/
    ?--/#8$&,-/
    3&7"/4./8&$?/-,2"/%4"#-
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 34 of 110 PageID:
                                                540
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+,-."(/0'(1211
    /342252//
    6,-(78#+.
    9:;<=>(?: !( )?">#;
    $42%&01%2/


    9.%"("",'.((,"%
    #8.()''#*.(,'(9#(%-#)#+&(;."*#*.((8%((".*#.+.$(+8#(((+,$.-+.(("./,.(+'((.)'0".1,"+(%-$((,11,"+#-2(
    $,*,3.-+%+#,-(+,(.(+%-)#(8(+8.#"(.)#2#-#)#+&(',"(".%(,-%-).(%**,33,$%+#,-((#-(%**,"$%-*.(+#+8(".).*%-+(
    '.$."%)()%+(4(
    #8.(',)),+#-2(%**,33,$%+#,-((%".(".%(,-%-).(#-(,"$."(+,(1",*#$.(./,%)(%**.(((%-$(1%"+#*#1%+#,-(#-(&,,"(
    *)%((%(

        !   5**.(((+,((-%*6(7',,$7$"#-6(($,"#-2()%-('(*)%(((%-$(.8%3(
        !   :8+.-(#,-(,-(5((#2-3.-+('(,1(+,(05(8,,"('(+#+8#-(+8.(%*%$.3#*((+%-$%"$((,'(+8.(*,,"(.
        !   "."3#((#,-(+,(,(.(%()%1+,1(7(+%-).+(',"(-,+.+%6#-2
    <(8%*.(#-',"3.$(+8#(((+,$.-+(%-,,+(+8.(#31,"+%-*.(,'($#(*,((#-2(+#+8(&,,'(#-(%(+#3.)&(3%--."'(8,+(+8.(
    %-,*.(%**,33,$%+#,-((+#))(-.(#31).3.-+.$4
    <-(+8.(*,"".-+(8&-"#$(.-*#",-3.-+'(%**,33,$%+#,-((3%&(-.(#31).3.-+.$(%(-#+($#''.".-+)&4((!,"(,1(+,($%+.(
    #-',"3%+#,-(,-(8,+(+,(#31).3.-+(,-)#-.(%**,33,$%+#,-('(#-*),$#-2(.8%3(%**,33,$%+#,-('(1).%(.(".'."(
    +,(+8.()9;(!%*,)+&(;,11,"+(1%2.4
    78#).('%*,)+&(%".(".(1,-(#-).(',"(.-+."#-2(.8%3(%**,33,$%+#,-(((,*8(%((.8+.-$.$(+#3.(#-+,(+8.(*,,"(.(
    ).%"-#-2(3%-%2.3.-+((&(+.3(9 %-*%('(;%6%#'(6)%*6-,%"$:'(+8.()''#*.(,'(9#(%-#)#+&(;."*#*.(((+%-$((".%$&(
    +,((,11,"+(&,,4(").%(.($,(-,+(8.(#+%+.(+,(".%*8(,,+(+,(,((+#+8(%-&(/,.(+#,-((".2%"$#-2(8,+(+,(#31).3.-+(
    %**,33,$%+#,-((#-(%-(,-)#-.(.-*#",-3.-+4
    <'(&,,(8%*.(,+8."(#$.%((".2%"$#-2(8,+(+,(*".%+.(%**.(((',"(&,,"(*,,"(.'(1%"+#*,)%")&(#-(+8.(".3,+.().%"-#-2(
    .-*#",-3.-+'(<(+,,)$(-.(8%11&(+,((1.%6(+#+8(&,,4(;,,"(#-1,+(#((2".%+)&(%11".*#%+.$4(
    <-(%$$#+#,-'(<(+.)*,3.(%-&(*,-*."-((,"(/,.(+#,-((&,,(3%&(8%*.4(
    ;#-*.".)&'




    6"#%-(?%8."
     ,,"$#-%+,"
    3%8."4-"#%-<",+2."(4.$,
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 35 of 110 PageID:
                                                541
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+,-."(/0'(1211
    /342252//
    6,-(78#+.
    9:;<(:=>(9:?(7 !"6
    #42$%42$2/


    &.%"('",(.)),"$
    *8.()((#*.(,((&#)%-#+#+&(?.",#*.)(8%)(".,#.-.$(+8#)()+.$./+0)(".1..)+'().+(2".3,"+(%/$().33,"+#/4(
    $,*.5./+%+#,/(+,(.)+%-+#)8(+8.#"(.+#4#-#+#+&((,"(".%),/%-+.(%**,55,$%+#,/)(#/(%**,"$%/*.(-#+8(".+.,%/+(
    (.$."%+(+%-)6(
    *8.((,++,-#/4(%**,55,$%+#,/)(%".(".%),/%-+.(#/(,"$."(+,(3",,#$.(.1.%+(%**.))(%/$(3%"+#*#3%+#,/(#/(&,."(
    *+%))$(

        !   "**.))(+,()/%*7) (,,$ $"#/7)($."#/4(+%-)'(*+%))(%/$(.8%5)
        !   6".%7)($."#/4(+#5.$(.8%5) 1.#99.)6("/(.8+./)#,/(,((/2(5#/.+.)(3."(8,."(,((+.)+#/4(+#5.(
            )8,.+$(-.(%$$.$(+,(+,+%+(.8%5 1.#9(+#5.(+,(%**,./+((,"(-".%7)6
        !   :8+./$.$(+#5.(:/22;<((,"(#/(*+%)) ,/+#/.(+#5.$(.8%5)(%/$(1.#99.)
        !   :8+./)#,/(,/("))#4/5./+)'(.3(+,(05(8,.")'(-#+8#/(+8.(%*%$.5#*()+%/$%"$)(,((+8.(*,.").
        !   =,(?*%/+",/)((,"(.8%5) 1.#99.)
        !   '."5#))#,/(+,(.).(%(+%3+,3( (+%-+.+((,"(/,+.+%7#/4
        !   =.$.*.$($#)+"%*+#,/(+.)+#/4(+,*%+#,/
        !   >).(,((%(*,53.+."((,"(.8%5) (1.#99.)'(./+.))(#+(*,53",5#).)(%/(.))./+#%+((./*+#,/(,((+8.(
            *,.").
        !   "33",,.$(+,(8%,.(+8.(%-#+#+&(+,(-"#+.($#".*++&(,/(+8.(.8%5(./+.))(#+(*,53",5#).)(+8.(
            .))./+#%+(.+.5./+)(,((+8.(.8%56
    ?(8%,.(#/(,"5.$(+8#)()+.$./+(%-,.+(+8.(#53,"+%/*.(,(($#)*.))#/4(-#+8(&,.'(#/(%(+#5.+&(5%//."'(8,-(+8.(
    %-,,.(%**,55,$%+#,/)(-#++(-.(#53+.5./+.$6
    ?/(+8.(*.""./+(8&-"#$(./,#",/5./+'(%**,55,$%+#,/)(5%&(-.(#53+.5./+.$(%(-#+($#((."./++&6((!,"(.3(+,($%+.(
    #/(,"5%+#,/(,/(8,-(+,(#53+.5./+(,/+#/.(%**,55,$%+#,/)'(#/*+.$#/4(.8%5(%**,55,$%+#,/)'(3+.%).(".(."(
    +,(+8.()&?(!%*.++&(?.33,"+(3%4.6
    78#+.((%*.++&(%".(".)3,/)#-+.((,"(./+."#/4(.8%5(%**,55,$%+#,/)().*8(%)(.8+./$.$(+#5.(#/+,(+8.(*,.").(
    +.%"/#/4(5%/%4.5./+()&)+.5(:;%/,%)'(?%7%#'(6+%*7-,%"$<'(+8.()((#*.(,((&#)%-#+#+&(?.",#*.)()+%/$)(".%$&(
    +,().33,"+(&,.6('+.%).($,(/,+(8.)#+%+.(+,(".%*8(,.+(+,(.)(-#+8(%/&(1..)+#,/)(".4%"$#/4(8,-(+,(#53+.5./+(
    %**,55,$%+#,/)(#/(%/(,/+#/.(./,#",/5./+6
    ?((&,.(8%,.(,+8."(#$.%)(".4%"$#/4(8,-(+,(*".%+.(%**.))((,"(&,."(*,.").'(3%"+#*.+%"+&(#/(+8.(".5,+.(+.%"/#/4(
    ./,#",/5./+'(?(-,.+$(-.(8%33&(+,()3.%7(-#+8(&,.6(@,."(#/3.+(#)(4".%++&(%33".*#%+.$6(
    ?/(%$$#+#,/'(?(-.+*,5.(%/&(*,/*."/)(,"(1..)+#,/)(&,.(5%&(8%,.6(
    ?#/*.".+&'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 36 of 110 PageID:
                                      542




    6"#%/(9%8."
    ;,,"$#/%+,"
    5%8."6-"#%/A".+4.")6.$.
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 37 of 110 PageID:
                                                543
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+,-."(/0'(1211
    /342252//
    6,-(78#+.
    9:;<)(=>? !;<):9?"
    #42$%#/$20


    &.%"('",(.)),"$
    ;8.()((#*.(,((&#)%-#*#+&("."+#*.)(8%)(".+#.,.$(+8#)()+-$..+/)(".0-.)+'().*(1".2,"+(%.$()-22,"+#.3(
    $,*-4..+%+#,.(+,(.)+%-*#)8(+8.#"(.*#3#-#*#+&((,"(".%),.%-*.(%**,44,$%+#,.)(#.(%**,"$%.*.(,#+8(".*.+%.+(
    (.$."%*(*%,)5(
    ;8.((,**,,#.3(%**,44,$%+#,.)(%".(".%),.%-*.(#.(,"$."(+,(2",+#$.(.0-%*(%**.))(%.$(2%"+#*#2%+#,.(#.(&,-"(
    **%))$(

        !   !**.))(+,().%*6)7(,,$7$"#.6)($-"#.3(*%-)'(**%))(%.$(.8%4)
        !   6".%6)($-"#.3(+#4.$(.8%4)70-#99.)5(!.(.8+..)#,.(,((/2(4#.-+.)(2."(8,-"(,((+.)+#.3(+#4.(
            )8,-*$(-.(%$$.$(+,(+,+%*(.8%470-#9(+#4.(+,(%**,-.+((,"(-".%6)5
        !   >8+..$.$(+#4.(:/22;<((,"(#.(**%))7,.*#..(+#4.$(.8%4)(%.$(0-#99.)
        !   >8+..)#,.(,.(!))#3.4..+)'(-2(+,(05(8,-")'(,#+8#.(+8.(%*%$.4#*()+%.$%"$)(,((+8.(*,-").
        !   :,("*%.+",.)((,"(.8%4)70-#99.)
        !   '."4#))#,.(+,(-).(%(*%2+,2(7(+%-*.+((,"(.,+.+%6#.3
        !   <.$-*.$($#)+"%*+#,.(+.)+#.3(*,*%+#,.
        !   =).(,((%(*,42-+."((,"(.8%4)7(0-#99.)'(-.*.))(#+(*,42",4#).)(%.(.))..+#%*((-.*+#,.(,((+8.(
            *,-").
        !   !22",+.$(+,(8%+.(+8.(%-#*#+&(+,(,"#+.($#".*+*&(,.(+8.(.8%4(-.*.))(#+(*,42",4#).)(+8.(
            .))..+#%*(.*.4..+)(,((+8.(.8%45
    9(8%+.(#.(,"4.$(+8#)()+-$..+(%-,-+(+8.(#42,"+%.*.(,(($#)*-))#.3(,#+8(&,-'(#.(%(+#4.*&(4%..."'(8,,(+8.(
    %-,+.(%**,44,$%+#,.)(,#**(-.(#42*.4..+.$5
    9.(+8.(*-""..+(8&-"#$(..+#",.4..+'(%**,44,$%+#,.)(4%&(-.(#42*.4..+.$(%(-#+($#((."..+*&5((!,"(-2(+,($%+.(
    #.(,"4%+#,.(,.(8,,(+,(#42*.4..+(,.*#..(%**,44,$%+#,.)'(#.**-$#.3(.8%4(%**,44,$%+#,.)'(2*.%).(".(."(
    +,(+8.()&"(!%*-*+&("-22,"+(2%3.5
    78#*.((%*-*+&(%".(".)2,.)#-*.((,"(..+."#.3(.8%4(%**,44,$%+#,.)()-*8(%)(.8+..$.$(+#4.(#.+,(+8.(*,-").(
    *.%".#.3(4%.%3.4..+()&)+.4(:?%.+%)'("%6%#'(6*%*6-,%"$<'(+8.()((#*.(,((&#)%-#*#+&("."+#*.)()+%.$)(".%$&(
    +,()-22,"+(&,-5('*.%).($,(.,+(8.)#+%+.(+,(".%*8(,-+(+,(-)(,#+8(%.&(0-.)+#,.)(".3%"$#.3(8,,(+,(#42*.4..+(
    %**,44,$%+#,.)(#.(%.(,.*#..(..+#",.4..+5
    9((&,-(8%+.(,+8."(#$.%)(".3%"$#.3(8,,(+,(*".%+.(%**.))((,"(&,-"(*,-").'(2%"+#*-*%"*&(#.(+8.(".4,+.(*.%".#.3(
    ..+#",.4..+'(9(,,-*$(-.(8%22&(+,()2.%6(,#+8(&,-5(>,-"(#.2-+(#)(3".%+*&(%22".*#%+.$5(
    9.(%$$#+#,.'(9(,.**,4.(%.&(*,.*.".)(,"(0-.)+#,.)(&,-(4%&(8%+.5(
    "#.*.".*&'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 38 of 110 PageID:
                                      544




    6"#%.(=%8."
    ?,,"$#.%+,"
    4%8."5-"#%.?"-+3.")5.$-
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 39 of 110 PageID:
                                                545
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()"*+,-+.(/0'(1211
    /342252//
    6"-(789:+
    ;)<=(!>?(< =!(")#;)$
    %22&/''&31


    (+%.()."*+++".&
    <8+("**9,+("*((9+%-9-9:&(?+.*9,++(8%+(.+*9+.+$(:89+(+:/$+#:0+(.+1/++:'(++-*2.+3".:(%#$(+/33".:9#4(
    $",/,+#:%:9"#(:"(++:%--9+8(:8+9.(+-949-9-9:&(*".(.+%+"#%--+(%,,",,"$%:9"#+(9#(%,,".$%#,+(.9:8(.+-+*%#:(
    *+$+.%-(-%.+5(
    <8+(*"--".9#4(%,,",,"$%:9"#+(%.+(.+%+"#%--+(9#(".$+.(:"(3."*9$+(+1/%-(%,,+++(%#$(3%.:9,93%:9"#(9#(&"/.(
    ,-%++&(

        !   6,,+++(:"(+#%,7+8*""$8$.9#7+($/.9#4(-%-+'(,-%++(%#$(+9%,+
        !   6.+%7+($/.9#4(:9,+$(+9%,+81/9::++5(6#(+9:+#+9"#("*(/2(,9#/:++(3+.(8"/.("*(:++:9#4(:9,+(
            +8"/-$(-+(%$$+$(:"(:":%-(+9%,81/9:(:9,+(:"(%,,"/#:(*".(-.+%7+5
        !   $9:+#$+$(:9,+(;/22<=(*".(9#(,-%++8"#-9#+(:9,+$(+9%,+(%#$(1/9::++
        !   $9:+#+9"#("#(6++94#,+#:+'(/3(:"(05(8"/.+'(.9:89#(:8+(%,%$+,9,(+:%#$%.$+("*(:8+(,"/.++
        !   )"(?,%#:."#+(*".(+9%,+81/9::++
        !   )+.,9++9"#(:"(/++(%(-%3:"3(8(:%--+:(*".(#":+:%79#4
        !   =+$/,+$($9+:.%,:9"#(:++:9#4(-",%:9"#
        !   >++("*(%(,",3/:+.(*".(+9%,+8(1/9::++'(/#-+++(9:(,",3.",9+++(%#(++++#:9%-(*/#,:9"#("*(:8+(
            ,"/.++
        !   633."*+$(:"(8%*+(:8+(%-9-9:&(:"(..9:+($9.+,:-&("#(:8+(+9%,(/#-+++(9:(,",3.",9+++(:8+(
            ++++#:9%-(+-+,+#:+("*(:8+(+9%,5
    ;(8%*+(9#*".,+$(:89+(+:/$+#:(%-"/:(:8+(9,3".:%#,+("*($9+,/++9#4(.9:8(&"/'(9#(%(:9,+-&(,%##+.'(8".(:8+(
    %-"*+(%,,",,"$%:9"#+(.9--(-+(9,3-+,+#:+$5
    ;#(:8+(,/..+#:(8&-.9$(+#*9."#,+#:'(%,,",,"$%:9"#+(,%&(-+(9,3-+,+#:+$(%(-9:($9**+.+#:-&5((>".(/3(:"($%:+(
    9#*".,%:9"#("#(8".(:"(9,3-+,+#:("#-9#+(%,,",,"$%:9"#+'(9#,-/$9#4(+9%,(%,,",,"$%:9"#+'(3-+%++(.+*+.(
    :"(:8+("(?(>%,/-:&(?/33".:(3%4+5
    789-+(*%,/-:&(%.+(.++3"#+9--+(*".(+#:+.9#4(+9%,(%,,",,"$%:9"#+(+/,8(%+(+9:+#$+$(:9,+(9#:"(:8+(,"/.++(
    -+%.#9#4(,%#%4+,+#:(+&+:+,(;?%#*%+'(?%7%9'(6-%,7-"%.$='(:8+("**9,+("*((9+%-9-9:&(?+.*9,++(+:%#$+(.+%$&(
    :"(+/33".:(&"/5()-+%++($"(#":(8++9:%:+(:"(.+%,8("/:(:"(/+(.9:8(%#&(1/++:9"#+(.+4%.$9#4(8".(:"(9,3-+,+#:(
    %,,",,"$%:9"#+(9#(%#("#-9#+(+#*9."#,+#:5
    ;*(&"/(8%*+(":8+.(9$+%+(.+4%.$9#4(8".(:"(,.+%:+(%,,+++(*".(&"/.(,"/.++'(3%.:9,/-%.-&(9#(:8+(.+,":+(-+%.#9#4(
    +#*9."#,+#:'(;(."/-$(-+(8%33&(:"(+3+%7(.9:8(&"/5(!"/.(9#3/:(9+(4.+%:-&(%33.+,9%:+$5(
    ;#(%$$9:9"#'(;(.+-,",+(%#&(,"#,+.#+(".(1/++:9"#+(&"/(,%&(8%*+5(
    ?9#,+.+-&'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 40 of 110 PageID:
                                      546




    6.9%#(!%8+.
    ?"".$9#%:".
    ,%8+.5-.9%#@./:4+.+5+$/
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 41 of 110 PageID:
                                                547
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()%#*%+&(,-'(,.,-
    /01..2.//
    3"4(56789
    !:;<(:=>(!:?(5 !"3
    #1.$-1.$.%


    &9%+('+"(9))"+$
    *69(+((7,9("((&7)%47-78&(?9+.7,9)(6%)(+9.79/9$(867)()8*$9#80)(+91*9)8'()9-(2+93"+8(%#$()*33"+87#4(
    $",*59#8%87"#(8"(9)8%4-7)6(8697+(9-74747-78&(("+(+9%)"#%4-9(%,,"55"$%87"#)(7#(%,,"+$%#,9(/786(+9-9.%#8(
    (9$9+%-(-%/)6(
    *69(("--"/7#4(%,,"55"$%87"#)(%+9(+9%)"#%4-9(7#("+$9+(8"(3+".7$9(91*%-(%,,9))(%#$(3%+87,73%87"#(7#(&"*+(
    ,-%))$(

        !   ",,9))(8"()#%,7) (""$ $+7#7)($*+7#4(-%4)'(,-%))(%#$(98%5)
        !   3+9%7)($*+7#4(8759$(98%5) 1*7999)6("#(9889#)7"#("((/.(57#*89)(39+(6"*+("((89)87#4(8759(
            )6"*-$(49(%$$9$(8"(8"8%-(98%5 1*79(8759(8"(%,,"*#8(("+(4+9%7)6
        !   :889#$9$(8759(:/..;<(("+(7#(,-%)) "#-7#9(8759$(98%5)(%#$(1*7999)
        !   :889#)7"#("#("))74#59#8)'(*3(8"(%2(6"*+)'(/7867#(869(%,%$957,()8%#$%+$)("((869(,"*+)9
        !   ="(?,%#8+"#)(("+(98%5) 1*7999)
        !   '9+57))7"#(8"(*)9(%(-%38"3( (8%4-98(("+(#"898%77#4
        !   =9$*,9$($7)8+%,87"#(89)87#4(-",%87"#
        !   >)9("((%(,"53*89+(("+(98%5) (1*7999)'(*#-9))(78(,"53+"57)9)(%#(9))9#87%-((*#,87"#("((869(
            ,"*+)9
        !   "33+".9$(8"(6%.9(869(%47-78&(8"(/+789($7+9,8-&("#(869(98%5(*#-9))(78(,"53+"57)9)(869(
            9))9#87%-(9-959#8)("((869(98%56
    ?(6%.9(7#("+59$(867)()8*$9#8(%4"*8(869(753"+8%#,9("(($7),*))7#4(/786(&"*'(7#(%(8759-&(5%##9+'(6"/(869(
    %4".9(%,,"55"$%87"#)(/7--(49(753-959#89$6
    ?#(869(,*++9#8(6&4+7$(9#.7+"#59#8'(%,,"55"$%87"#)(5%&(49(753-959#89$(%(478($7((9+9#8-&6((@"+(*3(8"($%89(
    7#("+5%87"#("#(6"/(8"(753-959#8("#-7#9(%,,"55"$%87"#)'(7#,-*$7#4(98%5(%,,"55"$%87"#)'(3-9%)9(+9(9+(
    8"(869(+&?(@%,*-8&(?*33"+8(3%496
    567-9((%,*-8&(%+9(+9)3"#)74-9(("+(9#89+7#4(98%5(%,,"55"$%87"#)()*,6(%)(9889#$9$(8759(7#8"(869(,"*+)9(
    -9%+#7#4(5%#%4959#8()&)895(:;%#.%)'(?%7%7'(3-%,74"%+$<'(869(+((7,9("((&7)%47-78&(?9+.7,9)()8%#$)(+9%$&(
    8"()*33"+8(&"*6('-9%)9($"(#"8(69)78%89(8"(+9%,6("*8(8"(*)(/786(%#&(1*9)87"#)(+94%+$7#4(6"/(8"(753-959#8(
    %,,"55"$%87"#)(7#(%#("#-7#9(9#.7+"#59#86
    ?((&"*(6%.9("869+(7$9%)(+94%+$7#4(6"/(8"(,+9%89(%,,9))(("+(&"*+(,"*+)9'(3%+87,*-%+-&(7#(869(+95"89(-9%+#7#4(
    9#.7+"#59#8'(?(/"*-$(49(6%33&(8"()39%7(/786(&"*6(A"*+(7#3*8(7)(4+9%8-&(%33+9,7%89$6(
    ?#(%$$787"#'(?(/9-,"59(%#&(,"#,9+#)("+(1*9)87"#)(&"*(5%&(6%.96(
    ?7#,9+9-&'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 42 of 110 PageID:
                                      548




    3+7%#(!%69+
    ;""+$7#%8"+
    5%69+64+7%#B+*849+)69$*
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 43 of 110 PageID:
                                                549
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()%#*%+&(,-'(,.,-
    /01..2.//
    3"4(56789
    :;<=>(!? !"#= $
    %1.&-/,&./


    >9%+('+"(9))"+&
    *69(+((7,9("((>7)%47-78&($9+.7,9)(6%)(+9.79/9$(867)()8*$9#80)(+91*9)8'()9-(2+93"+8(%#$()*33"+87#4(
    $",*59#8%87"#(8"(9)8%4-7)6(8697+(9-74747-78&(("+(+9%)"#%4-9(%,,"55"$%87"#)(7#(%,,"+$%#,9(/786(+9-9.%#8(
    (9$9+%-(-%/)6(
    *69(("--"/7#4(%,,"55"$%87"#)(%+9(+9%)"#%4-9(7#("+$9+(8"(3+".7$9(91*%-(%,,9))(%#$(3%+87,73%87"#(7#(&"*+(
    ,-%))&(

        !   ",,9))(8"()#%,7)8(""$8$+7#7)($*+7#4(-%4)'(,-%))(%#$(99%5)
        !   3+9%7)($*+7#4(8759$(99%5)81*7::9)6("#(9989#)7"#("((/.(57#*89)(39+(6"*+("((89)87#4(8759(
            )6"*-$(49(%$$9$(8"(8"8%-(99%581*7:(8759(8"(%,,"*#8(("+(4+9%7)6
        !   ?989#$9$(8759(;/..<=(("+(7#(,-%))8"#-7#9(8759$(99%5)(%#$(1*7::9)
        !   ?989#)7"#("#("))74#59#8)'(*3(8"(>2(6"*+)'(/7867#(869(%,%$957,()8%#$%+$)("((869(,"*+)9
        !   #"($,%#8+"#)(("+(99%5)81*7::9)
        !   '9+57))7"#(8"(*)9(%(-%38"3(8(8%4-98(("+(#"898%77#4
        !   ?9$*,9$($7)8+%,87"#(89)87#4(-",%87"#
        !   <)9("((%(,"53*89+(("+(99%5)8(1*7::9)'(*#-9))(78(,"53+"57)9)(%#(9))9#87%-((*#,87"#("((869(
            ,"*+)9
        !   "33+".9$(8"(6%.9(869(%47-78&(8"(/+789($7+9,8-&("#(869(99%5(*#-9))(78(,"53+"57)9)(869(
            9))9#87%-(9-959#8)("((869(99%56
    =(6%.9(7#("+59$(867)()8*$9#8(%4"*8(869(753"+8%#,9("(($7),*))7#4(/786(&"*'(7#(%(8759-&(5%##9+'(6"/(869(
    %4".9(%,,"55"$%87"#)(/7--(49(753-959#89$6
    =#(869(,*++9#8(6&4+7$(9#.7+"#59#8'(%,,"55"$%87"#)(5%&(49(753-959#89$(%(478($7((9+9#8-&6((:"+(*3(8"($%89(
    7#("+5%87"#("#(6"/(8"(753-959#8("#-7#9(%,,"55"$%87"#)'(7#,-*$7#4(99%5(%,,"55"$%87"#)'(3-9%)9(+9(9+(
    8"(869(+>$(:%,*-8&($*33"+8(3%496
    567-9((%,*-8&(%+9(+9)3"#)74-9(("+(9#89+7#4(99%5(%,,"55"$%87"#)()*,6(%)(9989#$9$(8759(7#8"(869(,"*+)9(
    -9%+#7#4(5%#%4959#8()&)895(; %#.%)'($%7%7'(3-%,74"%+$='(869(+((7,9("((>7)%47-78&($9+.7,9)()8%#$)(+9%$&(
    8"()*33"+8(&"*6('-9%)9($"(#"8(69)78%89(8"(+9%,6("*8(8"(*)(/786(%#&(1*9)87"#)(+94%+$7#4(6"/(8"(753-959#8(
    %,,"55"$%87"#)(7#(%#("#-7#9(9#.7+"#59#86
    =((&"*(6%.9("869+(7$9%)(+94%+$7#4(6"/(8"(,+9%89(%,,9))(("+(&"*+(,"*+)9'(3%+87,*-%+-&(7#(869(+95"89(-9%+#7#4(
    9#.7+"#59#8'(=(/"*-$(49(6%33&(8"()39%7(/786(&"*6(@"*+(7#3*8(7)(4+9%8-&(%33+9,7%89$6(
    =#(%$$787"#'(=(/9-,"59(%#&(,"#,9+#)("+(1*9)87"#)(&"*(5%&(6%.96(
    $7#,9+9-&'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 44 of 110 PageID:
                                      550




    3+7%#(!%69+
     ""+$7#%8"+
    5%69+64+7%#A+*849+)69$*
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 45 of 110 PageID:
                                                551
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()%#*%+&(,-'(,.,-
    /01..2.//
    3"4(56789
    :;<=>?: ;(>!<" !"<;>
    #1.$%12$./


    &9%+(?+"'9(("+$
    !69(=''7)9("'(&7(%47*78&(>9++7)9((6%((+9+79,9$(867(((8*$9#8-((+9.*9(8'((9*'/+90"+8(%#$((*00"+87#1(
    $")*29#8%87"#(8"(9(8%4*7(6(8697+(9*71747*78&('"+(+9%("#%4*9(%))"22"$%87"#((7#(%))"+$%#)9(,786(+9*9+%#8(
    '9$9+%*(*%,(3(
    !69('"**",7#1(%))"22"$%87"#((%+9(+9%("#%4*9(7#("+$9+(8"(0+"+7$9(9.*%*(%))9(((%#$(0%+87)70%87"#(7#(&"*+(
    )*%(($(

        !   :))9(((8"((#%)4(5'""$5$+7#4(($*+7#1(*%4('()*%(((%#$(96%2(
        !   3+9%4(($*+7#1(8729$(96%2(5.*7779(3(:#(9689#(7"#("'(/.(27#*89((09+(6"*+("'(89(87#1(8729(
            (6"**$(49(%$$9$(8"(8"8%*(96%25.*77(8729(8"(%))"*#8('"+(4+9%4(3
        !   ;689#$9$(8729(8/..9:('"+(7#()*%((5"#*7#9(8729$(96%2((%#$(.*7779(
        !   ;689#(7"#("#(:((71#29#8('(*0(8"(%2(6"*+('(,7867#(869(%)%$927)((8%#$%+$(("'(869()"*+(9
        !   ;"(>)%#8+"#(('"+(96%2(5.*7779(
        !   ?9+27((7"#(8"(*(9(%(*%08"0(5(8%4*98('"+(#"898%47#1
        !   <9$*)9$($7(8+%)87"#(89(87#1(*")%87"#
        !   "(9("'(%()"20*89+('"+(96%2(5(.*7779('(*#*9(((78()"20+"27(9((%#(9((9#87%*('*#)87"#("'(869(
            )"*+(9
        !   :00+"+9$(8"(6%+9(869(%47*78&(8"(,+789($7+9)8*&("#(869(96%2(*#*9(((78()"20+"27(9((869(
            9((9#87%*(9*929#8(("'(869(96%23
    <(6%+9(7#'"+29$(867(((8*$9#8(%4"*8(869(720"+8%#)9("'($7()*((7#1(,786(&"*'(7#(%(8729*&(2%##9+'(6",(869(
    %4"+9(%))"22"$%87"#((,7**(49(720*929#89$3
    <#(869()*++9#8(6&4+7$(9#+7+"#29#8'(%))"22"$%87"#((2%&(49(720*929#89$(%(478($7''9+9#8*&3((="+(*0(8"($%89(
    7#'"+2%87"#("#(6",(8"(720*929#8("#*7#9(%))"22"$%87"#('(7#)**$7#1(96%2(%))"22"$%87"#('(0*9%(9(+9'9+(
    8"(869(=&>(=%)**8&(>*00"+8(0%193
    567*9('%)**8&(%+9(+9(0"#(74*9('"+(9#89+7#1(96%2(%))"22"$%87"#(((*)6(%((9689#$9$(8729(7#8"(869()"*+(9(
    *9%+#7#1(2%#%1929#8((&(892(8 %#+%('(>%4%7'(3*%)44"%+$:'(869(=''7)9("'(&7(%47*78&(>9++7)9(((8%#$((+9%$&(
    8"((*00"+8(&"*3(?*9%(9($"(#"8(69(78%89(8"(+9%)6("*8(8"(*((,786(%#&(.*9(87"#((+91%+$7#1(6",(8"(720*929#8(
    %))"22"$%87"#((7#(%#("#*7#9(9#+7+"#29#83
    <'(&"*(6%+9("869+(7$9%((+91%+$7#1(6",(8"()+9%89(%))9((('"+(&"*+()"*+(9'(0%+87)**%+*&(7#(869(+92"89(*9%+#7#1(
    9#+7+"#29#8'(<(,"**$(49(6%00&(8"((09%4(,786(&"*3(>"*+(7#0*8(7((1+9%8*&(%00+9)7%89$3(
    <#(%$$787"#'(<(,9*)"29(%#&()"#)9+#(("+(.*9(87"#((&"*(2%&(6%+93(
    >7#)9+9*&'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 46 of 110 PageID:
                                      552




    3+7%#(!%69+
     ""+$7#%8"+
    2%69+34+7%#?+*819+(39$*
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 47 of 110 PageID:
                                                553
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()%#*%+&(,-'(,.,-
    /01..2.//
    3"4(56789
    :;<(=;=(>(?< !
    "1.#$./#./


    :9%+(%+"&9''"+#
      69((&&7)9("&(:7'%47*78&(=9++7)9'(6%'(+9+79,9$(867'('8*$9#8-'(+9.*9'8'('9*&/+90"+8(%#$('*00"+87#1(
    $")*29#8%87"#(8"(9'8%4*7'6(8697+(9*71747*78&(&"+(+9%'"#%4*9(%))"22"$%87"#'(7#(%))"+$%#)9(,786(+9*9+%#8(
    &9$9+%*(*%,'3(
      69(&"**",7#1(%))"22"$%87"#'(%+9(+9%'"#%4*9(7#("+$9+(8"(0+"+7$9(9.*%*(%))9''(%#$(0%+87)70%87"#(7#(&"*+(
    )*%''#(

        !   4))9''(8"('#%)5'6&""$6$+7#5'($*+7#1(*%4''()*%''(%#$(97%2'
        !   3+9%5'($*+7#1(8729$(97%2'6.*7889'3(4#(9789#'7"#("&(/.(27#*89'(09+(6"*+("&(89'87#1(8729(
            '6"**$(49(%$$9$(8"(8"8%*(97%26.*78(8729(8"(%))"*#8(&"+(4+9%5'3
        !   9789#$9$(8729(:/..;<(&"+(7#()*%''6"#*7#9(8729$(97%2'(%#$(.*7889'
        !   9789#'7"#("#(4''71#29#8''(*0(8"($2(6"*+''(,7867#(869(%)%$927)('8%#$%+$'("&(869()"*+'9
        !   <"(=)%#8+"#'(&"+(97%2'6.*7889'
        !   %9+27''7"#(8"(*'9(%(*%08"0(6(8%4*98(&"+(#"898%57#1
        !   =9$*)9$($7'8+%)87"#(89'87#1(*")%87"#
        !   >'9("&(%()"20*89+(&"+(97%2'6(.*7889''(*#*9''(78()"20+"27'9'(%#(9''9#87%*(&*#)87"#("&(869(
            )"*+'9
        !   400+"+9$(8"(6%+9(869(%47*78&(8"(,+789($7+9)8*&("#(869(97%2(*#*9''(78()"20+"27'9'(869(
            9''9#87%*(9*929#8'("&(869(97%23
    ?(6%+9(7#&"+29$(867'('8*$9#8(%4"*8(869(720"+8%#)9("&($7')*''7#1(,786(&"*'(7#(%(8729*&(2%##9+'(6",(869(
    %4"+9(%))"22"$%87"#'(,7**(49(720*929#89$3
    ?#(869()*++9#8(6&4+7$(9#+7+"#29#8'(%))"22"$%87"#'(2%&(49(720*929#89$(%(478($7&&9+9#8*&3((@"+(*0(8"($%89(
    7#&"+2%87"#("#(6",(8"(720*929#8("#*7#9(%))"22"$%87"#''(7#)**$7#1(97%2(%))"22"$%87"#''(0*9%'9(+9&9+(
    8"(869((:=(@%)**8&(=*00"+8(0%193
    567*9(&%)**8&(%+9(+9'0"#'74*9(&"+(9#89+7#1(97%2(%))"22"$%87"#'('*)6(%'(9789#$9$(8729(7#8"(869()"*+'9(
    *9%+#7#1(2%#%1929#8('&'892(:?%#+%''(=%5%7'(3*%)54"%+$<'(869((&&7)9("&(:7'%47*78&(=9++7)9'('8%#$'(+9%$&(
    8"('*00"+8(&"*3(%*9%'9($"(#"8(69'78%89(8"(+9%)6("*8(8"(*'(,786(%#&(.*9'87"#'(+91%+$7#1(6",(8"(720*929#8(
    %))"22"$%87"#'(7#(%#("#*7#9(9#+7+"#29#83
    ?&(&"*(6%+9("869+(7$9%'(+91%+$7#1(6",(8"()+9%89(%))9''(&"+(&"*+()"*+'9'(0%+87)**%+*&(7#(869(+92"89(*9%+#7#1(
    9#+7+"#29#8'(?(,"**$(49(6%00&(8"('09%5(,786(&"*3(;"*+(7#0*8(7'(1+9%8*&(%00+9)7%89$3(
    ?#(%$$787"#'(?(,9*)"29(%#&()"#)9+#'("+(.*9'87"#'(&"*(2%&(6%+93(
    =7#)9+9*&'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 48 of 110 PageID:
                                      554




    3+7%#(!%69+
    ?""+$7#%8"+
    2%69+34+7%#A+*819+'39$*
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 49 of 110 PageID:
                                                555
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()%#*%+&(,-'(,.,-
    /01..2.//
    3"4(56789
    :;<=<:>?(> ;!"?(#$%
    &1.'()/'./


    #9%+(*+"+9,,"+'
    ?69(-++7.9("+(#7,%47/78&(09+17.9,(6%,(+917929$(867,(,8*$9#83,(+94*9,8'(,9/+5+96"+8(%#$(,*66"+87#7(
    $".*89#8%87"#(8"(9,8%4/7,6(8697+(9/77747/78&(+"+(+9%,"#%4/9(%.."88"$%87"#,(7#(%.."+$%#.9(2786(+9/91%#8(
    +9$9+%/(/%2,9(
    ?69(+"//"27#7(%.."88"$%87"#,(%+9(+9%,"#%4/9(7#("+$9+(8"(6+"17$9(94*%/(%..9,,(%#$(6%+87.76%87"#(7#(&"*+(
    ./%,,'(

        !   :..9,,(8"(,#%.:,;+""$;$+7#:,($*+7#7(/%4,'(./%,,(%#$(9<%8,
        !   3+9%:,($*+7#7(8789$(9<%8,;4*7==9,9(:#(9<89#,7"#("+(/.(87#*89,(69+(6"*+("+(89,87#7(8789(
            ,6"*/$(49(%$$9$(8"(8"8%/(9<%8;4*7=(8789(8"(%.."*#8(+"+(4+9%:,9
        !   ><89#$9$(8789(?/..@A(+"+(7#(./%,,;"#/7#9(8789$(9<%8,(%#$(4*7==9,
        !   ><89#,7"#("#(:,,77#89#8,'(*6(8"((2(6"*+,'(27867#(869(%.%$987.(,8%#$%+$,("+(869(."*+,9
        !   %"(0.%#8+"#,(+"+(9<%8,;4*7==9,
        !   *9+87,,7"#(8"(*,9(%(/%68"6(;(8%4/98(+"+(#"898%:7#7
        !   <9$*.9$($7,8+%.87"#(89,87#7(/".%87"#
        !   B,9("+(%(."86*89+(+"+(9<%8,;(4*7==9,'(*#/9,,(78(."86+"87,9,(%#(9,,9#87%/(+*#.87"#("+(869(
            ."*+,9
        !   :66+"19$(8"(6%19(869(%47/78&(8"(2+789($7+9.8/&("#(869(9<%8(*#/9,,(78(."86+"87,9,(869(
            9,,9#87%/(9/989#8,("+(869(9<%89
    ;(6%19(7#+"+89$(867,(,8*$9#8(%4"*8(869(786"+8%#.9("+($7,.*,,7#7(2786(&"*'(7#(%(8789/&(8%##9+'(6"2(869(
    %4"19(%.."88"$%87"#,(27//(49(786/989#89$9
    ;#(869(.*++9#8(6&4+7$(9#17+"#89#8'(%.."88"$%87"#,(8%&(49(786/989#89$(%(478($7++9+9#8/&9((>"+(*6(8"($%89(
    7#+"+8%87"#("#(6"2(8"(786/989#8("#/7#9(%.."88"$%87"#,'(7#./*$7#7(9<%8(%.."88"$%87"#,'(6/9%,9(+9+9+(
    8"(869(-#0(>%.*/8&(0*66"+8(6%799
    567/9(+%.*/8&(%+9(+9,6"#,74/9(+"+(9#89+7#7(9<%8(%.."88"$%87"#,(,*.6(%,(9<89#$9$(8789(7#8"(869(."*+,9(
    /9%+#7#7(8%#%7989#8(,&,898(?=%#1%,'(0%:%7'(3/%.:4"%+$A'(869(-++7.9("+(#7,%47/78&(09+17.9,(,8%#$,(+9%$&(
    8"(,*66"+8(&"*9(*/9%,9($"(#"8(69,78%89(8"(+9%.6("*8(8"(*,(2786(%#&(4*9,87"#,(+97%+$7#7(6"2(8"(786/989#8(
    %.."88"$%87"#,(7#(%#("#/7#9(9#17+"#89#89
    ;+(&"*(6%19("869+(7$9%,(+97%+$7#7(6"2(8"(.+9%89(%..9,,(+"+(&"*+(."*+,9'(6%+87.*/%+/&(7#(869(+98"89(/9%+#7#7(
    9#17+"#89#8'(;(2"*/$(49(6%66&(8"(,69%:(2786(&"*9($"*+(7#6*8(7,(7+9%8/&(%66+9.7%89$9(
    ;#(%$$787"#'(;(29/."89(%#&(."#.9+#,("+(4*9,87"#,(&"*(8%&(6%199(
    07#.9+9/&'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 50 of 110 PageID:
                                      556




    3+7%#(!%69+
    =""+$7#%8"+
    8%69+94+7%#C+*879+,99$*
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 51 of 110 PageID:
                                                557
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+&(,'(-.-,
    /01..2.//
    3"4(56789
    :;<=>(!? !"#= $
    %1.&,/-&?%


    >9%'(('")9**"'&
    +69(,))7-9(")(>7*%47+78&($9'.7-9*(6%*('9.79/9$(867*(*8*$9#80*('91*9*8'(*9+)2'93"'8(%#$(**33"'87#4(
    $"-*59#8%87"#(8"(9*8%4+7*6(8697'(9+74747+78&()"'('9%*"#%4+9(%--"55"$%87"#*(7#(%--"'$%#-9(/786('9+9.%#8(
    )9$9'%+(+%/*6(
    +69()"++"/7#4(%--"55"$%87"#*(%'9('9%*"#%4+9(7#("'$9'(8"(3'".7$9(91*%+(%--9**(%#$(3%'87-73%87"#(7#(&"*'(
    -+%**&(

        !   "--9**(8"(*#%-7*8)""$8$'7#7*($*'7#4(+%4*'(-+%**(%#$(99%5*
        !   3'9%7*($*'7#4(8759$(99%5*81*7::9*6("#(9989#*7"#(")(/.(57#*89*(39'(6"*'(")(89*87#4(8759(
            *6"*+$(49(%$$9$(8"(8"8%+(99%581*7:(8759(8"(%--"*#8()"'(4'9%7*6
        !   ?989#$9$(8759(;/..<=()"'(7#(-+%**8"#+7#9(8759$(99%5*(%#$(1*7::9*
        !   ?989#*7"#("#("**74#59#8*'(*3(8"(>2(6"*'*'(/7867#(869(%-%$957-(*8%#$%'$*(")(869(-"*'*9
        !   #"($-%#8'"#*()"'(99%5*81*7::9*
        !   (9'57**7"#(8"(**9(%(+%38"3(8(8%4+98()"'(#"898%77#4
        !   ?9$*-9$($7*8'%-87"#(89*87#4(+"-%87"#
        !   <*9(")(%(-"53*89'()"'(99%5*8(1*7::9*'(*#+9**(78(-"53'"57*9*(%#(9**9#87%+()*#-87"#(")(869(
            -"*'*9
        !   "33'".9$(8"(6%.9(869(%47+78&(8"(/'789($7'9-8+&("#(869(99%5(*#+9**(78(-"53'"57*9*(869(
            9**9#87%+(9+959#8*(")(869(99%5
    =(6%.9(7#)"'59$(867*(*8*$9#8(%4"*8(869(753"'8%#-9(")($7*-***7#4(/786(&"*'(7#(%(8759+&(5%##9''(6"/(869(
    %4".9(%--"55"$%87"#*(/7++(49(753+959#89$6
    =#(869(-*''9#8(6&4'7$(9#.7'"#59#8'(%--"55"$%87"#*(5%&(49(753+959#89$(%(478($7))9'9#8+&6((:"'(*3(8"($%89(
    7#)"'5%87"#("#(6"/(8"(753+959#8("#+7#9(%--"55"$%87"#*'(7#-+*$7#4(99%5(%--"55"$%87"#*'(3+9%*9('9)9'(
    8"(869(,>$(:%-*+8&($*33"'8(3%496
    567+9()%-*+8&(%'9('9*3"#*74+9()"'(9#89'7#4(99%5(%--"55"$%87"#*(**-6(%*(9989#$9$(8759(7#8"(869(-"*'*9(
    +9%'#7#4(5%#%4959#8(*&*895(; %#.%*'($%7%7'(3+%-74"%'$='(869(,))7-9(")(>7*%47+78&($9'.7-9*(*8%#$*('9%$&(
    8"(**33"'8(&"*6((+9%*9($"(#"8(69*78%89(8"('9%-6("*8(8"(**(/786(%#&(1*9*87"#*('94%'$7#4(6"/(8"(753+959#8(
    %--"55"$%87"#*(7#(%#("#+7#9(9#.7'"#59#86
    =)(&"*(6%.9("869'(7$9%*('94%'$7#4(6"/(8"(-'9%89(%--9**()"'(&"*'(-"*'*9'(3%'87-*+%'+&(7#(869('95"89(+9%'#7#4(
    9#.7'"#59#8'(=(/"*+$(49(6%33&(8"(*39%7(/786(&"*6(@"*'(7#3*8(7*(4'9%8+&(%33'9-7%89$6(
    =#(%$$787"#'(=(/9+-"59(%#&(-"#-9'#*("'(1*9*87"#*(&"*(5%&(6%.96(
    $7#-9'9+&'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 52 of 110 PageID:
                                      558




    3'7%#(!%69'
     ""'$7#%8"'
    5%69'64'7%#A'*849'*69$*
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 53 of 110 PageID:
                                                559
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+&(,'(-.-,
    /01..2.//
    3"4(56789
    :;<=>?( !=:"!>=#"$?
    %1.&1%.&>/


    :9%'(('")9**"'&
    #69(<))7+9(")(:7*%47+78&(?9',7+9*(6%*('9,79-9$(867*(*8*$9#8.*('9/*9*8'(*9+)0'91"'8(%#$(**11"'87#2(
    $"+*39#8%87"#(8"(9*8%4+7*6(8697'(9+72747+78&()"'('9%*"#%4+9(%++"33"$%87"#*(7#(%++"'$%#+9(-786('9+9,%#8(
    )9$9'%+(+%-*4(
    #69()"++"-7#2(%++"33"$%87"#*(%'9('9%*"#%4+9(7#("'$9'(8"(1'",7$9(9/*%+(%++9**(%#$(1%'87+71%87"#(7#(&"*'(
    ++%**&(

        !   3'9%5*($*'7#2(8739$(96%3*7/*7889*4("#(9689#*7"#(")(/.(37#*89*(19'(6"*'(")(89*87#2(8739(
            *6"*+$(49(%$$9$(8"(8"8%+(96%37/*78(8739(8"(%++"*#8()"'(4'9%5*4
        !   >689#$9$(8739(9/..:;()"'(7#(++%**7"#+7#9(8739$(96%3*(%#$(/*7889*
        !   >689#*7"#("#("**72#39#8*'(*1(8"(<2(6"*'*'(-7867#(869(%+%$937+(*8%#$%'$*(")(869(+"*'*9
        !   ;9$*+9$($7*8'%+87"#(89*87#2(+"+%87"#
        !   !*9(")(%(+"31*89'()"'(96%3*7(/*7889*'(*#+9**(78(+"31'"37*9*(%#(9**9#87%+()*#+87"#(")(869(
            +"*'*9
    =(6%,9(7#)"'39$(867*(*8*$9#8(%4"*8(869(731"'8%#+9(")($7*+***7#2(-786(&"*'(7#(%(8739+&(3%##9''(6"-(869(
    %4",9(%++"33"$%87"#*(-7++(49(731+939#89$4
    =#(869(+*''9#8(6&4'7$(9#,7'"#39#8'(%++"33"$%87"#*(3%&(49(731+939#89$(%(478($7))9'9#8+&4(( "'(*1(8"($%89(
    7#)"'3%87"#("#(6"-(8"(731+939#8("#+7#9(%++"33"$%87"#*'(7#++*$7#2(96%3(%++"33"$%87"#*'(1+9%*9('9)9'(
    8"(869(<:?( %+*+8&(?*11"'8(1%294
    567+9()%+*+8&(%'9('9*1"#*74+9()"'(9#89'7#2(96%3(%++"33"$%87"#*(**+6(%*(9689#$9$(8739(7#8"(869(+"*'*9(
    +9%'#7#2(3%#%2939#8(*&*893(9>%#,%*'(?%5%7'(3+%+54"%'$;'(869(<))7+9(")(:7*%47+78&(?9',7+9*(*8%#$*('9%$&(
    8"(**11"'8(&"*4((+9%*9($"(#"8(69*78%89(8"('9%+6("*8(8"(**(-786(%#&(/*9*87"#*('92%'$7#2(6"-(8"(731+939#8(
    %++"33"$%87"#*(7#(%#("#+7#9(9#,7'"#39#84
    =)(&"*(6%,9("869'(7$9%*('92%'$7#2(6"-(8"(+'9%89(%++9**()"'(&"*'(+"*'*9'(1%'87+*+%'+&(7#(869('93"89(+9%'#7#2(
    9#,7'"#39#8'(=(-"*+$(49(6%11&(8"(*19%5(-786(&"*4(?"*'(7#1*8(7*(2'9%8+&(%11'9+7%89$4(
    =#(%$$787"#'(=(-9++"39(%#&(+"#+9'#*("'(/*9*87"#*(&"*(3%&(6%,94(
    ?7#+9'9+&'




    3'7%#(!%69'
    >""'$7#%8"'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 54 of 110 PageID:
                                      560




    3%69'44'7%#@'*829'*49$*
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 55 of 110 PageID:
                                                561
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+&(,'(-.-,
    /01..2.//
    3"4(56789
    :;<=!>? !"!#$%
    &1.',1/';&


    ?9%(()("*9++"('
    :69(>**7,9("*(?7+%47+78&(%9(-7,9+(6%+((9-79.9$(867+(+8*$9#8/+((90*9+8'(+9+*1(92"(8(%#$(+*22"(87#3(
    $",*49#8%87"#(8"(9+8%4+7+6(8697((9+73747+78&(*"(((9%+"#%4+9(%,,"44"$%87"#+(7#(%,,"($%#,9(.786((9+9-%#8(
    *9$9(%+(+%.+5(
    :69(*"++".7#3(%,,"44"$%87"#+(%(9((9%+"#%4+9(7#("($9((8"(2("-7$9(90*%+(%,,9++(%#$(2%(87,72%87"#(7#(&"*((
    ,+%++'(

        !   ",,9++(8"(+#%,6+7*""$7$(7#6+($*(7#3(+%4+'(,+%++(%#$(98%4+
        !   3(9%6+($*(7#3(8749$(98%4+70*7999+5("#(9889#+7"#("*(/.(47#*89+(29((6"*(("*(89+87#3(8749(
            +6"*+$(49(%$$9$(8"(8"8%+(98%470*79(8749(8"(%,,"*#8(*"((4(9%6+5
        !   <889#$9$(8749(:/..;<(*"((7#(,+%++7"#+7#9(8749$(98%4+(%#$(0*7999+
        !   <889#+7"#("#("++73#49#8+'(*2(8"(=2(6"*(+'(.7867#(869(%,%$947,(+8%#$%($+("*(869(,"*(+9
        !   !"(%,%#8("#+(*"((98%4+70*7999+
        !   )9(47++7"#(8"(*+9(%(+%28"2(7(8%4+98(*"((#"898%67#3
        !   =9$*,9$($7+8(%,87"#(89+87#3(+",%87"#
        !   >+9("*(%(,"42*89((*"((98%4+7(0*7999+'(*#+9++(78(,"42("47+9+(%#(9++9#87%+(**#,87"#("*(869(
            ,"*(+9
        !   "22("-9$(8"(6%-9(869(%47+78&(8"(.(789($7(9,8+&("#(869(98%4(*#+9++(78(,"42("47+9+(869(
            9++9#87%+(9+949#8+("*(869(98%4
    #(6%-9(7#*"(49$(867+(+8*$9#8(%4"*8(869(742"(8%#,9("*($7+,*++7#3(.786(&"*'(7#(%(8749+&(4%##9('(6".(869(
    %4"-9(%,,"44"$%87"#+(.7++(49(742+949#89$5
    ##(869(,*((9#8(6&4(7$(9#-7("#49#8'(%,,"44"$%87"#+(4%&(49(742+949#89$(%(478($7**9(9#8+&5((?"((*2(8"($%89(
    7#*"(4%87"#("#(6".(8"(742+949#8("#+7#9(%,,"44"$%87"#+'(7#,+*$7#3(98%4(%,,"44"$%87"#+'(2+9%+9((9*9((
    8"(869(>?%(?%,*+8&(%*22"(8(2%395
    567+9(*%,*+8&(%(9((9+2"#+74+9(*"((9#89(7#3(98%4(%,,"44"$%87"#+(+*,6(%+(9889#$9$(8749(7#8"(869(,"*(+9(
    +9%(#7#3(4%#%3949#8(+&+894(:$%#-%+'(%%6%7'(3+%,64"%($<'(869(>**7,9("*(?7+%47+78&(%9(-7,9+(+8%#$+((9%$&(
    8"(+*22"(8(&"*5()+9%+9($"(#"8(69+78%89(8"((9%,6("*8(8"(*+(.786(%#&(0*9+87"#+((93%($7#3(6".(8"(742+949#8(
    %,,"44"$%87"#+(7#(%#("#+7#9(9#-7("#49#85
    #*(&"*(6%-9("869((7$9%+((93%($7#3(6".(8"(,(9%89(%,,9++(*"((&"*((,"*(+9'(2%(87,*+%(+&(7#(869((94"89(+9%(#7#3(
    9#-7("#49#8'(#(."*+$(49(6%22&(8"(+29%6(.786(&"*5( "*((7#2*8(7+(3(9%8+&(%22(9,7%89$5(
    ##(%$$787"#'(#(.9+,"49(%#&(,"#,9(#+("((0*9+87"#+(&"*(4%&(6%-95(
    %7#,9(9+&'
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 56 of 110 PageID:
                                      562




    3(7%#(!%69(
    $""($7#%8"(
    4%69(54(7%#@(*839(+59$*
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 57 of 110 PageID:
                                                563
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&"'()!*+#*,-*%).()/0/1
    2.3004022
    56-)789#*
    :;<=>)?:; !=)!?" 5=!
    #$0%/30%&2


    '*"%)(%6)***6%%
    <8*)>))9+*)6))'9*"-9,9#')!*%-9+**)8"*)%*-9*.*&)#89*)*#$&*/#0*)%*1$**#()**,)2%*+6%#)"/&)*$++6%#9/3)
    &6+$,*/#"#96/)#6)**#"-,9*8)#8*9%)*,939-9,9#'))6%)%*"*6/"-,*)"++6,,6&"#96/*)9/)"++6%&"/+*).9#8)%*,*-"/#)
    )*&*%",),".*4)
    <8*))6,,6.9/3)"++6,,6&"#96/*)"%*)%*"*6/"-,*)9/)6%&*%)#6)+%6-9&*)*1$",)"++***)"/&)+"%#9+9+"#96/)9/)'6$%)
    +,"**%)

        !   !++***)#6)*/"+5*6)66&6&%9/5*)&$%9/3),"-*()+,"**)"/&)*7",*
        !   5%*"5*)&$%9/3)#9,*&)*7",*61$988**4)!/)*7#*/*96/)6))20),9/$#**)+*%)86$%)6))#**#9/3)#9,*)
            *86$,&)-*)"&&*&)#6)#6#",)*7",61$98)#9,*)#6)"++6$/#))6%)-%*"5*4
        !    7#*/&*&)#9,*)9200:;))6%)9/)+,"**66/,9/*)#9,*&)*7",*)"/&)1$988**
        !    7#*/*96/)6/)!**93/,*/#*()$+)#6)$4)86$%*().9#89/)#8*)"+"&*,9+)*#"/&"%&*)6))#8*)+6$%**
        !   ;6)!+"/#%6/*))6%)*7",*61$988**
        !   (*%,9**96/)#6)$**)"),"+#6+)6)#"-,*#))6%)/6#*#"59/3
        !   =*&$+*&)&9*#%"+#96/)#**#9/3),6+"#96/
        !   <**)6))")+6,+$#*%))6%)*7",*6)1$988**()$/,***)9#)+6,+%6,9***)"/)****/#9",))$/+#96/)6))#8*)
            +6$%**
        !   !++%6-*&)#6)8"-*)#8*)"-9,9#')#6).%9#*)&9%*+#,')6/)#8*)*7",)$/,***)9#)+6,+%6,9***)#8*)
            ****/#9",)*,*,*/#*)6))#8*)*7",
    :)8"-*)9/)6%,*&)#89*)*#$&*/#)"-6$#)#8*)9,+6%#"/+*)6))&9*+$**9/3).9#8)'6$()9/)")#9,*,'),"//*%()86.)#8*)
    "-6-*)"++6,,6&"#96/*).9,,)-*)9,+,*,*/#*&4
    :/)#8*)+$%%*/#)8'-%9&)*/-9%6/,*/#()"++6,,6&"#96/*),"')-*)9,+,*,*/#*&)")-9#)&9))*%*/#,'4))=6%)$+)#6)&"#*)
    9/)6%,"#96/)6/)86.)#6)9,+,*,*/#)6/,9/*)"++6,,6&"#96/*()9/+,$&9/3)*7",)"++6,,6&"#96/*()+,*"**)%*)*%)
    #6)#8*)>'!)="+$,#')!$++6%#)+"3*4
    789,*))"+$,#')"%*)%**+6/*9-,*))6%)*/#*%9/3)*7",)"++6,,6&"#96/*)*$+8)"*)*7#*/&*&)#9,*)9/#6)#8*)+6$%**)
    ,*"%/9/3),"/"3*,*/#)*'*#*,)9&"/-"*()!"5"9()5,"+5-6"%&;()#8*)>))9+*)6))'9*"-9,9#')!*%-9+**)*#"/&*)%*"&')
    #6)*$++6%#)'6$4)(,*"**)&6)/6#)8**9#"#*)#6)%*"+8)6$#)#6)$*).9#8)"/')1$**#96/*)%*3"%&9/3)86.)#6)9,+,*,*/#)
    "++6,,6&"#96/*)9/)"/)6/,9/*)*/-9%6/,*/#4
    :))'6$)8"-*)6#8*%)9&*"*)%*3"%&9/3)86.)#6)+%*"#*)"++***))6%)'6$%)+6$%**()+"%#9+$,"%,')9/)#8*)%*,6#*),*"%/9/3)
    */-9%6/,*/#():).6$,&)-*)8"++')#6)*+*"5).9#8)'6$4)>6$%)9/+$#)9*)3%*"#,')"++%*+9"#*&4)
    :/)"&&9#96/():).*,+6,*)"/')+6/+*%/*)6%)1$**#96/*)'6$),"')8"-*4)
    !9/+*%*,'(
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 58 of 110 PageID:
                                      564




    5%9"/)?"8*%
    &66%&9/"#6%
    ,"8*%4-%9"/@%$#3*%*4*&$
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 59 of 110 PageID:
                                                565
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&"'()!*+#*,-*%).()/0/1
    2.3004022
    56-)789#*
    :;<=>? !!>"!)!>:;
    #30$%1.$02


    &*"%)?%6'*((6%$
    =8*))''9**)6')&9("-9+9#')!*%,9**()8"()%*,9*-*&)#89()(#$&*.#/()%*0$*(#()(*+'1%*+6%#)".&)($++6%#9.2)
    &6*$,*.#"#96.)#6)*(#"-+9(8)#8*9%)*+929-9+9#')'6%)%*"(6."-+*)"**6,,6&"#96.()9.)"**6%&".**)-9#8)%*+*,".#)
    '*&*%"+)+"-(3)
    =8*)'6++6-9.2)"**6,,6&"#96.()"%*)%*"(6."-+*)9.)6%&*%)#6)+%6,9&*)*0$"+)"***(()".&)+"%#9*9+"#96.)9.)'6$%)
    *+"(($)

        !   4***(()#6)(."*5(6'66&6&%9.5()&$%9.2)+"-(()*+"(()".&)*7",(
        !   5%*"5()&$%9.2)#9,*&)*7",(60$988*(3)4.)*7#*.(96.)6')20),9.$#*()+*%)86$%)6')#*(#9.2)#9,*)
            (86$+&)-*)"&&*&)#6)#6#"+)*7",60$98)#9,*)#6)"**6$.#)'6%)-%*"5(3
        !   97#*.&*&)#9,*):200;<)'6%)9.)*+"((66.+9.*)#9,*&)*7",()".&)0$988*(
        !   97#*.(96.)6.)4((92.,*.#(()$+)#6)%4)86$%(()-9#89.)#8*)"*"&*,9*)(#".&"%&()6')#8*)*6$%(*
        !   =6)!*".#%6.()'6%)*7",(60$988*(
        !   ?*%,9((96.)#6)$(*)")+"+#6+)6)#"-+*#)'6%).6#*#"59.2
        !   >*&$**&)&9(#%"*#96.)#*(#9.2)+6*"#96.
        !   ;(*)6')")*6,+$#*%)'6%)*7",(6)0$988*(()$.+*(()9#)*6,+%6,9(*()".)*((*.#9"+)'$.*#96.)6')#8*)
            *6$%(*
        !   4++%6,*&)#6)8",*)#8*)"-9+9#')#6)-%9#*)&9%**#+')6.)#8*)*7",)$.+*(()9#)*6,+%6,9(*()#8*)
            *((*.#9"+)*+*,*.#()6')#8*)*7",
    >)8",*)9.'6%,*&)#89()(#$&*.#)"-6$#)#8*)9,+6%#".**)6')&9(*$((9.2)-9#8)'6$()9.)")#9,*+'),"..*%()86-)#8*)
    "-6,*)"**6,,6&"#96.()-9++)-*)9,++*,*.#*&3
    >.)#8*)*$%%*.#)8'-%9&)*.,9%6.,*.#()"**6,,6&"#96.(),"')-*)9,++*,*.#*&)")-9#)&9''*%*.#+'3))?6%)$+)#6)&"#*)
    9.'6%,"#96.)6.)86-)#6)9,++*,*.#)6.+9.*)"**6,,6&"#96.(()9.*+$&9.2)*7",)"**6,,6&"#96.(()++*"(*)%*'*%)
    #6)#8*))&!)?"*$+#')!$++6%#)+"2*3
    789+*)'"*$+#')"%*)%*(+6.(9-+*)'6%)*.#*%9.2)*7",)"**6,,6&"#96.()($*8)"()*7#*.&*&)#9,*)9.#6)#8*)*6$%(*)
    +*"%.9.2),"."2*,*.#)('(#*,):"".,"(()!"5"9()5+"*5-6"%&<()#8*))''9**)6')&9("-9+9#')!*%,9**()(#".&()%*"&')
    #6)($++6%#)'6$3)?+*"(*)&6).6#)8*(9#"#*)#6)%*"*8)6$#)#6)$()-9#8)".')0$*(#96.()%*2"%&9.2)86-)#6)9,++*,*.#)
    "**6,,6&"#96.()9.)".)6.+9.*)*.,9%6.,*.#3
    >')'6$)8",*)6#8*%)9&*"()%*2"%&9.2)86-)#6)*%*"#*)"***(()'6%)'6$%)*6$%(*()+"%#9*$+"%+')9.)#8*)%*,6#*)+*"%.9.2)
    *.,9%6.,*.#()>)-6$+&)-*)8"++')#6)(+*"5)-9#8)'6$3)!6$%)9.+$#)9()2%*"#+')"++%**9"#*&3)
    >.)"&&9#96.()>)-*+*6,*)".')*6.**%.()6%)0$*(#96.()'6$),"')8",*3)
    !9.**%*+'(
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 60 of 110 PageID:
                                      566




    5%9".):"8*%
    "66%&9."#6%
    ,"8*%3-%9".@%$#2*%(3*&$
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 61 of 110 PageID:
                                                567
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&"'()!*+#*,-*%).()/0/1
    2.3004022
    56-)789#*
    !:;<=<>;? !"#!)$=
    %30&'3(&02


    $*"%):%6)***6%&
      8*)+))9,*)6))$9*"-9-9#')!*%.9,**)8"*)%*.9*/*&)#89*)*#$&*0#1*)%*2$**#()**-)3%*+6%#)"0&)*$++6%#904)
    &6,$,*0#"#960)#6)**#"--9*8)#8*9%)*-949-9-9#'))6%)%*"*60"--*)",,6,,6&"#960*)90)",,6%&"0,*)/9#8)%*-*."0#)
    )*&*%"-)-"/*5)
      8*))6--6/904)",,6,,6&"#960*)"%*)%*"*60"--*)90)6%&*%)#6)+%6.9&*)*2$"-)",,***)"0&)+"%#9,9+"#960)90)'6$%)
    ,-"**&)

        !   ;,,***)#6)*0",6*!)66&!&%906*)&$%904)-"-*(),-"**)"0&)*7",*
        !   5%*"6*)&$%904)#9,*&)*7",*!2$988**5);0)*7#*0*960)6))20),90$#**)+*%)86$%)6))#**#904)#9,*)
            *86$-&)-*)"&&*&)#6)#6#"-)*7",!2$98)#9,*)#6)",,6$0#))6%)-%*"6*5
        !   =7#*0&*&)#9,*)9200:;))6%)90),-"**!60-90*)#9,*&)*7",*)"0&)2$988**
        !   =7#*0*960)60);**940,*0#*()$+)#6)'4)86$%*()/9#890)#8*)","&*,9,)*#"0&"%&*)6))#8*),6$%**
        !   <6)!,"0#%60*))6%)*7",*!2$988**
        !   :*%,9**960)#6)$**)")-"+#6+)!)#"--*#))6%)06#*#"6904
        !   >*&$,*&)&9*#%",#960)#**#904)-6,"#960
        !   =**)6))"),6,+$#*%))6%)*7",*!)2$988**()$0-***)9#),6,+%6,9***)"0)****0#9"-))$0,#960)6))#8*)
            ,6$%**
        !   ;++%6.*&)#6)8".*)#8*)"-9-9#')#6)/%9#*)&9%*,#-')60)#8*)*7",)$0-***)9#),6,+%6,9***)#8*)
            ****0#9"-)*-*,*0#*)6))#8*)*7",
    #)8".*)90)6%,*&)#89*)*#$&*0#)"-6$#)#8*)9,+6%#"0,*)6))&9*,$**904)/9#8)'6$()90)")#9,*-'),"00*%()86/)#8*)
    "-6.*)",,6,,6&"#960*)/9--)-*)9,+-*,*0#*&5
    #0)#8*),$%%*0#)8'-%9&)*0.9%60,*0#()",,6,,6&"#960*),"')-*)9,+-*,*0#*&)")-9#)&9))*%*0#-'5))?6%)$+)#6)&"#*)
    90)6%,"#960)60)86/)#6)9,+-*,*0#)60-90*)",,6,,6&"#960*()90,-$&904)*7",)",,6,,6&"#960*()+-*"**)%*)*%)
    #6)#8*)+$!)?",$-#')!$++6%#)+"4*5
    789-*))",$-#')"%*)%**+60*9--*))6%)*0#*%904)*7",)",,6,,6&"#960*)*$,8)"*)*7#*0&*&)#9,*)90#6)#8*),6$%**)
    -*"%0904),"0"4*,*0#)*'*#*,)9<"0."*()!"6"9()5-",6-6"%&;()#8*)+))9,*)6))$9*"-9-9#')!*%.9,**)*#"0&*)%*"&')
    #6)*$++6%#)'6$5):-*"**)&6)06#)8**9#"#*)#6)%*",8)6$#)#6)$*)/9#8)"0')2$**#960*)%*4"%&904)86/)#6)9,+-*,*0#)
    ",,6,,6&"#960*)90)"0)60-90*)*0.9%60,*0#5
    #))'6$)8".*)6#8*%)9&*"*)%*4"%&904)86/)#6),%*"#*)",,***))6%)'6$%),6$%**()+"%#9,$-"%-')90)#8*)%*,6#*)-*"%0904)
    *0.9%60,*0#()#)/6$-&)-*)8"++')#6)*+*"6)/9#8)'6$5)>6$%)90+$#)9*)4%*"#-')"++%*,9"#*&5)
    #0)"&&9#960()#)/*-,6,*)"0'),60,*%0*)6%)2$**#960*)'6$),"')8".*5)
    !90,*%*-'(
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 62 of 110 PageID:
                                      568




    5%9"0)""8*%
    <66%&90"#6%
    ,"8*%5-%9"0?%$#4*%*5*&$
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 63 of 110 PageID:
                                                569
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*#+,#-.#/)01()1213
    045226200
    78.)9:;,#
    <=>? )!"#$%&?#*
    '52(301(20


     #&/))/8*#$$8/(
    !:#)+**;,#)8*) ;$&.;-;,')*#/.;,#$):&$)/#.;#/#%),:;$)$,"%#0,1$)/#2"#$,()$#-*3/#+8/,)&0%)$"++8/,;04)
    %8,"-#0,&,;80),8)#$,&.-;$:),:#;/)#-;4;.;-;,')*8/)/#&$80&.-#)&,,8--8%&,;80$);0)&,,8/%&0,#)/;,:)/#-#.&0,)
    *#%#/&-)-&/$5)
    !:#)*8--8/;04)&,,8--8%&,;80$)&/#)/#&$80&.-#);0)8/%#/),8)+/8.;%#)#2"&-)&,,#$$)&0%)+&/,;,;+&,;80);0)'8"/)
    ,-&$$()

        !   %,,#$$),8)$0&,6$7*88%7%/;06$)%"/;04)-&.$(),-&$$)&0%)#8&-$
        !   7/#&6$)%"/;04),;-#%)#8&-$72";99#$5)%0)#8,#0$;80)8*)02)-;0",#$)+#/):8"/)8*),#$,;04),;-#)
            $:8"-%).#)&%%#%),8),8,&-)#8&-72";9),;-#),8)&,,8"0,)*8/)./#&6$5
        !   "8,#0%#%),;-#):022;<)*8/);0),-&$$780-;0#),;-#%)#8&-$)&0%)2";99#$
        !   "8,#0$;80)80)%$$;40-#0,$()"+),8)=6):8"/$()/;,:;0),:#)&,&%#-;,)$,&0%&/%$)8*),:#),8"/$#
        !   &8)*,&0,/80$)*8/)#8&-$72";99#$
        !   )#/-;$$;80),8)"$#)&)-&+,8+)7),&.-#,)*8/)08,#,&6;04
        !   >#%",#%)%;$,/&,,;80),#$,;04)-8,&,;80
        !   >$#)8*)&),8-+",#/)*8/)#8&-$7)2";99#$()"0-#$$);,),8-+/8-;$#$)&0)#$$#0,;&-)*"0,,;80)8*),:#)
            ,8"/$#
        !   %++/8.#%),8):&.#),:#)&.;-;,'),8)//;,#)%;/#,,-')80),:#)#8&-)"0-#$$);,),8-+/8-;$#$),:#)
            #$$#0,;&-)#-#-#0,$)8*),:#)#8&-
    ?):&.#);0*8/-#%),:;$)$,"%#0,)&.8",),:#);-+8/,&0,#)8*)%;$,"$$;04)/;,:)'8"();0)&),;-#-')-&00#/():8/),:#)
    &.8.#)&,,8--8%&,;80$)/;--).#);-+-#-#0,#%5
    ?0),:#),"//#0,):'./;%)#0.;/80-#0,()&,,8--8%&,;80$)-&').#);-+-#-#0,#%)&).;,)%;**#/#0,-'5))<8/)"+),8)%&,#)
    ;0*8/-&,;80)80):8/),8);-+-#-#0,)80-;0#)&,,8--8%&,;80$();0,-"%;04)#8&-)&,,8--8%&,;80$()+-#&$#)/#*#/)
    ,8),:#)+ *)<&,"-,')*"++8/,)+&4#5
    9:;-#)*&,"-,')&/#)/#$+80$;.-#)*8/)#0,#/;04)#8&-)&,,8--8%&,;80$)$",:)&$)#8,#0%#%),;-#);0,8),:#),8"/$#)
    -#&/0;04)-&0&4#-#0,)$'$,#-):#&0.&$()*&6&;()7-&,6.8&/%<(),:#)+**;,#)8*) ;$&.;-;,')*#/.;,#$)$,&0%$)/#&%')
    ,8)$"++8/,)'8"5))-#&$#)%8)08,):#$;,&,#),8)/#&,:)8",),8)"$)/;,:)&0')2"#$,;80$)/#4&/%;04):8/),8);-+-#-#0,)
    &,,8--8%&,;80$);0)&0)80-;0#)#0.;/80-#0,5
    ?*)'8"):&.#)8,:#/);%#&$)/#4&/%;04):8/),8),/#&,#)&,,#$$)*8/)'8"/),8"/$#()+&/,;,"-&/-');0),:#)/#-8,#)-#&/0;04)
    #0.;/80-#0,()?)/8"-%).#):&++'),8)$+#&6)/;,:)'8"5)?8"/);0+",);$)4/#&,-')&++/#,;&,#%5)
    ?0)&%%;,;80()?)/#-,8-#)&0'),80,#/0$)8/)2"#$,;80$)'8")-&'):&.#5)
    *;0,#/#-'(
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 64 of 110 PageID:
                                      570




    7/;&0)!&:#/
    #88/%;0&,8/
    -&:#/5./;&0@/",4#/$5#%"
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 65 of 110 PageID:
                                                571
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$"%#&'()*&$+&,')-.()/0/1
    -230040--
    567)!89:"
    ;<=>? !"#)";"#$% %)
    &10'(.('0-


    )"&,)*,6+"%%6,'
    ,8")-++9.")6+))9%&79/9:')%",09."%)8&%),"09"1"#):89%)%:+#"$:2%),"3+"%:()%"/+4,"56,:)&$#)%+556,:9$6)
    #6.+7"$:&:96$):6)"%:&7/9%8):8"9,)"/96979/9:')+6,),"&%6$&7/")&..6776#&:96$%)9$)&..6,#&$.")19:8),"/"0&$:)
    +"#",&/)/&1%8)
    ,8")+6//619$6)&..6776#&:96$%)&,"),"&%6$&7/")9$)6,#",):6)5,609#")"3+&/)&.."%%)&$#)5&,:9.95&:96$)9$)'6+,)
    ./&%%')

        !   ".."%%):6)%$&.9%:+66#:#,9$9%)#+,9$6)/&7%()./&%%)&$#)";&7%
        !   5,"&9%)#+,9$6):97"#)";&7%:3+9<<"%8)"$)";:"$%96$)6+)-0)79$+:"%)5",)86+,)6+):"%:9$6):97")
            %86+/#)7")&##"#):6):6:&/)";&7:3+9<):97"):6)&..6+$:)+6,)7,"&9%8
        !   >;:"$#"#):97")=-00>?)+6,)9$)./&%%:6$/9$"):97"#)";&7%)&$#)3+9<<"%
        !   >;:"$%96$)6$)"%%96$7"$:%()+5):6)14)86+,%()19:89$):8")&.&#"79.)%:&$#&,#%)6+):8").6+,%"
        !   ;6)%.&$:,6$%)+6,)";&7%:3+9<<"%
        !   *",79%%96$):6)+%")&)/&5:65):):&7/":)+6,)$6:":&99$6
        !   ?"#+."#)#9%:,&.:96$):"%:9$6)/6.&:96$
        !   <%")6+)&).675+:",)+6,)";&7%:)3+9<<"%()+$/"%%)9:).675,679%"%)&$)"%%"$:9&/)++$.:96$)6+):8")
            .6+,%"
        !   "55,60"#):6)8&0"):8")&79/9:'):6)1,9:")#9,".:/')6$):8")";&7)+$/"%%)9:).675,679%"%):8")
            "%%"$:9&/)"/"7"$:%)6+):8")";&7
     )8&0")9$+6,7"#):89%)%:+#"$:)&76+:):8")9756,:&$.")6+)#9%.+%%9$6)19:8)'6+()9$)&):97"/')7&$$",()861):8")
    &760")&..6776#&:96$%)19//)7")975/"7"$:"#8
     $):8").+,,"$:)8'7,9#)"$09,6$7"$:()&..6776#&:96$%)7&')7")975/"7"$:"#)&)79:)#9++","$:/'8))@6,)+5):6)#&:")
    9$+6,7&:96$)6$)861):6)975/"7"$:)6$/9$")&..6776#&:96$%()9$./+#9$6)";&7)&..6776#&:96$%()5/"&%"),"+",)
    :6):8")-)%)@&.+/:')%+556,:)5&6"8
    !89/")+&.+/:')&,"),"%56$%97/")+6,)"$:",9$6)";&7)&..6776#&:96$%)%+.8)&%)";:"$#"#):97")9$:6):8").6+,%")
    /"&,$9$6)7&$&6"7"$:)%'%:"7)=!&$0&%()%&9&9()5/&.976&,#?():8")-++9.")6+))9%&79/9:')%",09."%)%:&$#%),"&#')
    :6)%+556,:)'6+8)*/"&%")#6)$6:)8"%9:&:"):6),"&.8)6+:):6)+%)19:8)&$')3+"%:96$%),"6&,#9$6)861):6)975/"7"$:)
    &..6776#&:96$%)9$)&$)6$/9$")"$09,6$7"$:8
     +)'6+)8&0")6:8",)9#"&%),"6&,#9$6)861):6).,"&:")&.."%%)+6,)'6+,).6+,%"()5&,:9.+/&,/')9$):8"),"76:")/"&,$9$6)
    "$09,6$7"$:() )16+/#)7")8&55'):6)%5"&9)19:8)'6+8)$6+,)9$5+:)9%)6,"&:/')&55,".9&:"#8)
     $)&##9:96$() )1"/.67")&$').6$.",$%)6,)3+"%:96$%)'6+)7&')8&0"8)
    %9$.","/'(
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 66 of 110 PageID:
                                      572




    5,9&$)=&8",
    !66,#9$&:6,
    7&8",87,9&$A,+:6",%8"#+
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 67 of 110 PageID:
                                                573
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$"%#&'()*&$+&,')-.()/0/1
    -230040--
    567)!89:"
    ;<=>?) !"#$%>"&
    '30()-/(0-


    ?"&,)*,6+"%%6,(
    ,8")-++9.")6+)?9%&79/9:')&",09."%)8&%),"09"1"#):89%)%:+#"$:2%),"3+"%:()%"/+4,"56,:)&$#)%+556,:9$6)
    #6.+7"$:&:96$):6)"%:&7/9%8):8"9,)"/96979/9:')+6,),"&%6$&7/")&..6776#&:96$%)9$)&..6,#&$.")19:8),"/"0&$:)
    +"#",&/)/&1%8)
    ,8")+6//619$6)&..6776#&:96$%)&,"),"&%6$&7/")9$)6,#",):6)5,609#")"3+&/)&.."%%)&$#)5&,:9.95&:96$)9$)'6+,)
    ./&%%()

        !   $.."%%):6)%$&.9%:+66#:#,9$9%)#+,9$6)/&7%()./&%%)&$#)";&7%
        !   5,"&9%)#+,9$6):97"#)";&7%:3+9<<"%8)$$)";:"$%96$)6+)-0)79$+:"%)5",)86+,)6+):"%:9$6):97")
            %86+/#)7")&##"#):6):6:&/)";&7:3+9<):97"):6)&..6+$:)+6,)7,"&9%8
        !   !;:"$#"#):97")=-00>?)+6,)9$)./&%%:6$/9$"):97"#)";&7%)&$#)3+9<<"%
        !   !;:"$%96$)6$)$%%96$7"$:%()+5):6)14)86+,%()19:89$):8")&.&#"79.)%:&$#&,#%)6+):8").6+,%"
        !   %6)&.&$:,6$%)+6,)";&7%:3+9<<"%
        !   *",79%%96$):6)+%")&)/&5:65):):&7/":)+6,)$6:":&99$6
        !   @"#+."#)#9%:,&.:96$):"%:9$6)/6.&:96$
        !   =%")6+)&).675+:",)+6,)";&7%:)3+9<<"%()+$/"%%)9:).675,679%"%)&$)"%%"$:9&/)++$.:96$)6+):8")
            .6+,%"
        !   $55,60"#):6)8&0"):8")&79/9:'):6)1,9:")#9,".:/')6$):8")";&7)+$/"%%)9:).675,679%"%):8")
            "%%"$:9&/)"/"7"$:%)6+):8")";&7
    >)8&0")9$+6,7"#):89%)%:+#"$:)&76+:):8")9756,:&$.")6+)#9%.+%%9$6)19:8)'6+()9$)&):97"/')7&$$",()861):8")
    &760")&..6776#&:96$%)19//)7")975/"7"$:"#8
    >$):8").+,,"$:)8'7,9#)"$09,6$7"$:()&..6776#&:96$%)7&')7")975/"7"$:"#)&)79:)#9++","$:/'8));6,)+5):6)#&:")
    9$+6,7&:96$)6$)861):6)975/"7"$:)6$/9$")&..6776#&:96$%()9$./+#9$6)";&7)&..6776#&:96$%()5/"&%"),"+",)
    :6):8")-?&);&.+/:')&+556,:)5&6"8
    !89/")+&.+/:')&,"),"%56$%97/")+6,)"$:",9$6)";&7)&..6776#&:96$%)%+.8)&%)";:"$#"#):97")9$:6):8").6+,%")
    /"&,$9$6)7&$&6"7"$:)%'%:"7)="&$0&%()&&9&9()5/&.976&,#?():8")-++9.")6+)?9%&79/9:')&",09."%)%:&$#%),"&#')
    :6)%+556,:)'6+8)*/"&%")#6)$6:)8"%9:&:"):6),"&.8)6+:):6)+%)19:8)&$')3+"%:96$%),"6&,#9$6)861):6)975/"7"$:)
    &..6776#&:96$%)9$)&$)6$/9$")"$09,6$7"$:8
    >+)'6+)8&0")6:8",)9#"&%),"6&,#9$6)861):6).,"&:")&.."%%)+6,)'6+,).6+,%"()5&,:9.+/&,/')9$):8"),"76:")/"&,$9$6)
    "$09,6$7"$:()>)16+/#)7")8&55'):6)%5"&9)19:8)'6+8)A6+,)9$5+:)9%)6,"&:/')&55,".9&:"#8)
    >$)&##9:96$()>)1"/.67")&$').6$.",$%)6,)3+"%:96$%)'6+)7&')8&0"8)
    &9$.","/'(
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 68 of 110 PageID:
                                      574




    5,9&$) &8",
    "66,#9$&:6,
    7&8",87,9&$B,+:6",%8"#+
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 69 of 110 PageID:
                                                575
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$"%#&'()*&$+&,')-.()/0/1
    -230040--
    567)!89:"
    ;<=>? ;!<)?"=#!"#=<?
    $30%134%0-


    &"&,) ,6'"%%6,%
    "8")>''9(")6')&9%&79)9:')?",*9("%)8&%),"*9"+"#):89%)%:+#"$:,%),"-+"%:()%")'.,"/6,:)&$#)%+//6,:9$0)
    #6(+1"$:&:96$):6)"%:&7)9%8):8"9,)")90979)9:')'6,),"&%6$&7)")&((6116#&:96$%)9$)&((6,#&$(")+9:8),")"*&$:)
    '"#",&)))&+%2)
    "8")'6))6+9$0)&((6116#&:96$%)&,"),"&%6$&7)")9$)6,#",):6)/,6*9#")"-+&))&(("%%)&$#)/&,:9(9/&:96$)9$)'6+,)
    ()&%%%)

        !   ;(("%%):6)%$&(3%4'66#4#,9$3%)#+,9$0))&7%()()&%%)&$#)"5&1%
        !   5,"&3%)#+,9$0):91"#)"5&1%4-+966"%2);$)"5:"$%96$)6')-0)19$+:"%)/",)86+,)6'):"%:9$0):91")
            %86+)#)7")&##"#):6):6:&))"5&14-+96):91"):6)&((6+$:)'6,)7,"&3%2
        !   <5:"$#"#):91")7-0089)'6,)9$)()&%%46$)9$"):91"#)"5&1%)&$#)-+966"%
        !   <5:"$%96$)6$);%%90$1"$:%()+/):6)14)86+,%()+9:89$):8")&(&#"19()%:&$#&,#%)6'):8")(6+,%"
        !   :6)?(&$:,6$%)'6,)"5&1%4-+966"%
        !    ",19%%96$):6)+%")&))&/:6/)4):&7)":)'6,)$6:":&39$0
        !   ="#+("#)#9%:,&(:96$):"%:9$0))6(&:96$
        !   #%")6')&)(61/+:",)'6,)"5&1%4)-+966"%()+$)"%%)9:)(61/,619%"%)&$)"%%"$:9&))'+$(:96$)6'):8")
            (6+,%"
        !   ;//,6*"#):6)8&*"):8")&79)9:'):6)+,9:")#9,"(:)')6$):8")"5&1)+$)"%%)9:)(61/,619%"%):8")
            "%%"$:9&))")"1"$:%)6'):8")"5&1
    ;)8&*")9$'6,1"#):89%)%:+#"$:)&76+:):8")91/6,:&$(")6')#9%(+%%9$0)+9:8)'6+()9$)&):91")')1&$$",()86+):8")
    &76*")&((6116#&:96$%)+9)))7")91/)"1"$:"#2
    ;$):8")(+,,"$:)8'7,9#)"$*9,6$1"$:()&((6116#&:96$%)1&')7")91/)"1"$:"#)&)79:)#9''","$:)'2))<6,)+/):6)#&:")
    9$'6,1&:96$)6$)86+):6)91/)"1"$:)6$)9$")&((6116#&:96$%()9$()+#9$0)"5&1)&((6116#&:96$%()/)"&%"),"'",)
    :6):8")>&?)<&(+):')?+//6,:)/&0"2
    !89)")'&(+):')&,"),"%/6$%97)")'6,)"$:",9$0)"5&1)&((6116#&:96$%)%+(8)&%)"5:"$#"#):91")9$:6):8")(6+,%")
    )"&,$9$0)1&$&0"1"$:)%'%:"1)7!&$*&%()?&3&9()5)&(376&,#9():8")>''9(")6')&9%&79)9:')?",*9("%)%:&$#%),"&#')
    :6)%+//6,:)'6+2) )"&%")#6)$6:)8"%9:&:"):6),"&(8)6+:):6)+%)+9:8)&$')-+"%:96$%),"0&,#9$0)86+):6)91/)"1"$:)
    &((6116#&:96$%)9$)&$)6$)9$")"$*9,6$1"$:2
    ;')'6+)8&*")6:8",)9#"&%),"0&,#9$0)86+):6)(,"&:")&(("%%)'6,)'6+,)(6+,%"()/&,:9(+)&,)')9$):8"),"16:"))"&,$9$0)
    "$*9,6$1"$:();)+6+)#)7")8&//'):6)%/"&3)+9:8)'6+2)=6+,)9$/+:)9%)0,"&:)')&//,"(9&:"#2)
    ;$)&##9:96$();)+")(61")&$')(6$(",$%)6,)-+"%:96$%)'6+)1&')8&*"2)
    ?9$(",")'(
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 70 of 110 PageID:
                                      576




    5,9&$)>&8",
    !66,#9$&:6,
    1&8",27,9&$?,+:0",%2"#+
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                       Page 71 of 110 PageID:
                                                577
                                            !""#$%&'"&(#)*+#,#-.&/%01#$%)                     (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                     !"##"$%&'%())&**&+(#,&-./0
    !"#$"%#&'()*&$+&,')-.()/0/1
    -230040--
    567)!89:"
    ;<=>=;? )?!<"# )$%&
    '30(1.-(0-


    $"&,)),6*"%%6,(
      8")+**9,")6*)$9%&79-9:').",/9,"%)8&%),"/9"0"#):89%)%:+#"$:1%),"2+"%:()%"-*3,"46,:)&$#)%+446,:9$5)
    #6,+6"$:&:96$):6)"%:&7-9%8):8"9,)"-95979-9:')*6,),"&%6$&7-")&,,6666#&:96$%)9$)&,,6,#&$,")09:8),"-"/&$:)
    *"#",&-)-&0%7)
      8")*6--609$5)&,,6666#&:96$%)&,"),"&%6$&7-")9$)6,#",):6)4,6/9#")"2+&-)&,,"%%)&$#)4&,:9,94&:96$)9$)'6+,)
    ,-&%%()

        !   ;,,"%%):6)%$&,8%9*66#9#,9$8%)#+,9$5)-&7%(),-&%%)&$#)":&6%
        !   5,"&8%)#+,9$5):96"#)":&6%92+9;;"%7);$)"::"$%96$)6*)-0)69$+:"%)4",)86+,)6*):"%:9$5):96")
            %86+-#)7")&##"#):6):6:&-)":&692+9;):96"):6)&,,6+$:)*6,)7,"&8%7
        !   <::"$#"#):96")=-00>?)*6,)9$),-&%%96$-9$"):96"#)":&6%)&$#)2+9;;"%
        !   <::"$%96$)6$);%%95$6"$:%()+4):6)14)86+,%()09:89$):8")&,&#"69,)%:&$#&,#%)6*):8"),6+,%"
        !   &6).,&$:,6$%)*6,)":&6%92+9;;"%
        !   )",69%%96$):6)+%")&)-&4:64)9):&7-":)*6,)$6:":&89$5
        !   ="#+,"#)#9%:,&,:96$):"%:9$5)-6,&:96$
        !   @%")6*)&),664+:",)*6,)":&6%9)2+9;;"%()+$-"%%)9:),664,669%"%)&$)"%%"$:9&-)*+$,:96$)6*):8")
            ,6+,%"
        !   ;44,6/"#):6)8&/"):8")&79-9:'):6)0,9:")#9,",:-')6$):8")":&6)+$-"%%)9:),664,669%"%):8")
            "%%"$:9&-)"-"6"$:%)6*):8")":&6
    <)8&/")9$*6,6"#):89%)%:+#"$:)&76+:):8")9646,:&$,")6*)#9%,+%%9$5)09:8)'6+()9$)&):96"-')6&$$",()860):8")
    &76/")&,,6666#&:96$%)09--)7")964-"6"$:"#7
    <$):8"),+,,"$:)8'7,9#)"$/9,6$6"$:()&,,6666#&:96$%)6&')7")964-"6"$:"#)&)79:)#9**","$:-'7))?6,)+4):6)#&:")
    9$*6,6&:96$)6$)860):6)964-"6"$:)6$-9$")&,,6666#&:96$%()9$,-+#9$5)":&6)&,,6666#&:96$%()4-"&%"),"*",)
    :6):8")+$.)?&,+-:').+446,:)4&5"7
    !89-")*&,+-:')&,"),"%46$%97-")*6,)"$:",9$5)":&6)&,,6666#&:96$%)%+,8)&%)"::"$#"#):96")9$:6):8"),6+,%")
    -"&,$9$5)6&$&5"6"$:)%'%:"6)=>&$/&%().&8&9()5-&,876&,#?():8")+**9,")6*)$9%&79-9:').",/9,"%)%:&$#%),"&#')
    :6)%+446,:)'6+7))-"&%")#6)$6:)8"%9:&:"):6),"&,8)6+:):6)+%)09:8)&$')2+"%:96$%),"5&,#9$5)860):6)964-"6"$:)
    &,,6666#&:96$%)9$)&$)6$-9$")"$/9,6$6"$:7
    <*)'6+)8&/")6:8",)9#"&%),"5&,#9$5)860):6),,"&:")&,,"%%)*6,)'6+,),6+,%"()4&,:9,+-&,-')9$):8"),"66:")-"&,$9$5)
    "$/9,6$6"$:()<)06+-#)7")8&44'):6)%4"&8)09:8)'6+7)%6+,)9$4+:)9%)5,"&:-')&44,",9&:"#7)
    <$)&##9:96$()<)0"-,66")&$'),6$,",$%)6,)2+"%:96$%)'6+)6&')8&/"7)
    .9$,","-'(
Case 3:23-cv-02597-MAS-TJB    Document 35   Filed 12/27/24   Page 72 of 110 PageID:
                                      578




    5,9&$)A&8",
    >66,#9$&:6,
    6&8",77,9&$B,+:5",%7"#+
Case 3:23-cv-02597-MAS-TJB            Document 35 Filed 12/27/24                        Page 73 of 110 PageID:
                                               579
                                           !""#$%&'"&(#)*+#,#-.&/%01#$%)                      (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                    !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+,-.,"(/0'(1211
    /342202//
    5*.(67#8,

    !"##$%

    &'()*#"++",*()*+$*-$./(,0*+'1+%*2'(#"*".,$##"3*1+*45+6",)*7.(8",)(+9%*5*.(67#8,*21)*1::,$8"3*/$,*+'"*
    /$##$2(.6*1--$00$31+($.);
        !    9::,;;(8*(;<%:=;>?**$>$"#<=;($ "#<!("%.;'(:"%;;(%<$(,#%-;
        !    5",%=;($ "#<!(8#-,$(,#%-;>$ #%%,;&(9<(,#8,<;#*<(*?(/2(-#< 8,;(',"(7* "(*?(8,;8#<!(8#-,(
             ;7* "$(.,(%$$,$(8*(8*8%"(,#%->$ #%(8#-,(8*(%::* <8(?*"(.",%=;&
        !    (#8,<$,$(8#-,()/22*+(?*"(#<(:"%;;>*<"#<,(8#-,$(,#%-;(%<$($ #%%,;
        !    (#8,<;#*<(*<(9;;#!<-,<8;'( '(8*(,0(7* ";'(-#87#<(87,(%:%$,-#:(;8%<$%"$;(*?(87,(:* ";,
        !    )*(.:%<8"*<;(?*"(,#%-;>$ #%%,;
        !    /,"-#;;#*<(8*( ;,(%("%'8*'(>(8%.",8(?*"(<*8,8%=#<!
        !    0,$ :,$($#;8"%:8#*<(8,;8#<!("*:%8#*<
        !    1;,(*?(%(:*-' 8,"(?*"(,#%-;>($ #%%,;'( <",;;(#8(:*-'"*-#;,;(%<(,;;,<8#%"(? <:8#*<(*?(87,(
             :* ";,
        !    9''"*+,$(8*(7%+,(87,(%.#"#8&(8*(-"#8,($#",:8"&(*<(87,(,#%-( <",;;(#8(:*-'"*-#;,;(87,(
             ,;;,<8#%"(,",-,<8;(*?(87,(,#%-
    &'()*#"++",*()*0"1.+*1)*6".",1#*.$+(-"%*1.3*)'$5#3*.$+*<"*5)"3*+$*,"-"(8"*1--$00$31+($.)*(.*-#1))")*
    $//","3*1+*45+6",)*7.(8",)(+9=*

    >#"1)"*3$*.$+*'")(+1+"*+$*,"1-'*$5+*+$*5)*(/*9$5*'18"*1.9*?5")+($.)=

     (.-","#9%




    5"#%<(2%7,"
    3**"$#<%8*"
    -%7,"&."#%<4" 8!,";&,$
Case 3:23-cv-02597-MAS-TJB            Document 35 Filed 12/27/24                        Page 74 of 110 PageID:
                                               580
                                           !""#$%&'"&(#)*+#,#-.&/%01#$%)                      (%7&6"'5*67&*%"
                                                !"#$%&'()*%+,--.%&"/'*%0123                   %7(<</#*'*#9(&6"'5*67&*%"
                                                4"'5*67.%89*%&','*%:)/;*67/'$%(<%=*>%?*67*$
                                                32%?($#*% /-!*6%0;*)"*                        (&%$2$)*#*)+111%
                                                "/7#,',>,$.%=?%#$$32                          <&%,+*)223)++$$



                                    !"##"$%&'%())&**&+(#,&-./0
    !"#$%&'()*+,*-.*"(/0'(1211
    /342252//
    67.(89#,*

    !"##$%

    &'()*#"++",*()*+$*-$./(,0*+'1+%*2'(#"*".,$##"3*1+*45+6",)*7.(8",)(+9%*67.(89#,**21)*1::,$8"3*/$,*+'"*
    /$##$2(.6*1--$00$31+($.);
        !    :;;*<<(,7(<=%;><? 77$?$"#=><($!"#="(#%.<'(;#%<<(%=$(*$%-<
        !    6"*%><($!"#="(,#-*$(*$%-<?%!#&&*<'(:=(*$,*=<#7=(7 (/2(-#=!,*<(+*"(97!"(7 (,*<,#="(,#-*(
             <97!#$(.*(%$$*$(,7(,7,%#(*$%-?%!#&(,#-*(,7(%;;7!=,( 7"(."*%><'
        !    ($,*=$*$(,#-*()/22*+( 7"(#=(;#%<<?7=##=*(,#-*$(*$%-<(%=$(%!#&&*<
        !    ,7();%=,"7=<( 7"(*$%-<?%!#&&*<
        !    -*"-#<<#7=(,7(!<*(%(#%+,7+(?(,%.#*,( 7"(=7,*,%>#="
        !    .*$!;*$($#<,"%;,#7=(,*<,#="(#7;%,#7=
        !    /<*(7 (%(;7-+!,*"( 7"(*$%-<?(%!#&&*<'(!=#*<<(#,(;7-+"7-#<*<(%=(*<<*=,#%#( !=;,#7=(7 (,9*(
             ;7!"<*
    &'()*#"++",*()*0"1.+*1)*6".",1#*.$+(-"%*1.3*)'$5#3*.$+*<"*5)"3*+$*,"-"(8"*1--$00$31+($.)*(.*-#1))")*
    $//","3*1+*45+6",)*7.(8",)(+9=*

    >#"1)"*3$*.$+*'")(+1+"*+$*,"1-'*$5+*+$*5)*(/*9$5*'18"*1.9*?5")+($.)=

     (.-","#9%




    6"#%=(0%9*"
    177"$#=%,7"
    -%9*"'."#%=2"!,"*"<'*$!
Case 3:23-cv-02597-MAS-TJB   Document 35   Filed 12/27/24   Page 75 of 110 PageID:
                                     581




                              EXHIBIT
                                “B.”
  Case 3:23-cv-02597-MAS-TJB                         Document 35   Filed 12/27/24   Page 76 of 110 PageID:
                                                             582                                 Exhibit “B.”

  From: Heidi Nicklaus heidinic@echo.rutgers.edu
Subject: RE: Shoulder Injury (affects writing and typing)
   Date: February 17, 2021 at 4:59 PM
     To: Bob White rdw99@scarletmail.rutgers.edu


        Hello,
        Letters went out to your professors this afternoon.
        Best….

        Heidi Nicklaus
        Coordinator with Dean of Students Office
        Pronouns: She, Her, Hers
        88 College Avenue
        New Brunswick, NJ 08901
        heidi.nicklaus@rutgers.edu
        deanofstudents@echo.rutgers.edu




        From: Heidi Nicklaus
        Sent: Wednesday, February 17, 2021 10:54 AM
        To: 'ROBERT WHITE' <rdw99@scarletmail.rutgers.edu>
        Subject: RE: Shoulder Injury (affects writing and typing)

        Hello,
        Thank you for confirming what you need. It looks like we don’t need to speak on the
        phone. I’ll write a letter to professors for (Advanced Calc for Engineers, Intro to
        entrepreneurship, and Thermodynamics) and request extensions on the assignments
        during those two weeks. Please note that professors have the final decision on this
        request.
        I will let you know once the letters have gone out.
        Best…
        Heidi Nicklaus
        Coordinator with Dean of Students Office
        Pronouns: She, Her, Hers
        88 College Avenue
        New Brunswick, NJ 08901
        heidi.nicklaus@rutgers.edu
        deanofstudents@echo.rutgers.edu




        From: ROBERT WHITE <rdw99@scarletmail.rutgers.edu>
        Sent: Tuesday, February 16, 2021 7:21 PM
        To: Heidi Nicklaus <heidinic@echo.rutgers.edu>
        Subject: Re: Shoulder Injury (affects writing and typing)

        Tomorrow would be good or tonight after 8pm. However, I know I greatly over complicated
Case 3:23-cv-02597-MAS-TJB   Document 35   Filed 12/27/24   Page 77 of 110 PageID:
                                     583




                              EXHIBIT
                                “C.”
            Case 3:23-cv-02597-MAS-TJB
Grade Appeals | Rutgers University School of Engineering   Document 35                Filed 12/27/24   Page 78 of 110 PageID:
                                                                                                                          3/25/24, 8:20 PM
                                                                   584                                                       Exhibit “C.”

The Wayback Machine - https://web.archive.org/web/20230306023143/https://soe.rutgers.edu/oas…


                                                                                                   Search
                                                                                                  Rutgers Home | Search Rutgers


                 About Us            Future Students             Current Students             Research       Resources

                 Alumni           Giving          Corporate



                                          Resources › Faculty and Staff Resources › Faculty Academic

                                          Resources ›


                                          Grade Appeals
                                          University policy on grade appeals: Students wishing
             View
                                          to file a complaint about a course grade, or a grade
             here>>
                                          received for a particular piece of work in a course,
                                          should first attempt to resolve the matter through
              Resourc
                                          discussion with the instructor. If the issue cannot be
              es
                                          satisfactorily resolved between student and instructor,
              Student                     the student may specify in writing the basis for the
              Resources
                                          complaint and request a review by the departmental
                Academic                  chairperson. A written complaint about a grade for
                Integrity
                                          work completed while the course is in progress must
                Office of                 be submitted to the departmental chairperson no later
                Student
                Access &                  than two weeks after notification of the grade. A
                Inclusion
                                          student must submit a written complaint about a final
                Study                     course grade to the Department Chair no later than
                Groups and
                Tutoring
                                          four weeks after the end of the exam period for that
                                          term. A student who wishes to appeal the decision of
                Student
                Organization              the department should appeal in writing to the office
                s                         of the dean of the faculty at the school offering the
                Career                    course. Written notification of the action taken by
                Services                  either the chairperson or by the dean will be sent to
                Counseling                the student within four weeks of the filing of the
                Services                  appeal, excluding those weeks in which classes are
                University                not in regular session.
                Computing

https://web.archive.org/web/20230306023143/https://soe.rutgers.edu/oas/gradeappeals                                                 Page 1 of 3
            Case 3:23-cv-02597-MAS-TJB
Grade Appeals | Rutgers University School of Engineering   Document 35                Filed 12/27/24   Page 79 of 110 PageID:
                                                                                                                          3/25/24, 8:20 PM
                                                                   585
                Services                  School of Engineering Grade Appeal
                Engineering               Process
                Computing
                Services
                                          The following shall be the official policy of the
                Facilities and            academic units of the School, unless an academic unit
                Labs
                                          submits an alternative procedure to the School for
                Poster                    approval. This policy shall apply to all grade appeals
                Printing
                                          at the undergraduate level.
              Faculty and
              Staff
              Resources                     1. Individual faculty members have primary
                                                 authority and responsibility in all aspects of
                Faculty
                Academic                         evaluating student course performance and
                Resources                        assigning grades, and are charged with carrying
                SoE Office                       out these responsibilities in a professional
                of Planning                      manner. The Dean’s office has the authority and
                and
                Administrati                     responsibility to deal with changes of grades in
                on
                                                 special and unusual cases such as those that
                Faculty                          might involve unprofessional faculty conduct in
                Committees
                and                              assigning the grade. Students should be aware,
                Meetings                         however, that neither Chairs nor Deans can
                Office of                        require an instructor to change a properly
                Student                          assigned course grade. Issues of disagreement
                Developmen
                t                                about whether, for example, a given assignment
                                                 was worth a B or an A are decided solely by the
                Engineering
                Computing                        individual instructor in charge.
                Services

                Facilities and              2. When a student believes that a course grade has
                Labs
                                               been improperly assigned, and discussions
                Poster                         between the instructor and the student have not
                Printing
                                               led to a resolution, the student has the option of
                Receiving                        making a formal appeal in writing guided by
                                                 the Grade Appeal Form to the Department Chair
              Pre-college
              Programs                           or the Undergraduate Director for the instructor’s
                                                 unit. The form must provide the basis for your
              Useful Links
                                                 appeal. Any relevant emails or documentation
              Richard                            should be included with the appeal.
              Weeks Hall
              of
              Engineering                   3. In cases where the Department Chair is the
              Space
                                                 involved instructor, the Department
              Reservations
                                                 Undergraduate Director will perform the duties as
              News

https://web.archive.org/web/20230306023143/https://soe.rutgers.edu/oas/gradeappeals                                              Page 2 of 3
            Case 3:23-cv-02597-MAS-TJB
Grade Appeals | Rutgers University School of Engineering   Document 35                Filed 12/27/24   Page 80 of 110 PageID:
                                                                                                                          3/25/24, 8:20 PM
                                                                   586
                                                 called for in this policy. In cases where the
              Faculty/Staff
              Directory                          Department Chair and the
                                                 Undergraduate Director are both the involved
                Directory by
                Department                       instructors, the Chair will notify the
                                                 Associate Dean for Academic Programs, who will
                                                 appoint a senior faculty member in the same unit
                                                 to perform the duties as called for in this policy.


                                            4. The Department Chair or the designee will meet
                                                 (together or separately) with the student and
                                                 with the instructor of the course. The Chair will
                                                 represent the department and recommend to the
                                                 instructor a decision by the department. In
                                                 cases where the instructor or student does not
                                                 agree with the recommendation, the Chair shall
                                                 forward the written materials associated with
                                                 the appeal, together with the recommendation
                                                 by the department to the SoE Associate Dean for
                                                 Academic Programs, Prof. Wade Trappe, who will
                                                 conduct the decanal review and make the final
                                                 decision on the student’s grade appeal at the
                                                 School of Engineering.

                                          Students who contact the dean's office before
                                          following the procedure of working with the instructor
                                          and then the department will be referred back to the
                                          instructor or department, where the most informed
                                          resolution of such matters is typically available.




             Adminstrative                Academic Services
             Offices                      Engineering Building
             Richard Weeks                98 Brett Road                                                            Stay
             Hall of                      Piscataway, NJ 08854                                                     Connected
             Engineering                  Student Info: (848) 445-2212; Fax: (732) 445-4092                        with the
             500                                                                                                   School of
             Bartholomew                                                                                           Engineering
             Road
             Piscataway, NJ
             08854


https://web.archive.org/web/20230306023143/https://soe.rutgers.edu/oas/gradeappeals                                              Page 3 of 3
Case 3:23-cv-02597-MAS-TJB   Document 35   Filed 12/27/24   Page 81 of 110 PageID:
                                     587




                              EXHIBIT
                                “D.”
Grade Appeals   Case 3:23-cv-02597-MAS-TJB                                  Document 35                    Filed 12/27/24                 Page 82 of 110 PageID:
                                                                                                                                                            3/25/24, 12:52 PM
                                                                                    588
The Wayback Machine - https://web.archive.org/web/20211107122633/https://chem.rutgers.edu/student-resources/grade-appeals
                                                                                                                                                                         Exhibit “D.”
  Search ...




                                                                                                        Department of Chemistry and Chemical Biology
   HOME         ACADEMICS       PEOPLE        RESEARCH        FACILITIES      NEWS & EVENTS         STUDENT RESOURCES           DIVERSITY        SUPPORT US     CONTACT US




                                                                                                                                                            Contacts
   Grade Appeals
                                                                                                                                                            Undergraduate Vice Chair
   Students wishing to file a complaint about a course grade, or a grade received for a particular piece of work in a course, should first                  Ralf Warmuth
   attempt to resolve the matter through discussion with the instructor. If the issue cannot be satisfactorily resolved between student and
   instructor, the student may specify in writing via the Grade Appeal Form the basis for the complaint and request a review by the program's               Undergraduate Coordinator
                                                                                                                                                            Ola Elshorafa
   chair. A written complaint about a grade for work completed while the course is in progress must be submitted to the program's chair no
   later than two weeks after notification of the grade. A student must submit a written complaint about a final course grade to the program's
   chair no later than four weeks after the end of the exam period for that semester.

   A student who wishes to appeal the decision of the department should appeal in writing to the office of the dean of the faculty offering the
   course. Written notification of the action taken by either the chair or by the dean will be sent to the student within four weeks of the filing of
   the appeal, excluding those weeks in which classes are not in regular session.

   All appeals, at the department and the decanal level, should contain the following information:

       The course number and section, semester, and instructor’s name
       An explanation of the grounds for the appeal
       A copy of the course syllabus and any other course information on the assignment or grading in question
       The materials at issue – the graded exam or assignment
       Any and all email or other written exchange you have had with the instructor and/or department about the issue

   If a student in an SAS course has followed the grade appeal procedure through the steps of discussion with the instructor and with the
   department or program, and still wishes to appeal to the office of the Dean of the Faculty, the student should be directed to address that
   written appeal to Susan Lawrence, Vice Dean for Undergraduate Education or Carolyn Moehling, Senior Associate Dean for
   Undergraduate Education, SAS Deans Office, 35 College Ave, CAC.

   Email is also fine, slawrence@sas.rutgers.edu or cmoehling@sas.rutgers.edu. Students who contact the Dean's office before following
   the procedure of contacting the instructor and then the department will be referred back to the instructor or department, where the most
   informed resolution of such matters is typically available.


   Non-Discrimination Policy
   Student claims that the assignment of the grade was, in part or in full, attributable to discrimination, should write directly to Susan
   Lawrence, Vice Dean for Undergraduate Education, who will provide the student with a copy of the nondiscrimination policy. The Vice
   Dean will refer the student to the Office of Employment Equity and will should the Office of Employment Equity directly about the complaint.
   Alternately, the student may write directly to the Office of Employment Equity http://uhr.rutgers.edu/uhr-units-offices/office-
   employment-equity.

   Additional information on the policies and procedures enforced by the Office of Employment Equity is available at
   http://uhr.rutgers.edu/uhr-units-offices/office-employment-equity. You also may contact Lisa Grosskreutz, Director of the Office of
   Employment Equity, at lisa.grosskreutz@rutgers.edu.




Connect with Rutgers             Explore SAS                                         Quick Links                       Social Media                       Contact Us

Rutgers Home                     Departments & Degree-Granting Programs              Schedule of Classes                   Facebook                                                     Department of Chem
Rutgers Today                    Other Instructional Programs                        Libraries                                                                                          123 Bevier Rd.
                                                                                                                           Twitter
myRutgers                        Majors & Minors                                     Webreg                                                                                             Piscataway, NJ 088
                                                                                                                           YouTube
Academic Calendar                Research Programs, Centers, & Institutes            Course Schedule Planner
                                                                                                                           LinkedIn
Calendar of Events                                                                   SAS Core Curriculum
                                                                                                                           Instagram                                                    Main Office Phone




https://web.archive.org/web/20211107122633/https://chem.rutgers.edu/student-resources/grade-appeals                                                                                    Page 1 of 2
Case 3:23-cv-02597-MAS-TJB   Document 35   Filed 12/27/24   Page 83 of 110 PageID:
                                     589




                              EXHIBIT
                                “E.”
           Case 3:23-cv-02597-MAS-TJB
Catalog Navigator : Student Grade Appeals                    Document 35           Filed 12/27/24           Page 84 of 110 PageID:
                                                                                                                               3/25/24, 4:46 PM
                                                                     590

                                                                                                                                      Exhibit “E”




                                                 New Brunswick Undergraduate Catalog 2022-2024          General Information      University

                                                 Policies and Procedures      Grades and Records       Student Grade Appeals


                                                 Student Grade Appeals


               About the University
               Undergraduate Education in        Students wishing to file an appeal of a course grade, or a grade received for a particular piece of
               New Brunswick                     work in a course, should first attempt to resolve the matter through discussion with the instructor. If
               Programs of Study and             the issue cannot be satisfactorily resolved between student and instructor, the student may specify
               Courses for Liberal Arts and      in writing the basis for the appeal and request a review by the departmental chair. A written appeal
               Sciences Students                 about a grade for work completed while the course is in progress must be submitted to the
               School of Arts and Sciences       departmental chair no later than two weeks after notification of the grade. A student must submit a
                                                 written appeal about a final course grade to the departmental chair no later than four weeks after
               School of Environmental and       the end of the exam period for that semester.
               Biological Sciences
               Mason Gross School of the         A student who wishes to protest the decision of the department should appeal in writing to the
               Arts                              office of the dean of the faculty offering the course. Written notification of the action taken by either
                                                 the chair or by the dean will be sent to the student within four weeks of the filing of the appeal,
               Ernest Mario School of            excluding those weeks in which classes are not in regular session.
               Pharmacy
               Rutgers Business School:          Student assertions or complaints that a grade or other academic decision was the result of
               Undergraduate-New                 discrimination, harassment, or retaliation are not reviewed as part of a school's grade appeal
               Brunswick                         process, even if asserted at a later stage during a pending grade appeal. The Office of
               School of Communication
                                                 Employment Equity (OEE) is responsible for enforcing the university's policies prohibiting
               and Information                   discrimination, harassment, and retaliation (including Policies 60.1.12 and 60.1.28), which extend
                                                 to adverse academic decisions, such as the issuance of a negative grade in an assignment or
               School of Engineering             course. If the assertion is made after the grade appeal process has begun, action on the grade
               Edward J. Bloustein School        appeal will be suspended until the OEE completes its investigation concerning the discrimination
               of Planning and Public Policy     allegation. Student allegations that the assignment of the grade was, in part or in full, attributable
                                                 to discrimination, should write directly to the Office of Employment Equity.
               School of Management and
               Labor Relations                   Additional information on the policies and procedures enforced by the Office of Employment
               Honors College of Rutgers         Equity is available at http://uhr.rutgers.edu/uhr-units-offices/office-employment-equity.
               University-New Brunswick
               General Information
                 University Policies and
                 Procedures
                   Registration
                   Grades and Records

                    Other Grade Symbols
                    Credit Prefixes
                    Courses Completed by
                    High School Students
                    Semester Grades
                    Warning Notices



https://catalogs.rutgers.edu/generated/nb-ug_current/pg1461.html                                                                                Page 1 of 2
           Case 3:23-cv-02597-MAS-TJB
Catalog Navigator : Student Grade Appeals                    Document 35             Filed 12/27/24            Page 85 of 110 PageID:
                                                                                                                                  3/25/24, 4:46 PM
                                                                     591
                    Student Grade Appeals
                    Cumulative Grade-Point
                    Average
                    Transcripts
                    Holds
                   Attendance
                   Cancellation of Classes
                   Rutgers, The State
                   University of New
                   Jersey, Academic
                   Integrity Policy
                   University Code of
                   Student Conduct
                   Summary
                   Peer-to-Peer File
                   Sharing
                   University Safety and
                   Security
                   Office for Violence
                   Prevention and Victim
                   Assistance
                   Disability Services
                   Administrative
                   Procedures for
                   Responding to
                   Disruptions
                   Policy Prohibiting
                   Discrimination and
                   Harassment
                   Title IX Policy and
                   Grievance Procedures
                   Drug-Free Schools and
                   Campuses Act
                   Equity in Athletics
                   Disclosure Act Reports
                   Graduation Rates
                   Teacher Preparation
                   Program Pass Rates
                   Student Records and
                   Privacy Rights under
                   FERPA
                   Student Residency for
                   Tuition Purposes
                   Research Policies
                   Patent Policy
               Divisions of the University

                                             For additional information, contact RU-info at 732/932-info (4636) or colonelhenry.rutgers.edu.
                                             Comments and corrections to: Campus Information Services.

                                             © 2005 Rutgers, The State University of New Jersey. All rights reserved.




https://catalogs.rutgers.edu/generated/nb-ug_current/pg1461.html                                                                               Page 2 of 2
Case 3:23-cv-02597-MAS-TJB   Document 35   Filed 12/27/24   Page 86 of 110 PageID:
                                     592




                              EXHIBIT
                                “F.”
Case 3:23-cv-02597-MAS-TJB               Document 35          Filed 12/27/24        Page 87 of 110 PageID:
                                                 593
                                                                                                           Exhibit F




             UNIVERSITY ETHICS AND COMPLIANCE INVESTIGATIVE PROCESS
 Once an allegation or complaint is determined to fall to University Ethics and Compliance for review, UEC
 shall initiate the investigative process. The process includes three steps: Initial Analysis, Investigation, and
 Reporting the Findings as summarized below. Additional information can be found following the process
 in sections noted as Definitions, Investigative Groups, and Authority.

 I. INITIAL ANALYSIS
    Upon receiving a complaint, UEC’s Investigative Group Lead or designee shall review the allegation(s)
    within 3 business days of receiving the complaint. The initial review and analysis will include a
    determination of the types of issues alleged, regulations and policies implicated, whether further
    investigation is warranted, referrals to other Investigative Groups or the Responsible Party for
    resolution, and any additional required notifications. Once the initial analysis is complete, the
    Investigative Group Lead or designee will assign the matter to an Investigator, refer the matter to
    another Investigate Group or Responsible Party, or determine that no further action is necessary and
    close the case. The Investigative Group Lead will ensure that any reported allegation(s) of the
    Requirements are entered into the UEC Incident Reporting System within 3 business days of receipt of
    the complaint.
       1. Assign matters to an Investigator or Department Investigator no later than one week after
          receiving the initial report. Investigations shall commence as soon as possible following
          assignment, cases will be prioritized and pursued based on the Investigative Group Lead or
          Responsible Party’s discretion.
       2. Refer matters no later than one week to the appropriate Investigative Group which administers
          relevant policies at the University or to the Responsible Party whose school or department is
          identified in the complaint as appropriate. The Investigative Group or Responsible Party shall
          review the referred matter and advise the Investigative Group Lead at the earliest possible time if
          their unit will conduct an investigation.
       3. Case closure is warranted when insufficient evidence is received in the complaint and the
          Investigative Group Lead or designee or the Responsible Party has made a reasonable attempt to
          gather additional information relevant to the allegation, or when the allegations, even if accurate,
          would not constitute a violation of the Requirements.
     Any party conducting an initial analysis or investigation should take immediate action if warranted to
     prevent injury or hazard to people or property or to avoid any continuing non-compliance.



 II. INVESTIGATION
     Specific investigative steps and responsibilities may be dependent on the specific nature or
     circumstances of the allegation and may be conducted by UEC, a Departmental Investigator, or an
     external third-party investigator retained by the University for that purpose. It is paramount that matters
     are reviewed thoroughly, fairly, objectively, and timely to ensure the investigation’s effectiveness.
     Upon being assigned a matter, Investigators should ensure that they conduct each of the following
     phases of the investigation: (1) Investigative Assessment & Planning, (2) Fact Finding Phase, (3)
     Evidence Analysis, and (4) Reporting the Findings.
Case 3:23-cv-02597-MAS-TJB            Document 35         Filed 12/27/24        Page 88 of 110 PageID:
                                              594




     1. Investigative Assessment & Planning
        Upon assignment, an investigator shall conduct a preliminary inquiry into the allegations made
        and facts reported in the complaint to determine whether further investigation is warranted. In
        general, additional investigation is warranted if the allegation is supported by specific and
        sufficient information to conclude that if the allegation were true, a violation of the Requirements
        has occurred. During the preliminary inquiry, investigators should consider:

           •   What are the Requirements alleged to have been violated?
           •   Which school(s), unit(s), or department(s) are involved?
           •   Who are the Respondent(s) and who might be considered Investigative Participant(s)?
           •   What are the major questions that need to be answered to determine whether a violation of
               the Requirements has occurred?
           •   What immediate action(s) should take place to preserve relevant evidence?
           •   Are there collective bargaining process requirements that must be followed relative to the
               Respondent? May Weingarten rights be implicated during the interview process?
           •   What is the scope of the investigation as understood relative to the allegation and/or
               behavior giving rise to the investigation?
           •   Who will be interviewed?
           •   Is it likely that additional investigators or subject matter experts will be required?
           •   If the complainant is anonymous, what evidence can be collected to corroborate the
               allegations?
           •   What electronic, documentary, or witness evidence may exist to corroborate the
               allegations?
           •   Which University employee(s) need to know about the complaint, and who will make the
               appropriate notifications? If notifying a University employee may compromise aspects of
               the investigation, the investigator shall notify the next higher-level officer of the
               school/department.
           •   Do external State, federal, or other agencies need to be notified?
           •   What broader risks do the allegation(s) have on the University?
           •   What process and mechanism will be used to notify the complainant, respondent, and
               senior management of the investigation, as appropriate.

     2. Fact Finding Phase
        Conducting a comprehensive investigation requires judging the credibility of each Investigative
        Participant’s testimony, gathering and methodically reviewing and interpreting physical or
        electronic evidence, and understanding subject area expert analysis. Investigators must ensure they
        see the entire picture of the investigation by gathering and assessing all the facts. Some best
        practices may include:

           •   Comprehending the unit or department culture
           •   Understanding the unit’s reporting process and internal policies and procedures
           •   Considering the relevance of all documents, images, and devices
           •   Identifying all potential witnesses
           •   Identifying any potential experts who may be able to provide important context
Case 3:23-cv-02597-MAS-TJB             Document 35         Filed 12/27/24       Page 89 of 110 PageID:
                                               595




            •   Creating a chronology of relevant events
         Preservation of evidence is integral to the integrity of an investigation, and failure to preserve
         evidence immediately may hamper the investigation. Best practices for preserving original records
         include:
            •    Not marking or altering original physical/electronic records in any way
            •    Creating an inventory of records received, when and from whom they were obtained
            •    Notifying relevant University staff of documents which need to be preserved
            •    Ceasing automated data destruction and deletion processes
            •    Utilizing working copies of physical or electronic files to re-perform any analysis
            •    Utilizing a chain of custody form for any sequestered devices
            •    Storing sequestered documents and electronic devices in a secure location
        One of the most critical aspects of any investigation is what the parties or other investigative
        participant say during an interview. Therefore, interview notes should be accurate and complete. In
        conducting interviews, the investigator should:

            •    Have a general list of Investigative Participants that need to be interviewed and the
                 documents the interviewee will need to reference during the interview
            •    Be familiar with relevant documents, policies and procedures, or regulations relevant to
                 the allegation
            •    Consider whether another investigator should be present as a witness
            •    If feasible, obtain background information on the individual being interviewed
            •    Know what verbal or physical information you need from the interviewee
            •    Not be afraid to ask the questions that need to be answered
            •    Be cognizant of the interviewee’s demeanor
            •    Document any emotional reactions, specific language used, and other descriptive language
                 relayed during the interview
            •    Probe key issues in multiple ways and don’t accept vague answers to questions
            •    Schedule additional interviews if necessary

    3. Evidence Analysis
       Investigators utilize various tools to analyze facts relevant to the reported allegations in order to
       provide management with a sufficient information to determine whether the evidence warrants
       additional management action. These tools or procedures include inquiring, confirming, observing,
       inspecting, and re-performing steps in a process to help ensure the investigator’s assessment is
       reasonably accurate. To provide management with the information they need, investigators should:

            •    Ensure all relevant information has been reviewed, analyzed, and compared with other
                 evidence, identifying any inconsistencies
            •    Ensure that any conflicts have been identified and reconciled or disclosed
            •    Consider the credibility and quality of the evidence, from whom it was obtained, and under
                 what conditions
            •    Determine whether sufficient due-diligence was performed on the matter before drawing
                 any conclusions
Case 3:23-cv-02597-MAS-TJB                 Document 35          Filed 12/27/24        Page 90 of 110 PageID:
                                                   596




        4. Reporting the Findings
           The final report is the investigator’s opportunity to accurately document factual issues, evidence
           gathered, analysis performed, authoritative policy, and conclusion(s) reached on the allegations.
           Senior management will utilize the final report to understand key facts that were uncovered during
           the investigation to determine whether the conduct warrants disciplinary action and to implement
           additional procedures that may be needed to mitigate future risks. The structure of the investigator’s
           final report will depend on whether the allegations were unsubstantiated or substantiated.

              • Unsubstantiated Matters
                The UEC investigator may document the reasons for the determination in a Memorandum to
                the File, rather than preparing a case report, when the investigative findings do not substantiate
                wrongdoing. It is at the discretion of the Investigative Group Lead to determine whether the
                assigned investigator should prepare a formal report to be shared with the Responsible Party,
                if the matter warrants.

              • Substantiated Matters
                At the conclusion of the investigation, the investigator shall submit a final report to the
                Investigative Group Lead detailing the allegations reported, investigative findings, relevant
                regulations and/or policies, and the conclusion(s) reached. The Investigative Group Lead will
                provide a copy of the final report to the Responsible Party. Any additional related reports or
                communications drafted by the Responsible Party or their designee must also be forwarded to
                UEC.
                The Investigative Group Lead will ensure that the Responsible Party’s final report and/or
                management responses are reviewed and used to document the case outcome and mitigation
                steps taken in the Incident Management System. Responsible Party(s) who are issued a report
                which includes substantiated allegations will advise University Ethics and Compliance in
                writing within 30 business days of any actions taken to remediate the substantiated allegations.



 III.       TIMELY RESOLUTION
            UEC and relevant Responsible Parties will work to complete investigations and determinations as
            timely as possible. However, in no case should pressure to meet a particular deadline be allowed to
            influence the objectivity, impartiality, or thoroughness of the investigation.



 IV.        DEFINITIONS
            Complainant/Complaining Party – Any individual who files a complaint pursuant to policies,
            rules, laws, or university guidelines and expectations.
            Departmental Investigator – Any individual designated by the University to conduct an internal
            investigation on behalf of a department, school, or unit.
            Incident Management System – Complaint reporting system(s) utilized by UEC.
Case 3:23-cv-02597-MAS-TJB            Document 35         Filed 12/27/24        Page 91 of 110 PageID:
                                              597




       Investigator – Any individual conducting an internal investigation on behalf of the University
       through UEC.
       Investigative Groups – Any Rutgers department listed in Section IV of these Guidelines which is
       conducting investigations throughout the University and who have responsibility pursuant to
       Section III for investigating allegations of a violation of the Requirements (as defined).
       Investigative Group Lead – Any Rutgers employee whose job description includes overseeing
       UEC investigative activities.
       Investigative Participant – individual other than the respondent(s) or investigator(s) who plays a
       role either directly or indirectly in an investigation (e.g., complainant, witness, or subject matter
       expert).
       Non-retaliation statement – A statement advising the Responding Party of Rutgers’ prohibition
       on taking adverse action against any Investigative Participant who in good faith reports wrongful
       conduct or participates in an investigation.
       Respondent/Responding Party – Any individual who has had a complaint filed against them.
       Responsible Party – Dean, Unit Leader, or Vice President or other designated University
       employee who has authority over a particular school or department and who is responsible for
       reviewing allegations and implementing disciplinary and/or corrective action plans.
       Requirements – Federal and State laws and regulations, University Code of Ethics, University-
       wide and departmental policies and procedures, industry-specific professional standards, or other
       requirements or clear expectations of conduct for which a violation will form the basis for an
       independent and objective investigation by UEC.
       University Review – An investigation undertaken by UEC for which a formal complaint has not
       been filed by an individual related to a potential violation of federal or State law, University or
       school/department policy, or the University’s Code of Ethics. Generally, a University Review is
       initiated at the request of a member of the University’s senior leadership in response to specific
       concerns or questions.
       University Personnel – Any University employees, student employees, interns, or volunteers.



 V.    SELECT INVESTIGATIVE GROUPS AT RUTGERS
       Audit and Advisory Services investigates complaints of misuse/misappropriation of University
       resources.
       Office of Employment Equity investigates complaints alleging violations by University
       employees or other third parties of the following University’s Policies:
           o   Policy 60.1.12 Policy Prohibiting Discrimination and Harassment,
           o   Policy 60.1.13 Workplace Violence Policy,
           o   Policy 60.1.16 Conscientious Employee Protection Policy,
           o   Policy 60.1.33 Title IX Policy and Grievance Procedures.
Case 3:23-cv-02597-MAS-TJB            Document 35         Filed 12/27/24        Page 92 of 110 PageID:
                                              598




       Title IX Coordinators investigate alleged violations which implicate Title IX of the Education
       Amendments, University Policy 60.1.33 Title IX Policy and Grievance Procedures, and parts of
       Policy 10.2.11 Code of Student Conduct.
       Division of Intercollegiate Athletics: Office of Athletic Compliance investigates allegations of
       violations of NCAA, Big Ten, and University rules regarding intercollegiate athletics at Rutgers
       University-New Brunswick.
       University Ethics and Compliance investigates allegations of suspected violations of University
       policies, as well as federal and state laws and regulations, including, but not limited to,
       allegations of conflicts of interest, misuse/misappropriation of University resources, fraud,
       falsification/destruction of records, disclosure of personal data, clinical coding concerns,
       employee misconduct, and retaliation.



 VI.   AUTHORITY
       The University and the Board of Governors has established University Ethics and Compliance as
       one of the University’s Investigative Groups with authority to conduct internal investigations into
       allegations of violations of University policies, rules or requirements, and/or certain violations of
       State and federal ethics laws and regulations. Depending on the needs of a specific investigation,
       employees from UEC may assist other Investigative Groups in conducting an investigation and
       UEC may ask members of other Investigative Groups to assist in UEC investigations. In
       circumstances in which alleged behavior falls fully within a unit’s operational or management
       responsibility, UEC may refer the matter to a Responsible Party (i.e., unit leadership) to conduct a
       departmental investigation. The University, after evaluating initial allegations and facts related to
       an allegation or matter referred to UEC, may also recommend that the University engage an
       external investigator in some circumstances.
       University Ethics and Compliance may, at its discretion, refer alleged violations of the New
       Jersey Conflicts of Interest Law to the State Ethics Commission pursuant to N.J.S.A 52:13D-12 et
       seq.
       University Ethics and Compliance will follow the investigative processes established by another
       Investigative Group when asked to assist that Group with certain matters, such as:

         • Complaints investigated on behalf of the Title IX Coordinators or the Office of Employment
           Equity under University Policy 60.1.33: Title IX Policy and Grievance Procedures.
         • Complaints investigated under other University policies administered by the Office of
           Employment Equity.
         • Complaints reported or referred to Rutgers University Police Department (RUPD).
         • Matters in which the Office of General Counsel retains outside counsel to conduct an
           investigation independently or in consultation with an Investigative Group.

       In any particular investigation, the unique facts and circumstances of a particular investigation may
       require modifications to the process. For example, the need to preserve evidence under Policy
Case 3:23-cv-02597-MAS-TJB             Document 35          Filed 12/27/24        Page 93 of 110 PageID:
                                               599




        100.4.1 Preservation of and Access to University Data and Property, Policy 70.1.1 Acceptable Use
        Policy for Information Technology Resources, and other University policies or the need to protect
        the privacy or safety of individuals involved in accordance with University policies and State or
        federal regulations may affect the application of specific elements of these guidelines. These
        modifications to the investigative approach will be documented by the UEC investigator. These
        adjustments to the investigative framework shall not create rights in any third party, including
        respondents of investigations.
        In addition, UEC and other Investigative Groups may be asked by members of the University’s
        Senior Leadership Team, Chancellors, and/or Deans to conduct inquiries into other matters of
        interest. In those circumstances, UEC’s work shall be limited to gathering and summarizing
        relevant facts and providing context related to the specific matter in question.



 VII.   RIGHTS AND OBLIGATIONS OF RESPONDENTS AND OTHER PARTICIPANTS

          • All parties are entitled to an impartial, objective, and thorough investigation.
          • All parties are entitled to the highest standards of confidentiality subject to the requirements
            and expectations of relevant law and policy. All parties will be granted reasonable assistance
            of an interpreter or other accommodation as needed.
          • A Complaining Party has the right to be free from retaliation for filing a good faith Complaint.
          • A Complaining or Responding Party or an Investigative Participant who is a member of a
            collective bargaining unit, may have a support person present to observe during interviews.
          • A Responding Party will be provided with written notice advising them that they are the subject
            of an investigation. The notice will be provided at the earliest possible time and include
            sufficient information to advise the Responding Party of the allegations without compromising
            the investigation. No personal identifying information of the Complainant will be provided to
            the Responding Party. Under certain circumstances and for the legitimate needs of an
            investigation, a Responding Party may be provided details of the allegation(s) immediately
            prior to the initial interview.
          • A Responding Party will receive verbal or written notice of any new allegations raised during
            the course of an investigation.
          • A Responding Party will be provided the opportunity to explain their actions and to provide
            any information, documents, and names of other Investigative Participants that may be relevant
            to the investigation.
          • For substantiated complaints, University Ethics and Compliance will issue a formal report to
            the Responsible Party clearly indicating the allegations which were substantiated. This report
            will restate the allegations, briefly describe the investigative process, summarize the analysis
            of relevant interviews, documents, witness statements, and other relevant sources of
            information, identify Requirements that were violated, and explain how the investigator
            reached the conclusion that a violation of the relevant policy or standard had occurred.
Case 3:23-cv-02597-MAS-TJB           Document 35         Filed 12/27/24       Page 94 of 110 PageID:
                                             600




         • University Ethics and Compliance will not release copies of reports to Respondents,
           Complainants, Investigative Participants, and/or other interested parties other than the
           Responsible Party. The Responsible Party may release copies of the report at their discretion
           and for legitimate University purposes.
         • University Ethics and Compliance acts as a neutral fact finder which investigates and reports
           on allegations of violations of the Requirements. Final determination and disciplinary actions
           related to substantiated allegations are the responsibility of the Responsible Party and not
           University Ethics and Compliance.
         • Upon the completion of an investigation, the Responsible Party and Respondent(s) will be
           advised in writing if the complaint was unsubstantiated.

       Responding Parties or Investigative Participants shall not influence or intimidate, or attempt to
       influence or intimidate, the complainant or witnesses, or interfere with an investigation by
       tampering, destroying, withholding evidence or engaging in any other conduct which may affect
       an investigation. Responding Parties and Investigative Participants shall not discuss the
       investigation or their testimony with anyone other than investigators.
Case 3:23-cv-02597-MAS-TJB   Document 35   Filed 12/27/24   Page 95 of 110 PageID:
                                     601




                              EXHIBIT
                                “G.”
               Case 3:23-cv-02597-MAS-TJB
Grievance Process | Office of Disability Services                    Document 35              Filed 12/27/24                    Page 96 of 110 PageID:
                                                                                                                                                   3/25/24, 8:27 PM
                                                                             602                                                                  Exhibit “G”
  Rutgers University                   O8ce of Disability Services               Informal Resolution & Grievance Process (/students/informal-resolution-grievance-   Grievance
                                                                      Students
  (https://www.rutgers.edu)            (/)                                       process)                                                                            Process



                                                                     Grievance Process
                                     Grievance Process for Students with Disabilities
RUTGERS COMMITMENT AND POLICY STATEMENT
Rutgers is dedicated to the philosophy that all individuals with disabilities are assured equal opportunity, access and participation in the
University’s courses, programs, activities, services and facilities.R We recognize that diverse abilities are a source of strength, empowerment, and
enrichment for the entire university community and we are committed to the elimination of physical, instructional, and attitudinal barriers by
promoting awareness and understanding throughout the university community. Rutgers University is committed to providing equal educational
access for individuals with disabilities in accordance with applicable federal and state laws and in accordance with University's Policies
includingRPolicy 60.1.8:R Equal Employment Opportunity and Aurmative Action Policy (https://policies.rutgers.edu/sites/default/Mles/60.1.8%20-
%20current.pdf);RPolicy 60.1.12:R Policy Prohibiting Discrimination and Harassment (https://policies.rutgers.edu/60112-currentpdf); andRPolicy
70.1.5 World Wide Web Accessibility Policy (https://policies.rutgers.edu/sites/default/Mles/00016108.PDF).

At each Rutgers University campus (Camden, Newark, New Brunswick, and Rutgers Health (formerly RBHS)) there is anROuce of Disability
Services (ODS) (/ods-ouces)that provides reasonable academic adjustments, accommodations and services for students with disabilities.R For
information about the contacts and ouces of disability services for each Rutgers campus, please visit the visit theRODS (/ods-ouces)Rweb site
for information on how to apply and obtain academic adjustments, accommodations and services.

APPLICABILITY
Rutgers University has adopted this grievance procedure for students with disabilities, enrolled at Rutgers University, as the means to provide for
prompt and equitable resolution of grievances alleging any action related to the following types of concerns or issues within a Rutgers course,
program or activity:
1. Complaints that a student has been denied requested academic adjustments, accommodations, services or modiMcations related to Rutgers
   courses.
   R
2. A student’s allegation of the inaccessibility of a Rutgers course, program, service, activity, facility, parking, or transportation. R
   R
3. Complaints that an accommodation previously granted to a student has not been implemented.
These procedures do not apply to other types of complaints of alleged discrimination or harassment based on a student’s disability, which are
addressed by other University ouces. If a student believes that they have been discriminated or harassed because of their disability by a
Rutgers employee or third party, the student should contact the Ouce of Equal Opportunity (OEE) and should not utilize this grievance process.R
For further information on the process of contacting OEE, please visit theROEE web site (http://uhr.rutgers.edu/policies-resources/policies-
procedures/policy-and-compliance-guidelines/discrimination-and). RIf a student believes that they have been discriminated against or harassed
because of their disability by a Rutgers student, the student should contact the Ouce of Student Conduct on their campus. RIf a student is
unsure which process applies to their particular situation, a student can follow the procedures in Section V and the appropriate University
personnel will be assigned to their case and make contact with the student.

OVERVIEW OF THE GRIEVANCE PROCEDURES
Rutgers has adopted this grievance procedure for students with disabilities, enrolled at Rutgers, as the means to provide for prompt and
equitable resolution of grievances for the reasons listed in Section II. Students also have the option of pursuing the University’s Informal
Resolution Process (/students/informal-resolution-grievance-process/informal-resolution). It is encouraged that a complainant reports an

https://ods.rutgers.edu/students/informal-resolution-grievance-process/grievance-process                                                                                  Page 1 of 6
            Case 3:23-cv-02597-MAS-TJB
Grievance Process | Office of Disability Services            Document 35             Filed 12/27/24   Page 97 of 110 PageID:
                                                                                                                         3/25/24, 8:27 PM
                                                                     603
incident immediately when it occurs or as soon as possible thereafter.RGrievances should be submitted no later than sixty (60) days of the date
the person Mling the complaint becomes aware of the alleged action. RReports Mled after 60 days will still be accepted. However, it may be more
diucult for the University to investigate and provide a remedy or resolution to a complaint the longer time passes from the incident.

If a student opts to pursue the Informal Resolution Process (/students/informal-resolution-grievance-process/informal-resolution) they may
later elect to pursue the University’s Grievance Procedure, including after the informal resolution process has already been initiated or if not
satisMed with the resolution of the informal resolution process. However, if the student accepts the proposed resolution as part of the Informal
Resolution Process, the matter may not be reopened through the University’s Grievance Procedure.

Although students are encouraged to attempt to resolve complaints pertaining to disabilities by using the University’s Informal Resolution
Process or Grievance Procedures, they have the right to Mle a complaint directly with theRU.S. Department of Education, Ouce for Civil Rights
(OCR) (https://www2.ed.gov/about/ouces/list/ocr/docs/howto.html?src=rt), Enforcement Ouce, 32 Old Slip, 26th Floor, New York, NY 10005-
2500 or theRNew Jersey Ouce of the Attorney General, Division of Civil Rights (https://www.njoag.gov/about/divisions-and-ouces/division-on-
civil-rights-home/division-on-civil-rights-Mle-a-complaint/).

WHO CAN FILE A GRIEVANCE
Any student with a disability enrolled at Rutgers University can utilize these Disability Grievance Procedures for the reasons mentioned in
Section II.

Within these procedures, the student who Mles a grievance within these procedures will be referred to as theRComplainantRand the individual (s)
who the student has Mled the grievance about will be considered theRRespondent.

NOTE:
When the Complainant is someone other than the victim of the alleged conduct, the victim also will be deemed the Complainant for purposes of
the rights and options available under these grievance procedures.

HOW TO FILE A GRIEVANCE
The following information is required for any grievance to move forward regardless of the means Mled:
1. The name, current mailing address, phone number (where you can be reached during normal business hours) and email address of the
   person initiating the grievance.
   R
2. A full description of the alleged act(s) in suucient enough detail to enable the individual investigating to understand what occurred, when it
   occurred, and the basis for the alleged complaint.
   R
3. A summary of the steps the complainant has already taken in attempt to resolve the problem.R This would include the names of persons
   involved; contact information of those involved (if available); and the departments or ouces inside and outside of the University already
   contacted.
   R
4. A statement of the requested resolution (What would the complainant like to see happen to resolve this matter).
   R
5. Any supporting documentation, including any correspondence related to the matter.
The grievance process may be initiated through any of the following preferred means:C
    Online:CComplete the Grievance Form for Students with Disabilities (https://rutgers.ca1.qualtrics.com/jfe/form/SV_e2th7OKnMtAKGx).R This
    form provides a template for the information needed to move forward with the grievance.
    R
    Mail:RYou may Mle by mailRto the following address:


https://ods.rutgers.edu/students/informal-resolution-grievance-process/grievance-process                                              Page 2 of 6
            Case 3:23-cv-02597-MAS-TJB
Grievance Process | Office of Disability Services                Document 35         Filed 12/27/24    Page 98 of 110 PageID:
                                                                                                                          3/25/24, 8:27 PM
                                                                         604
R R R R R R R R R R ADA/504 Coordinator
R R R R R R R R R RR1 Liberty Plaza, 335 George St. Suite 2107
RR R R R R R R R R RNew Brunswick, NJ 08901R

If you submit in this manner, please include the required information listed above in "How to File a Grievance."
    Email:CRYou may email the completed Grievance Form for Students with Disabilities or your own signed letter to
    ADA_Compliance@uec.rutgers.edu (mailto:radr@echo.rutgers.edu).
If you submit in this manner, please include the required information listed aboveR"How to File a Grievance."

Note: Other forms of Mling will be considered upon request such as a face-to-face or other means of verbal communication.R In order to do so,
please contact the ADA/504 Compliance Oucer by email: ADA_Compliance@uec.rutgers.edu (mailto:radr@echo.rutgers.edu) or phone: 732-235-
5047 to request a non-written Mling and an appointment.

COMPLAINT PROCEDURES
A.INITIAL ASSESSMENT
Upon receipt of the grievance, the University’s ADA/504 Compliance Oucer will assign the matter to the appropriate University personnel who
will act as the investigator.R As an initial matter, all grievances shall be reviewed by the investigator to determine whether they contain all
required information as listed above.R If further information is required to clarify the grievance before an investigation can begin, the
complainant will be contacted.R The complainant has 10 calendar days to respond to the request for additional information.RR Such time may be
extended for a reasonable amount of time at the discretion of the investigator.

The investigator will dismiss a grievance without further investigation if it is determined that the grievance:
    is unclear or incomplete to the extent that there is insuucient information on which to commence an investigation, and the complainant did
    not provide the requested clarifying information within 10 calendar days of the request;
    does not fall under the jurisdiction of these procedures in which case, the complainant will be referred to the appropriate process or ouce
    and all necessary information will be forwarded as necessary;
    the allegations raised by the complaint have already been resolved by the University;
If the grievance is dismissed following the initial assessment, the complainant will be notiMed in writing within 10 calendar days of this
determination.

B.INVESTIGATIONS
If it is determined following the initial assessment that the grievance will move forward, an investigator will open the grievance investigation.
Opening an investigation in no way implies that Rutgers has made a determination with regard to the merits of the complaint. The investigator
will collect and analyze relevant evidence from the complainant, the respondent, and other sources as appropriate. During the investigation, the
investigator is a neutral fact-Mnder. The investigation will be thorough, affording all interested persons an opportunity to submit evidence
relevant to the grievance. Investigations of grievances will be adequate, reliable and impartial and prompt. The investigations will include
interviewing relevant witnesses and documentary evidence offered by both parties.

The investigator will advise the Complainant and the Respondent of the following:
R
    Both parties have a right to an impartial investigation;
    Both parties have a right to produce relevant documents, witnesses, and other materials that they would like included in the investigation;
    Both parties may have an advisor of their choice present to provide advice and support during the investigative process.R The advisor may
    not intervene in the interview or address the investigator directly.R R
    Both parties are free to consult with or retain an attorney of their choice and may elect to designate their attorney as their advisor.R However,

https://ods.rutgers.edu/students/informal-resolution-grievance-process/grievance-process                                                 Page 3 of 6
            Case 3:23-cv-02597-MAS-TJB
Grievance Process | Office of Disability Services            Document 35             Filed 12/27/24    Page 99 of 110 PageID:
                                                                                                                          3/25/24, 8:27 PM
                                                                     605
    like all advisors, the attorney may not intervene or disrupt the proceedings.
At no time during the investigation would a person bringing forth a grievance be required to meet or address the respondent(s) directly. However,
if both parties agree to a meeting that will assist in resolving this matter, there may be instances where this would prove helpful to resolving the
matter.

C. CONCLUSIONS OF THE INVESTIGATION AND DETERMINATIONS
If the investigator determines by a preponderance of evidence that there is insuucient evidence to support a conclusion that a violation of
University policy has occurred, the grievance is documented and closed. The investigator will prepare a written report of the conclusions of the
investigation and provide this to both parties.

If the investigator determines by a preponderance of evidence that a violation of University policy has occurred, the investigator will prepare a
written report that will include recommendations for steps to be taken to stop the behavior, prevent recurrence of the violation and for
prevention of retaliation. The report will be provided to the University ADA/504 Compliance Oucer who will share with the appropriate University
Administrator with the authority to impose appropriate remedies, if necessary, in accordance with applicable policies and procedures. The
University will impose remedies intended to correct the effects on the complainant or others and to prevent the recurrence of any prohibited
acts.

The investigator’s Mnal determination will be in writing and will be provided to both complainant and respondent. In the case of the complainant,
the letter of determination will include information regarding the availability of appropriate on-going remedies, if any.R Copies of the report with
related Mles are maintained by the ADA/504 Oucer.

REQUESTS THAT NO ACTION BE TAKEN
If a complainant requests that neither informal nor formal processes be initiated, the investigator in consultation with the ADA/504 Oucer will
consider the request.R The ADA/504 Oucer or their designee will make the Mnal determination as to whether to initiate a formal investigation.R
However, if the facts indicate that a University policy violation has occurred, the University may be obligated to investigate the situation further,
even if the complainant asks that the matter be closed. The ADA/504 Oucer will notify promptly the individual making the request not to initiate
the complaint process whether the University will be able to honor this request or will investigate.

CONFIDENTIALITY STATEMENT
The conMdentiality of information disclosed during the course of investigations will be respected to the extent feasible and practical. However,
the University has a duty to respond to allegations of discrimination (including sexual harassment) and therefore cannot guarantee absolute
conMdentiality once allegations are disclosed to University oucials. The University will reveal information about grievances Mled under these
procedures and related investigations, as well as their outcomes, only to those who need to know the information in order to carry out their
duties and responsibilities and/or individuals believed to have knowledge or information about the conduct alleged.R Students with questions
about who may receive such information should contact the ADA/504 Compliance Oucer.

Parties with a need to know may include witnesses or University oucials who need to be informed of the grievance in order to cooperate with an
investigation or to implement resolution. These parties will be advised that they should keep the information conMdential in the best interests of
all parties.

APPEALS
If the complainant or respondent disagrees with the determination given by the investigator, he/she may seek an appeal for reconsideration of
the determination by the Executive Vice President for Academic Affairs atRevpaa@rutgers.edu.

The three permissible grounds for appeal are:
    Unsupported conclusion:CRThe determination reached by the investigator is not supported by the facts.R


https://ods.rutgers.edu/students/informal-resolution-grievance-process/grievance-process                                                 Page 4 of 6
           Case 3:23-cv-02597-MAS-TJB
Grievance Process | Office of Disability Services             Document 35 Filed 12/27/24                 Page 100 of 110 PageID:
                                                                                                                            3/25/24, 8:27 PM
                                                                       606
    Procedural Error:R The investigation was conducted unfairly and not in conformance with the procedures set forth in this Process.R The error
    committed must be determined to have substantially impacted the fairness of the process.
    New Information:CRThere is new information available that was not at the time of the investigation and that is suucient to alter the original
    decision.
Disagreement or general dissatisfaction with the determination is not, by itself, grounds for appeal.

The appealing student or respondent must submit the appeal in writing within 30 days after receiving the investigator’s determination.R The
Executive Vice President for Academic Affairs or their designee shall review the appellant’s letter, all pertinent records, and documentation, and
may solicit written clariMcation on any issues raised on appeal from the investigator or the appellant. The Executive Vice President for Academic
Affairs or their designee will not substitute his or her judgment for the decision of the original investigator.R The Executive Vice President for
Academic Affairs or designee will send a written decision to the parties, and if appropriate to the division administrator whose authority will be
needed to carry out the decision, within thirty (30) days of the appealing party’s request unless there are extenuating circumstances. If
extenuating circumstances cause a delay, the Executive Vice President for Academic Affairs will notify the appellant in writing of the delay along
with an anticipated time frame for review and issuance of the written decision. The decision of the Executive Vice President for Academic
Affairs on the appeal is Mnal.

RETALIATION
It is a violation of Rutgers policy and Federal regulations to retaliate against anyone who Mles a grievance or cooperates in the investigation of a
grievance. Coercion or intimidation of, threats toward, or interference with anyone because he or she exercised or enjoyed Section 504 and/or
ADA rights, or helped or encouraged someone else to do so, is also prohibited.

The University prohibits retaliation against individuals who, in good faith, assert their rights to bring a grievance under these grievance
procedures. Retaliation is an offense separate from the original complaint of discrimination, and will be considered independently from the
merits of the underlying complaint. Complainants who believe they have been subjected to retaliation because they Mled a grievance under the
procedures or requested a reasonable accommodation should report the conduct to the ADA/504 Compliance Oucer or the Ouce of
Employment Equity.

RECORDS
The ADA/Section 504 Coordinator for each Rutgers location and the ADA-504 Compliance Oucer shall maintain the Mles and records of all
complaints for which he/she is responsible under this grievance procedure.




Quick Links
                        (/students/ge               Letter of     (/letter-                Exam        (/exam-           Note Taking (/note-taking-
         Registration   tting-                      Accommodati   accommoda                Accommodati accommodat        Accommoda accommodati
                                                    on (LOA)                               ons                           tions
                        registered)                               tion)                              ions)                           ons)
        AFT and
                                                    Remote
                        (/aft-and-                                 (/remote-
        Other
                                                    Learning
        Accommod
                        other-                      Information    learning)
        ations
                        accommodatio
                        ns)




https://ods.rutgers.edu/students/informal-resolution-grievance-process/grievance-process                                                Page 5 of 6
            Case 3:23-cv-02597-MAS-TJB
Grievance Process | Office of Disability Services                  Document 35 Filed 12/27/24                              Page 101 of 110 PageID:
                                                                                                                                              3/25/24, 8:27 PM
                                                                            607
  Copyright © 2024, Rutgers, The State University of New Jersey, an equal access / equal opportunity, aCrmative action institution. All rights reserved.

  Individuals with disabilities are encouraged to direct suggestions, comments, or complaints concerning any accessibility issues with Rutgers web sites to
  accessibility@rutgers.edu (mailto:accessibility@rutgers.edu) or complete the Report Accessibility Barrier or Provide Feedback Form
  (https://accessibility.rutgers.edu/barrierform).

  To report technical issues with this website, contact the ITS Help Desk at 848-932-7248 (tel:848-932-7248) or its@echo.rutgers.edu (mailto:its@echo.rutgers.edu)




https://ods.rutgers.edu/students/informal-resolution-grievance-process/grievance-process                                                                         Page 6 of 6
Case 3:23-cv-02597-MAS-TJB   Document 35 Filed 12/27/24   Page 102 of 110 PageID:
                                      608




                               EXHIBIT
                                 “H.”
Case 3:23-cv-02597-MAS-TJB                  Document 35 Filed 12/27/24                  Page 103 of 110 PageID:
                                                     609


           RUTGERS, THE STATE UNIVERSITY OF NEW JERSEY DISCRIMINATION,
          HARASSMENT, WORKPLACE VIOLENCE, AND RETALIATION COMPLAINT
       PROCESS: COMPLAINTS AGAINST UNIVERSITY EMPLOYEES AND THIRD PARTIES

     I. INTRODUCTION

     This Complaint Process is to be followed when a complaint alleges conduct by University employees,
     including student employees, and/or third parties, in violation of the University’s Policy Prohibiting
     Discrimination and Harassment, 60.1.12 (the “Discrimination Policy”); the Policy Prohibiting Workplace
     Violence, 60.1.13; ; or the Conscientious Employee Protection Policy, 60.1.16 (referred to collectively as
     “Covered Policies”).1 Information on the prohibited conduct and scope of the Covered Policies is set forth
     in the respective Policies.

     The University has a separate complaint process to be followed when a complaint alleges conduct, in
     violation of the University’s Title IX Policy and Grievance Procedures, Section 60.1.33 (the “Title IX
     Policy”). Information on the prohibited conduct, scope, and complaint process of the Title IX Policy is set
     forth in that Policy.

     This Complaint Process identifies individuals responsible for receiving, reporting, and handling complaints
     that fall under the Discrimination Policy, Policy Prohibiting Workplace Violence, and Conscientious
     Employee Protection Policy and the steps to be followed regarding such complaints.22

     II. REPORTING A COMPLAINT: RESPONSIBILITY FOR RECEIVING AND REPORTING
     COMPLAINTS

     Any member of the University community who believes that he or she has been subject to conduct that
     violates the Discrimination Policy, Workplace Violence Policy, or Conscientious Employee Protection
     Policy is encouraged to initiate a report with the individual responsible for receiving, reporting and handling
     his or her specific complaint. Information on how to report conduct prohibited by the Covered Policies is
     set forth in the respective Policies. Individuals with questions about how to report prohibited conduct should
     contact the Office of Employment Equity.3

     A complaint against a student arising out of his or her conduct as a student should be reported to the Office
     of Student Conduct.4 A complaint alleging that a student has committed sexual assault, sexual harassment,

 1
   See Policy 60.1.12, the Policy Prohibiting Discrimination and Harassment; Policy 60.1.13, the Policy Prohibiting
 Workplace Violence; and Policy 60.1.16, the Conscientious Employee Protection Policy.
 2
   In cases involving an allegation of conduct prohibited by the Covered Policies against a member of the Rutgers
 University Police Department (“RUPD”), the RUPD may investigate the matter concurrently through its Internal Affairs
 process, with written notice to the Office of Employment Equity of the complaint and its disposition.
 3
   The Director of the Office of Employment Equity (“Director”) supervises the operation of the Discrimination Policy
 (Policy 60.1.12), the Workplace Violence Policy (Policy 60.1.13), and the Conscientious Employee Protection Policy
 (Policy 60.1.16), as well as this Complaint Process, and Title IX Policy and Grievance Procedures as it pertains to
 complaints against employees and third parties.

 The Director and the Office of Employment Equity staff also are a resource for all members of the University community
 with regard to questions involving harassment and discrimination and will arrange education and training regarding the
 Covered Policies, the Complaint Process, and the Title IX Policy. The Office may be contacted at 848‐932‐3973 or at
 employmentequity@hr.rutgers.edu.

 4
   Such complaints are addressed by Policy 10.2.11, Code of Student Conduct, as well as the Title IX Policy. The
 Office of Student Conduct may be reached at 732‐932‐9414, or conduct@rci.rutgers.edu.

 Last revised Auguest 14, 2020                                                                                     1
Case 3:23-cv-02597-MAS-TJB                Document 35 Filed 12/27/24                  Page 104 of 110 PageID:
                                                   610


  sexual exploitation, stalking, relationship violence, or other form of sexual misconduct, may also be
  submitted to the Title IX Coordinator, Office of Student Affairs.5

  III. PROCESS THROUGH THE OFFICE OF EMPLOYMENT EQUITY

  Because conduct implicating the Covered Polices may involve a wide range of behaviors, the way in which
  a given case is best handled may vary and there are a number of options available to those who believe that
  they have been subjected to such conduct. An individual may contact the Office of Employment Equity to
  discuss options available to him or her. These options will depend on a number of factors, including the
  Policy implicated, the seriousness of the offense, the amount of evidence presented, the degree of
  confidentiality sought, and the outcome desired by the individual. The Director, or his or her designee, will
  provide guidance and assistance to an individual interested in alternative options to a formal complaint and
  investigation process.

  A complainant may also discuss with the Director any interim measures that he or she feels are necessary
  during the pendency of OEE’s resolution process (as set forth below).

  Depending upon the circumstances, a complainant may select an informal or formal resolution process, as
  described below. An informal resolution process (“informal resolution”) focuses on stopping the
  discriminatory, harassing, or other behavior without a formal investigation. A formal resolution process
  (“formal resolution”) involves an investigation. Depending on the circumstances, both informal and formal
  resolution processes may be utilized. The Director may exercise discretion to determine that informal
  resolution is not appropriate in a particular case.

      A. CONFLICTS OF INTEREST OR BIAS

          If a Party believes that any individual involved in the investigation process (such as the investigator)
          has a conflict of interest or bias, they may make a request to the Director that the individual not
          participate. Any request must include a description of the conflict or bias. If the Director determines
          that a conflict of interest or bias may exist, the University will take steps to address the conflict or
          bias in order to ensure an impartial process. A Party who believes that the Director has a conflict of
          interest or bias may make a request to University Ethics and Compliance that the Director not
          participate.

      B. INFORMAL RESOLUTION

          The Director, or his or her designee, will provide guidance to a party interested in informal
          resolution. There are various methods available to attempt informal resolution, and the method or
          methods chosen should be tailored to the particular circumstances. Methods may include but are
          not limited to: advising the department on alternative ways to resolve the issue outside the
          investigation process, or by mediating a resolution between the parties, or by aiding the department
          to modify the circumstances in which the conduct at issue occurred. The utilization of the informal
          resolution process is not a precondition for initiating the formal resolution process.

      C. FORMAL RESOLUTION

                      i.   Reports vs. Complaints


  5
   A Title IX Coordinator can be reached on each campus:
  New Brunswick: 848‐932‐2406; Newark: 973‐353‐5541; Camden: 856‐225‐6422; RBHS: 973‐972‐0777.

 Last revised Auguest 14, 2020                                                                             2
Case 3:23-cv-02597-MAS-TJB                Document 35 Filed 12/27/24                  Page 105 of 110 PageID:
                                                   611


         Any member of the University may report conduct that may be prohibited by the Covered Policies to
         the Office of Employment Equity, and the University strongly encourages any individual who is aware
         of such conduct to do so. Upon receipt of a report, the Director (or designee) will notify the
         Complainant of the availability of interim measures (with or without filing a formal Complaint) and
         the option of filing a formal Complaint to initiate an investigation, as well as any other steps deemed
         necessary              and/or           appropriate              by             the            Director.

         As discussed below, a signed, written Complaint must be submitted by a Complainant to initiate an
         investigation under the Covered Policies, except where the Director exercises discretion to initiate a
         University Action and investigate reported allegations in the absence of a formal complaint.

         In cases where an incident is reported to the Office of Employment Equity by someone other than the
         alleged victim (such as a supervisor, faculty member, resident advisor, colleague or friend), the
         Director (or designee) will promptly notify the alleged victim that a report has been received. The
         Director (designee) will make every effort to meet with the alleged victim to discuss available options
         and resources. The alleged victim will have the option to file a formal Complaint with the Office of
         Employment Equity but is not required to do so.


                     ii. Initiation of Complaint

          The formal complaint process is initiated by submitting a signed, written complaint to the Office of
          Employment Equity.6 The Complainant’s signature on the written Complaint indicates the
          Complainant’s desire to have the Formal Complaint investigated under the applicable Policy or
          Policies. In all cases, University personnel will reveal information about the identities of the Parties,
          including the identity of the Complainant, only to those who need to know in order to carry out their
          duties and responsibilities and/or as necessary to comply with the relevant Policy or applicable law.
          This may include the investigators assigned to the case, potential witnesses, the Respondent, and
          University administrators involved in the disciplinary process or implementation of supportive
          measures.

          Upon receipt and review of a complaint, the Director may request additional information from the
          complainant if it is unclear whether the complainant’s allegations raise an issue of a violation of a
          Covered Policy. If additional information is received and the Director determines that the
          allegations do not raise an issue of violation of a Covered Policy, the Director will so advise the
          complainant in writing and close the case. The complainant may appeal the Director’s decision to
          close the case to the Associate Vice President for Labor Relations.

          If the Director requests additional information from a complainant, and the complainant does not
          submit additional information, the Director may cease processing the complaint and will inform
          the complainant in writing that the case has been closed, and that he or she may resubmit the written
          complaint with the supplemental information at a later date if he or she wishes to proceed with a
          complaint at that time.

  6
    The individual initiating the complaint (the “complainant”) is encouraged to use the Office of Employment Equity
  Complaint Form that may be obtained from the University Human Resources website: https://discover-
  uhr.rutgers.edu/docs/oeee-complaint-form. The complaint is to be submitted to the Office of Employment Equity.
  Complaints may be submitted via email at employmentequity@hr.rutgers.edu, or by mail to 57 US Highway 1, ASB
  II – Cook Campus, New Brunswick, New Jersey 08901. The fax number is 732‐932‐0049. The Complaint Form may
  also be submitted online through the OneSource Faculty and Staff Service Center, at https://discover-
  uhr.rutgers.edu/onesource/home.

 Last revised Auguest 14, 2020                                                                                3
Case 3:23-cv-02597-MAS-TJB                   Document 35 Filed 12/27/24                     Page 106 of 110 PageID:
                                                      612



            If the Director accepts the complaint (as originally submitted or with the additional requested
            information), he or she will notify the complainant that the case has been assigned for investigation
            and simultaneously send a copy of the complaint to the respondent7 and the chancellor, dean, or
            vice president of the respondent’s department, as applicable.8

            This notice will specify the Policy or Policies that are alleged to have been violated, and the specific
            factual allegations that are the subject of the investigation. The Office of Employment Equity may
            investigate possible violations of the Discrimination Policy, Workplace Violence Policy, or
            Conscientious Employee Protection Policy, regardless of whether the specific policy is identified
            in the complaint.

            If at any point the Director determines that some or all of the allegations in the complaint fall within
            the scope of the Title IX Policy, the investigation of such allegations will proceed under the Title
            IX Policy and the Parties will be so notified.

                       iii.   Investigation and Findings

            The Director will instruct an Investigations Specialist in the Office of Employment Equity, or other
            designee, to investigate the complaint. The investigator will work as expeditiously as possible to
            conduct a full and fair investigation. Upon completion of the investigation, the investigator will
            provide a report in writing to the Director, setting forth the steps taken in the investigation and the
            investigator’s findings. Rutgers uses the preponderance of the evidence standard for investigations
            under the Covered Policies. This means that the investigator evaluates the evidence to determine
            whether it is more likely than not that a violation of the Policy occurred.

            The Director will review the report of the investigator. If the Director finds that the investigation is
            incomplete or otherwise unacceptable, the Director may request further investigation by the
            investigator, or may assign a new investigator to the complaint.

            Once the investigation is complete, the Director will make a determination as to whether the
            respondent violated a Covered Policy (or Covered Policies) using the preponderance of the
            evidence standard. At this time, the Director shall forward a copy of the investigation report,9 along
            with the Director’s letter of determination, to the parties and the chancellor, dean, or vice president
            involved, as applicable.

                       iv. Appeal of the Decision – Discrimination Policy

            In cases arising under the Discrimination Policy both parties are afforded one appeal of the
            Director’s determination as to whether or not a violation of the Policy occurred, which must be


 7
   The “respondent” is the individual whose conduct is the subject of the complaint.
 8
   The Office of Employment Equity may determine that it is necessary to provide a redacted version of the complaint if
 the Director determines that providing the respondent with a copy of the unredacted complaint would create a risk of
 harm to the complainant. In addition, personal contact information (such as home addresses, phone numbers, personal
 email addresses) will be redacted from the complaint prior to providing a copy to the respondent. The Director may
 exercise discretion to redact other information in the complaint that is not relevant to the allegations under investigation
 (such as social security numbers, dates of birth, or unrelated medical information).
 9
   The Office of Employment Equity may determine that it is necessary to provide a redacted version of the report if the
 Director determines that providing the respondent with a copy of the unredacted report would create a risk of harm to
 the complainant. The Director also has the discretion to redact the names of witnesses in order to maintain
 confidentiality.
 Last revised Auguest 14, 2020                                                                                        4
Case 3:23-cv-02597-MAS-TJB                  Document 35 Filed 12/27/24              Page 107 of 110 PageID:
                                                     613


           directed to the Associate Vice President for Labor Relations (“Associate Vice President”).10 The
           parties are given ten (10) working days from the date of the decision letter to submit an appeal in
           writing. Failure to submit an appeal to the Associate Vice President by the appropriate deadline
           will render the decision final and conclude the process. The parties can appeal only once and on
           the following grounds:

             1. Unsupported Conclusion: The decision made by the Director is not supported by the facts of
                the case.

             2. Procedural Error: The investigation was not conducted in conformity with prescribed
                procedures. The error committed must be determined to have substantially impacted the
                fairness of the investigation process.

             3. New Information: There is new information available that was not available when the
                investigation was pending that is sufficient to alter the original decision.

           The Associate Vice President will review all information and make one of the following
           determinations:

                   a. Affirm the finding.

                   b. Overturn the finding.

                   c. Remand the case for subsequent investigation.


           The Associate Vice President shall notify the parties, the Director of the Office of Employment
           Equity, and the chancellor, dean, or vice president involved of his or her decision in writing.

                     v.   Corrective and/or Disciplinary Action

           If the Director reaches a determination that the respondent violated a Covered Policy, and either no
           appeal is available, the respondent has opted not to appeal, or the Director’s determination has been
           affirmed on appeal, the chancellor, dean, or vice president (or applicable designee) will determine
           the appropriate corrective action. Disciplinary action, up to and including termination, may be taken
           against an employee who is found to have violated a Covered Policies.

           Corrective and disciplinary actions will be determined on a case‐by‐case basis. Prior violations of
           the applicable Policy as well as prior disciplinary action may be considered in determining the
           appropriate corrective and disciplinary action for a respondent who is found to have violated a
           Covered Policy. The Director of the Office of Employment Equity will be available to consult with
           the chancellor, dean, or vice president regarding possible corrective and disciplinary actions, but
           does not make the final decision on the action to be imposed. Similarly, the Office of Labor
           Relations and the Office of Academic Labor Relations will be available to consult with the
           chancellor, dean, or vice president regarding the respondent’s previous discipline, the appropriate
           level of corrective action, and discipline generally.



 10
   The Director’s decision as to whether or not a violation of the Workplace Violence Policy or the Conscientious
 Employee Protection Policy occurred is not appealable.

 Last revised Auguest 14, 2020                                                                             5
Case 3:23-cv-02597-MAS-TJB               Document 35 Filed 12/27/24                 Page 108 of 110 PageID:
                                                  614


          Possible corrective and disciplinary actions include, but are not limited to:

              •   Participation in education sessions on discrimination or harassment;
              •   A written reprimand or written warning;
              •   Reassignment of teaching or other responsibilities;
              •   Suspension without pay; or
              •   Termination

          The chancellor, dean, or vice president shall notify the complainant of any corrective or disciplinary
          action against the respondent that involves or concerns the complainant, for example, any directive
          that the respondent is prohibited from initiating contact with the complainant. The chancellor, dean,
          or vice president shall also notify the respondent of the appropriate corrective action that will be
          taken, inclusive of any disciplinary action, including termination. Notice of any corrective action
          taken will be sent in writing by the chancellor, dean, or vice president to the Director of the Office
          of Employment Equity at the same time the respondent and complainant are notified. In addition,
          a determination that a Covered Policy was violated, including corrective and disciplinary actions
          taken in response, will be documented in an employee’s personnel file.

          The University may take any other appropriate corrective action to prevent recurring conduct and
          to correct its effects on the complainant and others. The Director may make appropriate inquiries
          to ascertain the effectiveness of any corrective or disciplinary action.

    D. INDEPENDENT UNIVERSITY ACTION

          The University reserves the right to investigate allegations of conduct prohibited by the Covered
          Policies in appropriate circumstances, at the discretion of the Director, even in the absence of a
          formal written complaint filed by a complainant pursuant to the Complaint Process. In such cases,
          the University will follow the Complaint Process set forth in Section III.C above, but the University
          will serve as the complainant.

    E. CONFIDENTIALITY

        The OEE respects the confidentiality of all parties and limits disclosure of complaints to only those
        who have a need to know the facts and the parties to a complaint. Reporting and disclosure
        requirements required by law may present limitations to such confidentiality. Nonetheless, the
        university will treat all parties with equal care, respect, and dignity and will make every effort to
        preserve the privacy of all parties involved.

        In some instances, a complainant may choose to take no action (including filing a formal complaint)
        or to defer action until a later date in order to maintain anonymity. In these instances, the University
        reserves the right to determine whether it is necessary to initiate a University Action and investigate
        the reported conduct in order to protect the University community. The Director of the Office of
        Employment Equity will consider various factors in this assessment, such as the availability of
        independent evidence of the allegations, the nature of the allegations and/or whether there have been
        similar complaints about the same Respondent. If the Director initiates a University Action, the
        Director will notify the Complainant, but the Complainant will not be required to participate in the
        process.

        OEE expects that all parties, witnesses and support persons involved in an investigation to maintain
        the confidentiality of the process to the extent necessary to preserve the integrity of the investigation.
        Any manager, supervisor or other employee who violates this expectation may be subject to

 Last revised Auguest 14, 2020                                                                              6
Case 3:23-cv-02597-MAS-TJB               Document 35 Filed 12/27/24                  Page 109 of 110 PageID:
                                                  615


        appropriate sanctions. Please contact the Office of Employment Equity with any questions regarding
        confidentiality.

  F. RETALIATION

        The University prohibits retaliation against individuals who, in good faith, assert their rights to bring
        a complaint under the Covered Policies, participate in an investigation, or protest alleged
        discrimination, harassment, or retaliation. No person may intimidate, threaten, coerce or discriminate
        against any individual for the purpose of interfering with any right or privilege under the Covered
        Policies.

        Retaliation is an offense separate from the original complaint of discrimination, and will be considered
        independently from the merits of the underlying complaint. Individuals who believe they have been
        subjected to retaliation should report the conduct to the Office of Employment Equity.


  G. FALSE STATEMENTS

        Knowingly making a material misstatement of fact may subject the party to discipline. Anyone who
        believes that he or she has been the subject of an intentionally false complaint may meet with the
        Director of the Office of Employment Equity to discuss the allegations. The filing of a complaint
        that does not result in a finding of prohibited conduct is not alone evidence of the intent to file a false
        complaint.

  H. RECORDKEEPING AND RECORDS DISCLOSURE

        Notice of all verbal and written reports of discrimination, harassment, workplace violence, and/or
        retaliation must be forwarded to the Director or Employment Equity by the administrator, supervisor,
        or faculty member receiving the complaint.

        In addition, a federal law known as the Jeanne Clery Disclosure of Campus Security Policy and
        Campus Crime Statistics Act (Clery Act) requires the University to record and report certain
        information about campus safety, including the number of incidents of certain crimes on or near
        campus, some of which may also constitute prohibited conduct under the Covered Policies. Many
        employees (including some who may be otherwise considered “confidential”) are required by the
        Clery Act to notify University Public Safety about such incidents for statistical reporting purposes.
        These notifications minimally include the classification and location of the reported crime but do not
        always identify the parties involved. The Clery Act also requires the University to issue a “timely
        warning” when it receives a report of certain crimes that pose a serious or continuing threat. Such
        reports do not contain information identifying individual parties. The University publishes an annual
        comprehensive security report known as “Safety Matters.”

  I.    SUPPORT PERSONS

        The complainant and the respondent are permitted to have one support person present for any
        meetings they attend with investigators at the Office of Employment Equity to discuss a pending
        complaint filed by or against them, as applicable. A support person may include a union
        representative, a friend, a family member, or an attorney. However, support persons are not permitted
        to participate in the investigation process. They may sit in on meetings with the investigator, but they
        are not permitted to comment and/or ask questions during those meetings.


 Last revised Auguest 14, 2020                                                                               7
Case 3:23-cv-02597-MAS-TJB             Document 35 Filed 12/27/24                Page 110 of 110 PageID:
                                                616


        Support persons who are also witnesses to the alleged conduct and intend to participate in the
        investigation as a witness may not act as a support person unless an exception is granted by the
        Director of Office of Employment Equity.

        Support person availability shall not be sufficient grounds for postponing meetings.

        A party may utilize the services of a translator in order to communicate effectively with the
        investigator. Unless an exception is granted by the Director of the Office of Employment Equity, a
        translator may not also act as the Party’s support person. Where a translator is needed, the Party may
        still be accompanied by a support person of his or her choice.




 Last revised Auguest 14, 2020                                                                          8
